                                                       Case 3:18-cv-04865-EMC Document 605-1 Filed 01/22/23 Page 1 of 46
                                                                                                                               In Re: Tesla Inc. Securities Litigation
            Document Date   Bates Number           Description                                                        Defendants Sponsoring Plaintiffs Sponsoring        Objections by   Plaintiffs' Response Objections by   Defendants'      Date Admitted   Court Comments
Trial Ex.                                                                                                             Witness(es) and Purpose Witness(es) and            Defendants      to Objections        Plaintiffs      Response to
  No.                                                                                                                 at Trial                    Purpose at Trial                                                            Objections

            9/22/2020                              Expert Report of Michael L. Hartzmark                              N/A                       Michael L.             F, H              F.R.E. 702, 703          N/A         N/A
                                                                                                                                                Hartzmark/Materiality,
   1                                                                                                                                            Reliance, Loss
                                                                                                                                                Causation, Damages,
                                                                                                                                                Market Efficiency
            1/16/2019       N/A                    Consolidated Complaint for Violations of the Federal               Plaintiff / Foundation                                                                      F           Party opponent
   2                                               Securities Laws                                                                                                                                                            statement
            11/11/2019      N/A                    Notice of Lodging of Addendum to the Consolidated Class            Plaintiff/ / Foundation                                                                     F           Party opponent
   3                                               Action Complaint                                                                                                                                                           statement
            9/22/2020       N/A                    Document 292-2 / Exhibit B (filed 9/22/20); Exhibit B,             Plaintiff / Foundation,   Glen                     F               Waiver. Defendants
                                                   attached to Plaintiff Glen Littleton's Declaration, representing   Materiality, Causation,   Littleton/Materiality,                   include this exhibit
   4                                               his transactions in Tesla securities during the period August      Damages                   Reliance, Loss                           on their exhibit list.
                                                   7th to August 17th of 2018.                                                                  Causation, Damages

            8/7/2018        N/A                    Tweet from Elon Musk dated August 7, 2018 at 9:48 a.m. ,           All witnesses /           Elon Musk/Falsity,       F               Waiver. Defendants                                    1/18/2023
                                                   "Am considering taking Tesla private at $420. Funding              Foundation                Scienter                                 include this exhibit
   8                                               secured."                                                                                                                             on their exhibit list.


            8/7/2018        N/A                    Tweet from Elon Musk dated August 7, 2018 at 10:40 a.m. , "I All witnesses /                 Elon Musk/Falsity,       F               Waiver. Defendants                                    1/20/2023 (D)
                                                   don't have a controlling vote now & wouldn't expect any      Foundation                      Scienter                                 include this exhibit
   9                                               shareholder to…"                                                                                                                      on their exhibit list.


            8/7/2018        N/A                    Tweet from Elon Musk dated August 7, 2018 at 11:00 a.m. , " All witnesses /                  Elon Musk/Falsity,       F               Waiver. Defendants                                    1/20/2023 (D)
                                                   My hope is *all* current investors remain with Tesla even if Foundation                      Scienter                                 include this exhibit
   10                                              we're private..."                                                                                                                     on their exhibit list.


            8/7/2018        N/A                    Tweet from Elon Musk dated August 7, 2018 at 11:13 a.m. ," All witnesses /                   Elon Musk/Falsity,       F               Waiver. Defendants                                    1/20/2023 (D)
                                                   Shareholders could either to sell at 420 or hold shares & go Foundation                      Scienter                                 include this exhibit
   11                                              private."                                                                                                                             on their exhibit list.


            8/7/2018        N/A                    Blog post dated August 7, 2018 entitled "Taking Tesla Private. All witnesses /               Elon Musk, Deepak        F               Waiver. Defendants                                    1/18/2023
                                                                                                                  Foundation                    Ahuja, Dave                              include this exhibit
   12                                                                                                                                           Arnold/Falsity, Scienter                 on their exhibit list.


            8/7/2018        N/A                    Tweet from Elon Musk dated August 7, 2018 at 12:36 p.m. ,          All witnesses /           Elon Musk/Falsity,       F               Waiver. Defendants                                    1/18/2023
                                                   "Investor support is confirmed. Only reason why this is not        Foundation                Scienter                                 include this exhibit
   13                                              certain is that it's contingent on a shareholder vote."                                                                               on their exhibit list.


            8/8/2018        JPMS_000016045-16047 Email from Ryan Brinkman to EQR - Aprroval Request, Re:                                        Ryna Brinkman/Falsity, H, F, P           Witness
                                                 Request approval to raise Tesla (TSLA) price target by +58%                                    Scienter                                 authenticates;
   14                                                                                                                                                                                    Business records
                                                                                                                                                                                         exception
            8/8/2018        JPMS_00000047-00061 J.P. Morgan/Ryan Brinkman Analist Report: "Tesla Inc: Raise                                     Ryan Brinkman/Falsity, H, F, P           Waiver. Defendants
                                                PT to Reflect Possible Go-Private Offer, But Remain                                             Scienter, Materiality                    include this exhibit
   15                                           Underweight on Chance Shares Could Again Trade on                                                                                        on their exhibit list.
                                                Fundamentals".

            8/13/2018       N/A                    Blog post Ɵtled, "Update on Taking Tesla Private,"dated            All witnesses /                                    B
                                                   August 13, 2018 Duplicate of Ex. 53                                Foundation, Falsity,
   16                                                                                                                 Scienter, Materiality,
                                                                                                                      Reliance, Causation
            8/14/2018       JPMS_00002934-02971 J.P. Morgan Presentation by Ryan Brinkman: "US Autos, Auto                                      Ryan Brinkman/Falsity, H, F, P           Witness
                                                Parts, Tires, & Auto Auction". Updated Thoughts on Tesla: Is                                    Scienter, Materiality                    authenticates;
   17                                           Funding Secured or Not Secured? Pages 27-28                                                                                              Business records
                                                                                                                                                                                         exception
            8/17/2018       JPMS_00021193-21203 Email from J.P Morgan Market Intelligence to Ryan Brinkman,                                     Ryan Brinkman/Falsity, H, F, P           Witness
                                                Re: J.P. Morgan Early Look at the Market - Fri. 8.17.18"                                        Scienter, Materiality                    authenticates;
   18                                                                                                                                                                                    Business records
                                                                                                                                                                                         exception



                                                                                                                                                1
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            Document Date   Bates Number              Description                                                     Defendants Sponsoring Plaintiffs Sponsoring          Objections by   Plaintiffs' Response Objections by   Defendants'         Date Admitted   Court Comments
Trial Ex.                                                                                                             Witness(es) and Purpose Witness(es) and              Defendants      to Objections        Plaintiffs      Response to
  No.                                                                                                                 at Trial                Purpose at Trial                                                                  Objections

            8/17/2018       JPMS_00004543             Email from Ryan Brinkman (JPM) to David Kelley (JPM) cc:                                    Ryan Brinkman/Falsity, H, F, P           Witness
                                                      Auto Guys, Re: Please set up a Tesla note.                                                  Scienter, Materiality                    authenticates;
   21                                                                                                                                                                                      Business records
                                                                                                                                                                                           exception
            8/20/2018       JPMS_00004047-04048 Email from Ryan Brinkman to EQR-Approval Request cc: EQR-                                         Ryan Brinkman/Falsity, H, F, P           Witness
                                                Brinkman, Re: Request to reduce Tesla (TSLA) price target by                                      Scienter, Materiality                    authenticates;
   22                                           more than -20% (i.e., by -37%)                                                                                                             Business records
                                                                                                                                                                                           exception
            8/20/2018       JPMS_00000001-00015 JP Morgan Paper - "Reverting to Valuing TSLA Shares on                Brinkman, Fischel/          Ryan Brinkman/Falsity, F                 Waiver. Defendants
                                                Fundamentals Alone Given Funding Appears to Not Have                  Falsity, Scienter           Scienter, Materiality                    include this exhibit
   23                                           Been Secured; PT Back to $195"                                                                                                             on their exhibit list.


            8/20/2018       JPMS_00008604             Email from Aayush Gupta (JPMorgan) to Auto Guys, Re: Telsa                                  Ryan Brinkman/Falsity, H, F, P           Witness
                                                      Keeps Sliding as JPMorgan Sees No Secured Funding for Deal                                  Scienter, Materiality                    authenticates;
   24                                                                                                                                                                                      Business records
                                                                                                                                                                                           exception
            8/23/2018       JPMS_00003012-3093        JPMorgan Presentation - "State of the Auto Industry - 2018 JP Brinkman, Fischel/            Ryan Brinkman/Falsity, F                 Waiver. Defendants
                                                      Morgan Auto Conference Takeaways; Updated Thoughts on Falsity, Scienter                     Scienter, Materiality                    include this exhibit
   25                                                 Tesla Go Private Efforts.."                                                                                                          on their exhibit list.


            8/8/2018        N/A                       Press Release - Statement from Board Members                    All Defendants / Falsity,   Antonio Gracias, Robyn F                 Waiver. Defendants
                                                                                                                      Scienter, Materiality       Denholm/Falsity,                         include this exhibit
   26                                                                                                                                             Scienter                                 on their exhibit list.


            8/13/2018       N/A                       NYT Article - "Tesla Board Surprised by Elon Musk's Tweet on All Defendants / Falsity,      Michael L.               H, F, P, K      Waiver. Defendants
                                                      Taking Car Maker Private"                                    Scienter, Materiality          Hartzmark/Falsity,                       include this exhibit
   27                                                                                                                                             Scienter, Materiality                    on their exhibit list.


            8/7/2018        Tesla Sec. Litig.-000279- Email from Chris McNally to Arndt Ellinghorst - Re: [EXT] SA:   McNally / Foundation,                                                                         F, K, H     Not offered for
  28                        80                        TSLA ["Am considering taking Tesla private at $420. Funding     Falsity, Scienter                                                                                         truth; business
                                                      secured." - Tweet by @elonmusk]                                                                                                                                           records exception
            8/7/2018        Tesla Sec. Litig.-000289- Email from George Galliers to EVRISI Autos - Musk Tweets he     McNally / Foundation,                                                                         F, K, H     Not offered for
   30                       90                        is considering taking Tesla private at $420 - Our Thoughts      Falsity, Scienter                                                                                         truth; business
                                                                                                                                                                                                                                records exception
            8/8/2018        Tesla Sec. Litig.-000477 Email from George Galliers to Chris McNally - [No Subject]       McNally / Foundation,                                                                         F, K, H     Not offered for
   32                                                                                                                 Falsity, Scienter                                                                                         truth; business
                                                                                                                                                                                                                                records exception
            8/8/2018        Tesla SEC. Litig -000484- Evercore Flash Note - "A Private Life is a Happy Life"          McNally / Foundation,       Michael L.               F               Waiver. Defendants
                            489                                                                                       Falsity, Scienter           Hartzmark/Falsity,                       include this exhibit
   33                                                                                                                                             Scienter, Materiality                    on their exhibit list.


            8/20/2018       Tesla Sec. Litig.-007088 Email from Chris McNally to Arndt Ellinghorst - for mm - u       McNally/ Foundation                                                                           F, K, H     Not offered for
   36                                                guys ok with this?                                                                                                                                                         truth; business
                                                                                                                                                                                                                                records exception
            7/3/2018        TRP_000057                Email from Joseph Fath to Aaron Chew - Re: Quality              Fath, Chew / Foundation                                                                       F, H        Not offered for
   38                                                                                                                                                                                                                           truth; business
                                                                                                                                                                                                                                records exception
            7/19/2018       TRP_000192                Email from Martin Viecha to Joseph Fath (TRowe), Re: Call                                   Joe Fath, Martin         R, F            Witness
   39                                                 [with Elon]                                                                                 Viecha/Falsity, Scienter                 authenticates

            7/19/2018       TRP_000194                Email from Joseph Fath (TRowe) to Elon Musk, Re: Thanks for                                 Joe Fath, Elon           F, P, H         Witness
                                                      the call.                                                                                   Musk/Falsity, Scienter                   authenticates;
   40                                                                                                                                                                                      Business records
                                                                                                                                                                                           exception
            8/7/2018        TRP_000002                Email from Joseph Fath to Robery Marcotte - Re: TSLA (Tesla Fath / Foundation,              Joe Fath/Falsity,        H, F, P, K      Witness
                                                      Update)                                                     Falsity, Scienter               Scienter                                 authenticates;
   41                                                                                                                                                                                      Business records
                                                                                                                                                                                           exception




                                                                                                                                                  2
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Trial Ex.                                                                                                      Witness(es) and Purpose Witness(es) and            Defendants      to Objections        Plaintiffs      Response to
  No.                                                                                                          at Trial                Purpose at Trial                                                                Objections

            8/7/2018        TRP_000006-08     Email from Joel Grant to Robert Marcotte - Re: TSLA (Tesla       Fath / Foundation,         Joe Fath/Falsity,       F               Waiver. Defendants
                                              Update)                                                          Falsity, Scienter          Scienter                                include this exhibit
   42                                                                                                                                                                             on their exhibit list.


            8/8/2018        TRP_001087-1088   Email from Joseph Fath (TRowe) to Rouven Wool-Lewis                                         Joe Fath/Falsity,       F, R, P, H      Witness
                                              (TRowe), Re: WCG Order                                                                      Scienter                                authenticates;
   43                                                                                                                                                                             Business records
                                                                                                                                                                                  exception
            8/8/2018        TRP_000012        Email from Joseph Fath to Taymour Tamaddon - Tesla Go            Fath / Foundation,         Joe Fath/Falsity,       F, P, H, K      Waiver. Defendants
                                              Private                                                          Falsity, Scienter          Scienter                                include this exhibit
   44                                                                                                                                                                             on their exhibit list.


            8/8/2018        TRP_000013        Email from Josh Spencer (TRowe) to Joseph Fath (TRowe), Re:                                 Joe Fath/Falsity,       F, P, H, K      Witness
                                              Tesla go private                                                                            Scienter                                authenticates;
   45                                                                                                                                                                             Business records
                                                                                                                                                                                  exception
            8/8/2018        TRP_000016        Email from Scott Berg to Josh Spencer - Tesla Go Private         Fath / Foundation          Joe Fath/Falsity,       F, P, H, K      Waiver. Defendants
                                                                                                                                          Scienter                                include this exhibit
   46                                                                                                                                                                             on their exhibit list.


            8/8/2018        TRP_000017        Email from Don Peters to Joseph Fath - Tesla Go Private          Fath / Foundation          Joe Fath/Falsity,       F, P, H, K      Waiver. Defendants
                                                                                                                                          Scienter                                include this exhibit
   47                                                                                                                                                                             on their exhibit list.


            8/8/2018        TRP_000028-30     Email from Joseph Fath to David Eiswert - Tesla Go Private       Fath / Foundation          Joe Fath/Falsity,       F, P, H, K      Waiver. Defendants
                                                                                                                                          Scienter                                include this exhibit
   48                                                                                                                                                                             on their exhibit list.


            8/8/2018        TRP_001103-1105   Email from Joseph Fath to Mark Nickley - Re: DB TSLA STOCK Fath, Foundation, Falsity, Joe Fath/Falsity,             F, P, H, K      Waiver. Defendants
                                              LOAN ALERT                                                 Scienter                   Scienter                                      include this exhibit
   49                                                                                                                                                                             on their exhibit list.


            8/8/2018        TRP_002004-2007   Email from Joseph Fath (TRowe) to Taymour Tamaddon                                          Joe Fath/Falsity,       F, R, P, H, K   Witness
                                              (TRowe), Re: (no subject)                                                                   Scienter                                authenticates;
   51                                                                                                                                                                             Business records
                                                                                                                                                                                  exception
            8/9/2018        TRP_002031-2032   Email from Sam Teller to Joseph Fath - Call w/ Elon              Fath, Teller, E. Musk /    Joe Fath, Sam            F              Waiver. Defendants
                                                                                                               Foundation, Falsity,       Teller/Falsity, Scienter                include this exhibit
   52                                                                                                          Scienter                                                           on their exhibit list.


            8/13/2018       N/A               Blog Post "Update on Taking Tesla Private"                       All witnesses / Falsity,   Elon Musk, Dave          F              Waiver. Defendants                                 1/18/2023
                                                                                                               Scienter, Materiality,     Arnold/Falsity, Scienter                include this exhibit
   53                                                                                                          Reliance, Causation                                                on their exhibit list.


            8/7/2018        JENN0000025       Email from Owuraka Koney (Jennison) to Michael Wilburn                                      Owuraka Koney/Falsity, F, P, H          Witness
                                              (Jennison) and !Equities, Re: TSLA CEO Musk tweets:                                         Scienter                                authenticates;
   55                                         Considering taking Tesla private at $420/shr, funding secured-                                                                      Business records
                                                                                                                                                                                  exception
            8/7/2018        JENN0000048       Email from Owuraka Koney (Jennison) to John Ziemba, Re:                                     Owuraka Koney/Falsity, F, P, H          Witness
                                              TSLA (Tesla releases blog post on potential going private                                   Scienter                                authenticates;
   56                                         transaction)                                                                                                                        Business records
                                                                                                                                                                                  exception
            8/7/2018        JENN0000037-38    Email from Owuraka Koney (Jennison) to Mark Baribeau, Re:                                   Owuraka Koney/Falsity, F, P, H          Witness
                                              TSLA (Tesla releases blog post on potential going private                                   Scienter                                authenticates;
   57                                         transaction)                                                                                                                        Business records
                                                                                                                                                                                  exception




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  No.                                                                                                              at Trial                Purpose at Trial                                                                 Objections

            8/7/2018        JENN0000074-75         Emails from Martin Viecha to Owuraka Koney (Jennison) Re:                                  Owuraka Koney,          F, P, H, L, K    Witness
                                                   call me back                                                                               Michael Viecha/Falsity,                  authenticates;
   58                                                                                                                                         Scienter                                 Business records
                                                                                                                                                                                       exception
            8/7/2018        JENN0000061-62         Email from Owuraka Koney to Mark Baribeau - RE: TSLA            Koney / Falsity, Scienter Owuraka Koney/Falsity, F                  Waiver. Defendants
                                                   [Tesla releases blog post on potential going private                                      Scienter                                  include this exhibit
   59                                              transaction]                                                                                                                        on their exhibit list.


            8/7/2018        JENN0000066-67         Email from Owuraka Koney to Ross Silverman - RE: TSLA           Koney/ Falsity, Scienter   Owuraka Koney/Falsity, F                 Waiver. Defendants
                                                   ["Investor support is confirmed. Only reason why this is not                               Scienter                                 include this exhibit
   60                                              certain is that it’s contingent on a shareholder vote." - Tweet                                                                     on their exhibit list.
                                                   by @elonmusk]

            8/9/2018        JENN0000090            Email from Owuraka Koney to Mark Baribeau - RE: TSLA            Koney / Falsity, Scienter Owuraka Koney/Falsity, F                  Waiver. Defendants
                                                                                                                                             Scienter                                  include this exhibit
   61                                                                                                                                                                                  on their exhibit list.


            8/9/2018        JENN0000098            Email from Owuraka Koney to LCG PMs - TSLA update               Koney / Falsity, Scienter Owuraka Koney/Falsity, F                  Waiver. Defendants
                                                                                                                                             Scienter                                  include this exhibit
   62                                                                                                                                                                                  on their exhibit list.


            8/10/2018       JENN0000111-12         Email from Owuraka Koney to Sam Teller - Re: Call with Elon Teller, Koney, E. Musk /       Owuraka Koney, Sam F                     Waiver. Defendants
                                                   Musk                                                        Falsity, Scienter              Teller/Falsity, Scienter                 include this exhibit
   63                                                                                                                                                                                  on their exhibit list.


            8/10/2018       JENN0000109            Email from Michael DelBalso (Jennison) to Spiros Segales cc:                               Owuraka Koney/Falsity, H, F, P           Witness
                                                   Owuraka Koney (Jennison), Re: Call with Elon at 11am                                       Scienter                                 authenticates;
   64                                                                                                                                                                                  Business records
                                                                                                                                                                                       exception
            8/10/2018       JENN0000013            Email from Blair Boyer (Jennison) to Owuraka Koney                                         Owuraka Koney/Falsity, H, F, P           Witness
                                                   (Jennison), Re: TSLA (Certain Tesla board members issues                                   Scienter                                 authenticates;
   65                                              statement)                                                                                                                          Business records
                                                                                                                                                                                       exception
            Undated         JENN 0000001           Owuraka Koney (Jennison)'s notes from conference call with Teller, Koney, E. Musk /        Owuraka Koney/Falsity, F                 Waiver. Defendants
                                                   Elon Musk held on 8/10/2018.                               Falsity, Scienter               Scienter                                 include this exhibit
   66                                                                                                                                                                                  on their exhibit list.


            9/11/2018       SEC-EPROD-00016988-    SEC interview with Owuraka Koney                                                           Owuraka Koney/Falsity, H, F, P           F.R.E. 803(5); F.R.E.
   67                       17003                                                                                                             Scienter                                 803(3)

            8/13/2018       JENN0000147-150        Email from Owuraka Koney to LCG PMs - FW: TSLA [Tesla       Koney / Falsity, Scienter Owuraka Koney/Falsity, F                      Waiver. Defendants
                                                   CEO Elon Musk provides additional background on going                                 Scienter                                      include this exhibit
   68                                              private discussions; notes Saudi SWF had expressed repeated                                                                         on their exhibit list.
                                                   interest in taking company private -- blog post]

            8/21/2018       JENN0000219            Email from Owuraka Koney to Thomas Davis - Re: call             Koney, Foundation                                                                            F, H        Not offered for
   71                                              w/Tesla board                                                                                                                                                            truth; business
                                                                                                                                                                                                                            records exception
            8/23/2018       JENN0000231            Email from Owuraka Koney (Jennison) to Owuraka Koney, Re:                                  Owuraka Koney/Falsity, H, F, P, I        Business records
   72                                              tsla call notes [Koney notes from call with Antonio Gracias]                               Scienter                                 exception

            8/13/2019       JENN0000152-56         Email from Owuraka Koney to LCG PMs - RE: TSLA [Tesla CEO Koney / Falsity, Scienter,                                                                         F, H        Not offered for
                                                   Elon Musk provides additional background on going private Reliance, Causation                                                                                            truth; business
   73                                              discussions; notes Saudi SWF had expressed repeated                                                                                                                      records exception
                                                   interest in taking company private -- blog post]

            4/14/2017       TESLA_LITTLETON_0000 Email from Diarmuid O'Connell to Deepak Ahuja - Re: Saudi        Ahuja, E. Musk /            Deepak Ahuja/Falsity,    F               Waiver. Defendants
                            5316                                                                                  Foundation, Falsity,        Scienter                                 include this exhibit
   75                                                                                                             Scienter                                                             on their exhibit list.




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  No.                                                                                                             at Trial                Purpose at Trial                                                                 Objections

            4/15/2017       TESLA_LITTLETON_0000 Email from Sam Teller to Deepak Ahuja - Re: Tesla Discussion Teller, Ahuja, E. Musk /                                                                         F, H, R     Business records
                            5317-22                                                                           Foundation, Falsity,                                                                                         exception; relevant
   76                                                                                                         Scienter                                                                                                     to material falsity
                                                                                                                                                                                                                           and scienter

            4/2/2018        TESLA_LITTLETON_0000 Email from Sam Teller to Todd Maron - Re: Evercore               Teller, Maron, E. Musk /                                                                     F, H, R     Business records
                            6162                                                                                  Foundation, Falsity,                                                                                     exception; relevant
   77                                                                                                             Scienter                                                                                                 to material falsity
                                                                                                                                                                                                                           and scienter

            7/15/2018       BARON_00000055-         Email from Ron Baron (Baron Funds) to Elon Musk, Re: Jackie                              Elon Musk, Deepak       H, F, R, P       Business records
   78                       BARON_00000056          Robinson, Mandela, MLK, Ghandi, Reed Hastings.                                           Ahuja/Falsity, Scienter                  exception

            8/1/2018 -      TSLS_AHUJA00004447      D. Ahuja Text Messages                                        Teller, Viecha, Buss,   Deepak Ahuja/Falsity,       F               Waiver. Defendants
            8/14/2018                                                                                             Straubel, Dees, Murdoch Scienter                                    include this exhibit
   79                                                                                                             / Foundation, Falsity,                                              on their exhibit list.
                                                                                                                  Scienter

            7/31/2018       SEC-EPROD-000009477 Minutes of meeting between PIF and Elon Musk                                                 Elon Musk, Sam Teller, A, F, H, P        Rule 901(b)(4);
                                                                                                                                             Deepak Ahuja/Falisty,                    Business records
   80                                                                                                                                        Scienter                                 exception

            8/2/2018        TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors - Offer to Take       All Defendants /           Elon Musk, Deepak        F               Waiver. Defendants                                         1/20/23 (P) * shown to
                            0078                 Tesla Private at $420                                            Foundation, Falsity,       Ahuja, Dave                              include this exhibit                                       jury in opening
   81                                                                                                             Scienter                   Arnold/Falsity, Scienter                 on their exhibit list.


            8/2/2018        TESLA_LITTLETON_0001 Minutes of a Special MeeƟng of the Board of Directors of         Buss, Gracias, Murdoch, Deepak Ahuja, Robyn         F               Waiver. Defendants
                            2790-12791           Tesla                                                            Denholm, Rice,           Denholm, Antonio                           include this exhibit
                                                                                                                  Ehrenpreis, Ahuja, Maron Gracias/Falisty,                           on their exhibit list.
   82                                                                                                             / Foundation, Falsity,   Scienter
                                                                                                                  Scienter

            8/3/2018        TESLA_LITTLETON_0001 Minutes of a Special MeeƟng of the Board of Directors of         All Defendants, Ahuja,     Deepak Ahuja, Elon     F                 Waiver. Defendants                                         1/20/2023 (D)
                            2812-12814           Tesla                                                            Maron / Foundation,        Musk, Antonio Gracias,                   include this exhibit
   83                                                                                                             Falsity, Scienter          Robyn                                    on their exhibit list.
                                                                                                                                             Denholm/Falisty,
                                                                                                                                             Scienter
            8/5/2018        TESLA_LITTLETON_0000    Email from Martin Viecha to Deepak Ahuja - RE: Share          Ahuja, Viecha /                                                                              F, K, H     Business records
   84                       4261-68                 ownership                                                     Foundation                                                                                               exception
            8/5/2018        TESLA_LITTLETON_0000    Email from Martin Viecha to Deepak Ahuja - Re: Share          Viecha, Ahuja /                                                                              F, K, H     Business records
   85                       4198-05                 ownership                                                     Foundation                                                                                               exception
            8/6/2018        TESLA_LITTLETON_0001    Email from Martin Viecha to Deepak Ahuja - RE: Share          Ahuja, Viecha /                                                                              F, K, H     Business records
   86                       2953-60                 ownership                                                     Foundation                                                                                               exception
            8/7/2018        TESLA_LITTLETON_0000    Email from Elon Musk to Dave Arnold - Re: FT article re:      E. Musk, Ahuja, Arnold,    Dave Arnold, Elon        F               Waiver. Defendants
                            5353                    Saudi investment in Tesla                                     Viecha / Foundation        Musk, Deepak Ahuja,                      include this exhibit
   87                                                                                                                                        Martin Viecha/Falisty,                   on their exhibit list.
                                                                                                                                             Scienter

            8/7/2018        TESLA_LITTLETON_0001 Email from Deepak Ahuja to Antonio Gracias - Blog Link:          All Defendants, Ahuja,     Deepak Ahuja, Antonio F                  Waiver. Defendants
                            3235                 Taking Tesla private                                             Maron / Foundation,        Gracias, Robyn                           include this exhibit
   88                                                                                                             Falsity, Scienter          Denholm/Falisty,                         on their exhibit list.
                                                                                                                                             Scienter

            8/7/2018        TESLA_LITTLETON_0001 Minutes of a Special MeeƟng of the Board of Directors of         Gracias, Buss, Denholm,    Deepak Ahuja, Antonio F                  Waiver. Defendants
                            2792-93              Tesla                                                            Ehrenpreis, Rice,          Gracias, Robyn                           include this exhibit
   89                                                                                                             Murdoch, Ahuja, Maron /    Denholm, Elon                            on their exhibit list.
                                                                                                                  Foundation, Falsity,       Musk/Falisty, Scienter
                                                                                                                  Scienter
            8/7/2018        TESLA_LITTLETON_0000 Email from Elon Musk to Matt Fassnacht - Re: Why?                E. Musk, Ahuja, Chew /     Elon Musk, Deepak        F               Waiver. Defendants
                            6289-6290                                                                             Foundation                 Ahuja /Falisty, Scienter                 include this exhibit
   90                                                                                                                                                                                 on their exhibit list.


            8/7/2018        TESLA_LITTLETON_0000 Email from Martin Viecha to Deepak Ahuja - RE: sanity check Ahuja, Viecha /                                                                                   F, H        Business records
   91                       4131-35                                                                          Foundation                                                                                                    exception



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  No.                                                                                                            at Trial                Purpose at Trial                                                                      Objections

            8/10/2018       TESLA_LITTLETON_0000 Email from Elon Musk to Todd Maron transmiƫng Text              E. Musk, Maron, Ahuja,     Elon Musk, Deepak       F                   Waiver. Defendants
                            6164-6165            from Yasir - From Yasir of Arabia                               Al-Rumayyan /              Ahuja/Falisty, Scienter                     include this exhibit
   92                                                                                                            Foundation, Falsity,                                                   on their exhibit list.
                                                                                                                 Scienter

            8/10/2018       TESLA_LITTLETON_0000 Email from Elon Musk to Todd Maron - Re: From Yasir of          E. Musk, Maron, Ahuja,     Elon Musk, Deepak       F                   Waiver. Defendants
                            6167                 Arabia                                                          Al-Rumayyan /              Ahuja/Falisty, Scienter                     include this exhibit
   93                                                                                                            Foundation, Falsity,                                                   on their exhibit list.
                                                                                                                 Scienter

            8/13/2018       TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors - Egon Durban of E. Musk, Maron, Ahuja,         Elon Musk, Deepak       F                   Waiver. Defendants
                            0106                 Silver Lake                                                 Durban / Foundation,           Ahuja/Falisty, Scienter                     include this exhibit
   94                                                                                                        Falsity, Scienter                                                          on their exhibit list.


            8/13/2018       TESLA_LITTLETON_0000 Email from Dave Arnold to Elon Musk; Cc: Deepak Ahuja; Sam                                 Dave Arnold, Elon      H, R, F, B, I, P     Business records
                            5739-5740            Teller; Sarah O'Brien, Re: Media Coverage: Taking Tesla                                    Musk, Deepak Ahuja,                         exception
   95                                            Private, 8/13/18 at 2:04pm                                                                 Sam Teller/Falisty,
                                                                                                                                            Scienter
            8/13/2018       TESLA_LITTLETON_0001 Minutes of a Special MeeƟng of the Board of Directors of        All Defendants, Ahuja,     Deepak Ahuja, Elon     F                    Waiver. Defendants
                            2806-12811           Tesla                                                           Maron / Foundation,        Musk, Antonio Gracias,                      include this exhibit
   96                                                                                                            Falsity, Scienter          Robyn Denholm/                              on their exhibit list.


            8/15/2018       TESLA_LITTLETON_0000 Email from Elon Musk to Tesla Board; ExecStaff, Re: Fwd:                                   Elon Musk/Falisty,        F, H, R, P, K     Business records
   98                       2398                 Heads up: Reuters article on board's special committee                                     Scienter                                    exception
                                                 8/15/18 at 1:08pm
            8/17/2018       TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors - WSJ                All Defendants/ Falsity,                                                                         F, H         Not offered for
   99                       2321                                                                                 Scienter                                                                                                      truth; business
                                                                                                                                                                                                                               records exception
            8/19/2018       TESLA_LITTLETON_0000 Email from Deepak Ahuja to Todd Maron, Re: Feedback from                                   Deepak Ahuja, Martin H, P, F                Business records
                            9580-9581            investors, 8/19/18 at 10:26pm                                                              Viecha/Falisty, Scienter                    exception
  100

            8/23/2018       TESLA_LITTLETON_0001 Minutes of a Special MeeƟng of the Board of Directors of        All Defendants, Ahuja,     Deepak Ahuja, Antonio F                     Waiver. Defendants
                            2794-12798           Tesla                                                           Maron, Durban, Dees /      Gracias, Robyn                              include this exhibit
  101                                                                                                            Foundation, Falsity,       Denholm, Elon                               on their exhibit list.
                                                                                                                 Scienter                   Musk/Falisty, Scienter

            8/22/2018       TESLA_LITTLETON_0000 Social Media Policy of Tesla dated 8/22/2018                                               Elon Musk, Antonio       P, F, R            Witness
                            6168                                                                                                            Gracias, Robyn                              authenticates; this
                                                                                                                                            Denholm, Deepak                             document is related
                                                                                                                                            Ahuja, Sam                                  to the tweets that
                                                                                                                                            Teller/Falisty, Scienter                    are subject to this
  102                                                                                                                                                                                   lawsuit, it is relevant
                                                                                                                                                                                        and ought to be
                                                                                                                                                                                        admitted


            11/5/2013                              Form 8-K of Tesla Motors, Inc., dated November 5, 2013 re                                Elon Musk, Antonio       A, B, F, H, K, R   F.R.E. 904(b)(4),                                           1/20/23 (P)
                                                   Elon’s Twitter account                                                                   Gracias, Robyn                              F.R.E. 901(7)
                                                                                                                                            Denholm, Deepak
  103                                                                                                                                       Ahuja, Sam
                                                                                                                                            Teller/Falisty, Scienter

            7/17/2018                              Vernon Unsworth v. Elon Musk. Exhibit 16, p. 436-437. Email                              Elon Musk,Sam            P, R               Relevant to past
  104                                              from [Elon Musk] to Sam Teller, Re: Draft outline - UPDATED                              Teller/Falsity, Scienter                    tweeting behavior

            11/10/2016      TESLA_LITTLETON_0000 Email from Sam Teller to Emma Gallagher - Re: NEXT WEEK - Teller, E. Musk, Al Jarboa, Sam Teller, Elon               F                 Waiver. Defendants
                            6239-40              FW: Request to Meet with H.E. Yasir Al                    Al-Rumayyan /               Musk/Falsity, Scienter                           include this exhibit
  105                                                                                                      Foundation, Falsity,                                                         on their exhibit list.
                                                                                                           Scienter

            1/31/2017       TESLA_LITTLETON_0000 Email from Emma Gallagher to Elon Musk - Re: Yasir wants to E. Musk, Teller, Al-                                                                                 F, K, H, R   Not offered for
                            4579                 meet in SF                                                  Rumayyan / Foundation,                                                                                            truth; business
  106                                                                                                        Falsity, Scienter                                                                                                 records exception;
                                                                                                                                                                                                                               FRE 803(3)

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  No.                                                                                                             at Trial                Purpose at Trial                                                                   Objections

            3/2/2017        TESLA_LITTLETON_0000 Email from Sam Teller to Emma Gallagher - Re: OpenAI             E. Musk, Teller, Al-   Elon Musk, Sam Teller        F               Waiver. Defendants
                            3900-3901            Funding                                                          Rumayyan / Foundation, /Falisty, Scienter                           include this exhibit
  107                                                                                                             Falsity, Scienter                                                   on their exhibit list.


            3/7/2017        TESLA_LITTLETON_0000 Email from Sam Teller to Deepak Ahuja - Yasir bin Othman Al- E. Muks, Teller, Ahuja /                                                                         F, K, H, R,   No out of court
                            3893                 Rumayyan: Executive Profile & Biography - Bloomberg          Foundation, Falsity,                                                                                           statement; not
  108                                                                                                         Scienter                                                                                                       offered for truth;
                                                                                                                                                                                                                             business records
                                                                                                                                                                                                                             exception
            7/29/2018       TESLA_LITTLETON_0000 Email from Sam Teller to Saad Aljarboa - Re: Yasir Meeting       Teller, E. Musk, Al Jarboa, Sam Teller/Falsity,     F               Waiver. Defendants
                            3927                 with Elon                                                        Al-Rumayyan /               Scienter                                include this exhibit
  109                                                                                                             Foundation, Falsity,                                                on their exhibit list.
                                                                                                                  Scienter

            7/31/2018 -     TESLA_LITTLETON_0000 Spreadsheet of S. Teller Text Messages                           Teller, Ahuja, Viecha, E.     Sam Teller/Falsity,   F               Waiver. Defendants
            8/14/2018       6319                                                                                  Musk, Maron /                 Scienter                              include this exhibit
  110                                                                                                             Foundation, Falsity,                                                on their exhibit list.
                                                                                                                  Scienter

            8/8/2018        TESLA_LITTLETON_0000 Email from Antonio Gracias to Sam Teller - Re:                   Teller, Gracias, E. Musk /                                                                   F, H          Business records
  111                       1066-67                                                                               Foundation                                                                                                 exception
            8/8/2018        TESLA_LITTLETON_0000 Email from Sam Teller to Saad Aljarboa - Re: Yasir Meeting       Teller, Al Jarboa, E. Musk,                                                                  F, H,         No out of court
                            5090                 with Elon                                                        Al-Rumayyan /                                                                                              statement; not
  112                                                                                                             Foundation                                                                                                 offered for truth;
                                                                                                                                                                                                                             business records
                                                                                                                                                                                                                             exception
            8/9/2018        TESLA_LITTLETON_0000 Email from Sam Teller to Martin Lau - Call w/ Elon               Teller, E. Musk /             Sam Teller/Falsity,   F               Waiver. Defendants
                            14812                                                                                 Foundation, Falsity,          Scienter                              include this exhibit
  113                                                                                                             Scienter                                                            on their exhibit list.


            8/9/2018        TESLA_LITTLETON_0001 Email from Sam Teller to Greg Molinelli - Call with Elon Musk Teller, E. Musk /                Sam Teller/Falsity,   F               Waiver. Defendants
                            4813                                                                               Foundation, Falsity,             Scienter                              include this exhibit
  114                                                                                                          Scienter                                                               on their exhibit list.


            8/9/2018        TESLA_LITTLETON_0001 Email from Sam Teller to Owuraka Koney - Call with Elon          Teller, Koney, E. Musk /      Sam Teller/Falsity,   F               Waiver. Defendants
                            4814                 Musk                                                             Foundation, Falsity,          Scienter                              include this exhibit
  115                                                                                                             Scienter                                                            on their exhibit list.


            8/9/2018        TESLA_LITTLETON_0001 Email from Justin Toner to Sam Teller - RE: Call w/ Elon Musk Teller, E. Musk /                Sam Teller/Falsity,   F               Waiver. Defendants
                            48145                                                                              Foundation, Falsity,             Scienter                              include this exhibit
  116                                                                                                          Scienter                                                               on their exhibit list.


            8/9/2018        TESLA_LITTLETON_0001 Email from Huachen Chen to Elissa Butterfield - RE: Call w/      Teller, E. Musk /             Sam Teller/Falsity,   F               Waiver. Defendants
                            4816-18              Elon                                                             Foundation, Falsity,          Scienter                              include this exhibit
  117                                                                                                             Scienter                                                            on their exhibit list.


            8/9/2018        TESLA_LITTLETON_0001 Email from Sam Teller to Elliot Mattingly - Re: Call with Elon   Teller, E. Musk /             Sam Teller/Falsity,   F               Waiver. Defendants
                            5990-91                                                                               Foundation, Falsity,          Scienter                              include this exhibit
  118                                                                                                             Scienter                                                            on their exhibit list.


            8/9/2018        TESLA_LITTLETON_0001 Email from Sam Teller to James Anderson - Call w/ Elon           Teller, E. Musk /             Sam Teller/Falsity,   F               Waiver. Defendants
                            6050                                                                                  Foundation, Falsity,          Scienter                              include this exhibit
  119                                                                                                             Scienter                                                            on their exhibit list.


            8/9/2018        TESLA_LITTLETON_0001 Email from Sam Teller to Joseph Fath - Call w/ Elon              Teller, Fath, E. Musk /       Sam Teller/Falsity,   F               Waiver. Defendants
                            6051                                                                                  Foundation, Falsity,          Scienter                              include this exhibit
  120                                                                                                             Scienter                                                            on their exhibit list.




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Trial Ex.                                                                                                       Witness(es) and Purpose Witness(es) and               Defendants      to Objections        Plaintiffs          Response to
  No.                                                                                                           at Trial                Purpose at Trial                                                                       Objections

            8/1/2018 -      TESLA_LITTLETON_0000 Spreadsheet of E. Musk Text Messages                           E. Musk, Murdoch,            Sam Teller/Falsity,      F               Waiver. Defendants
            8/15/2018       0320                                                                                Gracias, Durban, Teller,     Scienter                                 include this exhibit
  121                                                                                                           Al-Rumayyan /                                                         on their exhibit list.
                                                                                                                Foundation, Falsity,
                                                                                                                Scienter
            8/10/2018       TESLA_LITTLETON_0001 Email from Sam Teller to Dave Arnold - Re: comment please      Teller, Arnold, Maron,       Sam Teller, Dave         F               Waiver. Defendants
                            5997-15998           on story we publishing on Saudi fund....                       Ahuja, E. Musk, Al-          Arnold/Falsity, Scienter                 include this exhibit
  122                                                                                                           Rumayyan / Foundation,                                                on their exhibit list.
                                                                                                                Falsity, Scienter

            8/12/2018       TESLA_LITTLETON_0000 Email from Elon Musk to Sam Teller - Re: Egon Durban of        All Defendants, Durban,      Sam Teller, Elon         F               Waiver. Defendants
                            5738                 Silver Lake                                                    Dees / Foundation,           Musk/Falsity, Scienter                   include this exhibit
  123                                                                                                           Falsity, Scienter                                                     on their exhibit list.


            8/11/2018       TESLA_LITTLETON_0000 Email from Elon Musk to BoD - Egon Durban of Silver Lake       All Defendants/ Falsity,                                                                       F, K, H         FRE 803(3); business
                            0106                                                                                Scienter                                                                                                       records exception;
  124                                                                                                                                                                                                                          not offered for truth

            8/10/2018       TESLA_LITTLETON_0000 Email from Sam Teller to Shihana Alazzaz - Re: Mutual NDA      Teller, E. Musk, Al-   Sam Teller/Falsity,            F               Waiver. Defendants
                            5205                                                                                Rumayyan / Foundation, Scienter                                       include this exhibit
  125                                                                                                           Falsity, Scienter                                                     on their exhibit list.


            7/13/2017       TESLA_LITTLETON_0000 Tesla indemnification agreement                                Murdoch, Maron /                                                                               F, K, H, R,     No out of court
  126                       6539-47                                                                             Foundation                                                                                                     statement
            8/7/2018        TESLA_LITTLETON_0000 Email from Antonio to Brad Buss - Re: Blog Post                All Director Defendants,                                                                       F, K, H         FRE 803(3); business
  129                       3232                                                                                Ahuja, Maron /                                                                                                 records exception
                                                                                                                Foundation
            8/8/2018        TESLA_LITTLETON_0000 Statement from Tesla's Board Members                           Buss, Denholm, Gracias,                                                                        F, K, H         FRE 803(3); business
  130                       9360                                                                                Ehrenpreis, Rice,                                                                                              records exception
                                                                                                                Murdoch
            8/10/2018       TESLA_LITTLETON_0000 Email from Jonathan Chang to Brad Buss - Tesla: Weekend        Buss, Maron /                                                                                  F, K, H         FRE 803(3); business
  132                       1587                 Scheduling                                                     Foundation                                                                                                     records exception

            8/16/2018       TESLA_LITTLETON_0001 Minutes of a Special Meeting of the Board of Directors of      All Defendants, Maron / Robyn Denholm, Elon           F               Waiver. Defendants
                            2799-12800           Tesla, Inc.                                                    Foundation, Falsity,    Musk, Antonio                                 include this exhibit
  134                                                                                                           Scienter                Gracias/Falsity,                              on their exhibit list.
                                                                                                                                        Scienter

            8/17/2019       TESLA_LITTLETON_0001 Minutes of a Special Meeting of the Board of Directors of      All Defendants, Maron / Robyn Denholm, Elon           F               Waiver. Defendants
                            2804-12805           Tesla, Inc.                                                    Foundation, Falsity,    Musk, Antonio                                 include this exhibit
  135                                                                                                           Scienter                Gracias/Falsity,                              on their exhibit list.
                                                                                                                                        Scienter

            8/18/2018       TESLA_LITTLETON_0001 Minutes of a Special Meeting of the Board of Directors of      All Defendants, Maron / Robyn Denholm, Elon           F               Waiver. Defendants
                            2801-12803           Tesla, Inc.                                                    Foundation, Falsity,    Musk, Antonio                                 include this exhibit
  137                                                                                                           Scienter                Gracias/Falsity,                              on their exhibit list.
                                                                                                                                        Scienter

            8/25/2018       TESLA_LITTLETON_0000 Statement from Tesla's Board Members                           Buss, Denholm, Gracias, Robyn Denholm,           F                    Waiver. Defendants
                            9341                                                                                Ehrenpreis, Rice,       Antonio Gracias/Falsity,                      include this exhibit
  139                                                                                                           Murdoch / Foundation Scienter                                         on their exhibit list.


            8/30/2018       TESLA-                 Email from Martin Viecha to Elon Musk re Allianz feedback                                 Martin Viecha, Elon      P, R, F, H      Business records
                            LITTLETON_00019247-    and cave diver                                                                            Musk/Falsity, Scienter                   exception
  140                       TESLA-LITTLETON_
                            00019248
            3/30/2018       TESLA_LITTLETON_0000   Email from Martin Viecha to Sam Teller - RE: Yasir Meeting   Teller, Viecha, Al Jarboa,                                                                     F, K, H, R, P   Not offered for
                            4684-65                with Elon                                                    Al-Rumayyan, E. Musk /                                                                                         truth; business
  141                                                                                                           Foundation, Falsity,                                                                                           records exception
                                                                                                                Scienter




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            8/7/2018        TESLA_LITTLETON_0001 Email from Martin Viecha to Deepak Ahuja - RE: Share                Ahuja, Viecha /           Martin Viecha, Deepak F                  Waiver. Defendants
                            8466-18476           ownership                                                           Foundation                Ahuja/Falsity, Scienter                  include this exhibit
  143                                                                                                                                                                                   on their exhibit list.


            8/7/2018        TESLA_LITTLETON_0000 Email from Martin Viecha to Eirik Hogner (Lansdowne                                           Martin Viecha/Falsity,   P, R, F, H, L   Business records
  145                       4110-4111            Partners), Re: Takeout                                                                        Scienter                                 exception

            8/7/2018        TESLA_LITTLETON_0000 Email from Martin Viecha to Itay Michaeli (Citi Research) re                                  Martin Viecha/Falsity,   P, R, F, H, L   Business records
  146                       4154                 Elon tweet                                                                                    Scienter                                 exception

            8/7/2018        TESLA_LITTLETON_0000 Email from Deepak Ahuja to Martin Viecha - Re: Why?                 Ahuja, Viecha, Chew /     Martin Viecha/Falsity,   F, P            Waiver. Defendants
                            4008-4009                                                                                Foundation                Scienter                                 include this exhibit
  147                                                                                                                                                                                   on their exhibit list.


            8/7/2018        TESLA_LITTLETON_0000 Email from Nasdaq to Aaron Chew and Martin Viecha re                                          Martin Viecha/Falsity,   P, R, F, H, L   Business records
  149                       6610                 trading resuming                                                                              Scienter                                 exception

            8/7/2018        TESLA_LITTLETON_0000 Email from Martin Viecha to Bradley Erickson (KeyBanc) re                                     Martin Viecha/Falsity,   P, R, F, H, L   Business records
  150                       4010-4011            Elon Tweet                                                                                    Scienter                                 exception

            8/7/2018        TESLA_LITTLETON_0000 Email from Martin Viecha to Toni Sacconaghi (Bernstein                                        Martin Viecha/Falsity,   P, R, F, H, L   Business records
  151                       4253-4255            Research) re Elon tweet                                                                       Scienter                                 exception

            8/7/2018        TESLA_LITTLETON_0000 Email from Martin Viecha to Joel Grant (TRowe), Re: Takeout                                   Martin Viecha/Falsity,   P, R, F, H, L   Business records
  153                       4114                 news                                                                                          Scienter                                 exception

            8/7/2018        TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors - Fwd: Thank you All Defendants, Fath,                                                                               F, K, H     FRE 803(3); business
                            6271-75              and feedback                                                Ahuja, Maron /                                                                                                  records exception
  154                                                                                                        Foundation, Falsity,
                                                                                                             Scienter
            8/8/2018        TESLA_LITTLETON_0000 Email from Aaron Chew to Martin Viecha - Investor Feedback Chew, Viecha, Ahuja /              Martin Viecha/Falsity,   F               Waiver. Defendants
                            4625-4626                                                                        Foundation                        Scienter                                 include this exhibit
  155                                                                                                                                                                                   on their exhibit list.


            8/10/2018       SEC-EPROD-000000024- Email from Martin Viecha to James Anderson - RE: LTSE               Viecha, E. Musk /                                                                           F, K, H     Business records
  156                       25                                                                                       Foundation                                                                                              exception
            8/13/2018       TESLA_LITTLETON_0001 Email from Martin Viecha to Elon Musk - RE: T Rowe Price            E. Musk, Viecha, Ahuja,   Martin Viecha, Elon     F                Waiver. Defendants
                            8643-18644                                                                               Chew, Teller, Fath /      Musk, Deepak                             include this exhibit
  157                                                                                                                Foundation                Ahuja/Falsity, Scienter                  on their exhibit list.


            8/15/2018       TESLA_LITTLETON_0001 Email from Martin Viecha to Deepak Ahuja and Todd Maron,                                      Martin Viecha, Deepak P, R, F, H, L, I   Business records
                            9026-19027           Re: FW: Investor Feedback. Todd Maron forwarded an FYI to                                     Ahuja/Falsity, Scienter                  exception
  158                                            Elon Musk.

            8/17/2018       TESLA_LITTLETON_0001 Email from Martin Viecha to Dave Arnold, Re: NYT interview                                    Martin Viecha, Dave      F, R, P, H      Business records
  159                       0832-10833                                                                                                         Arnold/Falsity, Scienter                 exception

            8/17/2018       TESLA_LITTLETON_0001 Emails from James Sperling (UBS) to Martin Viecha re Elon's                                   Martin Viecha/Falsity,   F, P            Witness
  160                       2567-12569           interview with NYT                                                                            Scienter                                 authenticates

            8/19/2018       TESLA_LITTLETON_0001 Email from Deepak Ahuja to Martin Viecha - FW: Feedback             Ahuja, Viecha, E. Musk,   Martin Viecha, Deepak F                  Waiver. Defendants
                            9023-24              from investors                                                      Chew / Foundation         Ahuja/Falsity, Scienter                  include this exhibit
  161                                                                                                                                                                                   on their exhibit list.


            9/18/2018                               Electrek article: Tesla (TSLA) now reportedly under a criminal                             Elon Musk, Dave          A, F, H, K, R   Not offered for
                                                    probe over Elon Musk's take-private comments.                                              Arnold, Deepak Ahuja,                    truth/effect on
                                                                                                                                               Anotnio Gracias, Robyn                   listener
  163                                                                                                                                          Denholm, Sam
                                                                                                                                               Teller/Falsity, Scienter




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Trial Ex.                                                                                                         Witness(es) and Purpose Witness(es) and             Defendants        to Objections        Plaintiffs      Response to
  No.                                                                                                             at Trial                Purpose at Trial                                                                   Objections

            6/21/2016                              Tesla Blog Post: Tesla Makes Offer to Acquire Solar City                                 Elon Musk, Anotnio        F, R, P, H        Not offered for
  164                                                                                                                                       Gracias/Falsity,                            truth/effect on
                                                                                                                                            Scienter                                    listener
            7/3/2018 -      TESLA_LITTLETON_0000 D. Ahuja Call Log                                                All Defendants, Straubel, Elon Musk/Falsity,        F                 Waiver. Defendants
            8/15/2018       0315                                                                                  Durban, Dees, Teller, Al- Scienter                                    include this exhibit
                                                                                                                  Rumayyan, Maron /                                                     on their exhibit list.
  165                                                                                                             Foundation, Falsity,
                                                                                                                  Scienter

            8/7/2018        TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors - Fwd: Thank you All Defendants, Fath,          Elon Musk, Robyn          F                 Waiver. Defendants
                            0247-50              and feedback                                                Ahuja, Maron /                 Denholm, Antonio                            include this exhibit
  167                                                                                                        Foundation, Falisity,          Gracias/Falsity,                            on their exhibit list.
                                                                                                             Scienter                       Scienter

            8/9/2018        TESLA_LITTLETON_0001 Email from Ira Ehrenpreis to Sarah O'Brien, Dave Arnold, and                               Ira, Ehrenpreis, Dave    F, H, P            Business records
  168                       4589                 Todd Maron forwarding Bloomberg inquiry re tesla go private                                Arnold/Falsity, Scienter                    exception

            8/14/2018       TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors - Fwd:                All Defendans, Teller, Elon Musk, Robyn             F                 Waiver. Defendants
                            0275                                                                                  Polhemus / Foundation, Denholm, Antonio                               include this exhibit
  170                                                                                                             Falsity, Scienter      Gracias/Falsity,                               on their exhibit list.
                                                                                                                                         Scienter

            8/16/2018                              New York Times article: "Elon Musk Details 'Excruciating'                                Elon Musk, Dave          A, F, H, K, R, P   Waiver. Defendants
                                                   Personal Toll of Tesla Turmoil."                                                         Arnold, Deepak Ahuja,                       include this exhibit
                                                                                                                                            Anotnio Gracias, Robyn                      on their exhibit list.
  171                                                                                                                                       Denholm, Sam
                                                                                                                                            Teller/Falsity, Scienter


            8/20/2018       TESLA_LITTLETON_0001   Email from Erica Chen (Tesla) to Dave Arnold re Associated                               Dave Arnold/Falsity,     H, R, F, B, I, P   Business records
  172                       0621-10622             Press article on Tesla Board independence                                                Scienter                                    exception
            8/21/2018       TESLA_LITTLETON_0001   Email from Elon Musk to Board of Directors - Fwd: Coverage: All Defendants,              Eln Musk, Antonio        F                  Waiver. Defendants
                            9954                   Morgan Stanley removes Tesla stock rating                   Polhemus / Foundation        Gracias, Robyn                              include this exhibit
  173                                                                                                                                       Denholm, Dave                               on their exhibit list.
                                                                                                                                            Arnold/Falsity, Scienter

            8/8/2018 -      SL_SEC00001711/SEC-    Spreadsheet of text messages                                   Durban, Foundation        Egon Durban/Falsity,      F                 Waiver. Defendants
            8/17/2018       EPROD000014917-54                                                                                               Scienter                                    include this exhibit
  174                                                                                                                                                                                   on their exhibit list.


            8/6/2018        SL_3P00001712          Egon Durban's handwritten notes from August 6 meeting          Durban, Foundation,       Egon Durban/Falsity,      F                 Waiver. Defendants
                                                   with Elon Musk                                                 Falsity, Scienter         Scienter                                    include this exhibit
  175                                                                                                                                                                                   on their exhibit list.


            8/7/2018        SL_3P00000036          Email from Kyle Paster to Egon Durban - FW: Elon Musk          Durban/ Falsity           Egon Durban/Falsity,      F                 Witness
  177                                              Tweet                                                                                    Scienter                                    authenticates
            4/18/2017                              Silver Lake Press Release: Silver Lake Completes $15 Billion                             Egon Durban/Falsity,      R, P              Witness
  178                                              Fundraise                                                                                Scienter                                    authenticates
            8/10/2018       SL_3P00000001-35       Project Turbo Discussion Materials                             Durban, E. Musk /         Egon Durban/Falsity,      F                 Waiver. Defendants
                                                                                                                  Foundation, Falsity,      Scienter                                    include this exhibit
  179                                                                                                             Scienter                                                              on their exhibit list.


            8/10/2018       SL_3P00001713          Egon Durban's handwritten notes from August 10 meeting         Durban / Foundation,      Egon Durban/Falsity,      F, R              Waiver. Defendants
                                                   with Elon Musk                                                 Falsity, Scienter         Scienter                                    include this exhibit
  180                                                                                                                                                                                   on their exhibit list.


            8/12/2018       SL_3P00000049-137      Email from Egon Durban to Elon Musk - Fwd: Dell Proxy          E. Musk, Durban/ Falsity, Egon Durban, Elon         F                 Waiver. Defendants
                                                   Background Sections                                            Scienter                  Musk/Falsity, Scienter                      include this exhibit
  181                                                                                                                                                                                   on their exhibit list.




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  No.                                                                                                            at Trial                Purpose at Trial                                                                      Objections

            8/14/2018 -     SEC-EPROD-000011315 Spreadsheet of E. Durban text messages                           Durban, Dees, Teller, E.   Egon Durban/Falsity,     F                  Waiver. Defendants
            8/17/2018                                                                                            Musk / Foundation,         Scienter                                    include this exhibit
  182                                                                                                            Falsity, Scienter                                                      on their exhibit list.


            8/14/2018       SL_3P00000247-48      Email from Mark Kim to Sam Teller - FW: Follow Up on Our       Teller, Denholm, Buss,     Egon Durban, Sam         F                  Waiver. Defendants
                                                  Discussions                                                    Rice / Foundation,         Teller/Falsity, Scienter                    include this exhibit
  184                                                                                                            Falsity, Scienter                                                      on their exhibit list.


            8/14/2018       SL_3P00000261-62      Email from Egon Durban to Steven Rosenblum - Re: Few           Telller, E. Musk, Durban, Egon Durban, Elon        F                   Waiver. Defendants
                                                  quick ones                                                     Dees / Foundation,        Musk, Sam                                    include this exhibit
  185                                                                                                            Falsity, Scienter         Teller/Falsity, Scienter                     on their exhibit list.


            8/14/2018       SL_3P00000175-86      Email from Michael Cohn to Elon Musk with attached Project E. Musk, Teller, Dees,         Egon Durban, Elon        F                  Waiver. Defendants
                                                  Titanium Discussion Materials - Project Titanium Materials Durban / Foundation,           Musk, Sam                                   include this exhibit
  186                                                                                                        Falsity, Scienter              Teller/Falsity, Scienter                    on their exhibit list.


            8/14/2018       SL_3P00000266-68      Email from Kyle Paster to Dan Dees - RE: turbo                 Durban, Dees /             Egon Durban/Falsity,     F                  Waiver. Defendants
                                                                                                                 Foundation, Falsity,       Scienter                                    include this exhibit
  188                                                                                                            Scienter                                                               on their exhibit list.


            8/15/2018       SL_3P00000221-24      Email from Elon Musk to Egon Durban - Re: Communications E. Musk, Durban, Dees,                                                                                F, K, H       FRE 803(3); business
                                                                                                           Teller / Foundation,                                                                                                records exception
  189                                                                                                      Falsity, Scienter

            8/15/2018       SL_3P00001714         Handwritten Notes                                              Durban / Foundation,       Egon Durban/Falsity,     F                  Waiver. Defendants
                                                                                                                 Falsity, Scienter          Scienter                                    include this exhibit
  190                                                                                                                                                                                   on their exhibit list.


            Undated         SL_3P00001715         Handwritten Notes                                              Durban / Foundation,       Egon Durban/Falsity,     F                  Waiver. Defendants
                                                                                                                 Falsity, Scienter          Scienter                                    include this exhibit
  191                                                                                                                                                                                   on their exhibit list.


            8/15/2018       SL_3P00001301-08      Email from John Suo to Kyle Paster - RE: So doesn't go to      Durban, Dees /                                                                                  F, K, H, R,   Business records
  192                                             "Jesse" or "Gary". Thx                                         Foundation, Falsity,                                                                                          exception; Fre 803(3)
                                                                                                                 Scienter
            8/16/2018       SL_3P00000936-37      Email from Karen King to Egon Durban - Privileged : Draft      Durban, Dees /             Egon Durban/Falsity,     F                  Waiver. Defendants
                                                  Joint Statement                                                Foundation, Falsity,       Scienter                                    include this exhibit
  193                                                                                                            Scienter                                                               on their exhibit list.


            8/16/2018       SL_3P00000306         Email from Egon Durban to Steven Rosenblum - Follow-uo for Durban, E. Musk, Dees / Egon Durban/Falsity,            F                  Waiver. Defendants
                                                  Special Committee Counsel                                  Foundation, Falsity,    Scienter                                           include this exhibit
  194                                                                                                        Scienter                                                                   on their exhibit list.


            8/16/2018       SL_3P00000320-322     Email from Steven Rosenblum to Samuel Britton - RE: Talking Dees, Durban /                Egon Durban, Dan         F                  Waiver. Defendants
                                                  points - confidential                                       Foundation, Falsity,          Dees/Falsity, Scienter                      include this exhibit
  196                                                                                                         Scienter                                                                  on their exhibit list.


            8/17/2018       SL_3P00000326-        Email from Egon Durban to Sam Teller; Cc: Dan Dees; Sam                                   Egon Durban, Sam         F, R               Business records
  197                       SL_3P00000327         Britton (GS) re waiting on update                                                         Teller/Falsity, Scienter                    exception

            8/17/2018       SL_3P00000945         Email from Gordon Goldstein (SL) to Egon Durban with link to                              Egon Durban/Falsity,     A, F, H, K, R, P   Business records
  198                                             NYTimes article: Elon Musk Confronts a Fateful Tweet and an                               Scienter                                    exception
                                                  'Excruciating' Year




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Trial Ex.                                                                                                           Witness(es) and Purpose Witness(es) and             Defendants      to Objections        Plaintiffs      Response to
  No.                                                                                                               at Trial                Purpose at Trial                                                                 Objections

            8/17/2018       SEC-EPROD-000009934- Email from Mark Kim to Steven Rosenblum - RE: Talking              Dees, Durban /            Egon Durban, Dan          F               Waiver. Defendants
                            37                   points - confidential                                              Foundation, Falsity,      Dees/Falsity, Scienter                    include this exhibit
  199                                                                                                               Scienter                                                            on their exhibit list.


            8/23/2018       TESLA_LITTLETON_0000 Project Titanium Discussion Materials                              All Defendants, Durban,   Egon Durban, Dan          F               Waiver. Defendants
                            6169-38                                                                                 Dees, Ahuja /             Dees/Falsity, Scienter                    include this exhibit
  201                                                                                                               Foundation, Falsity,                                                on their exhibit list.
                                                                                                                    Scienter

            8/8/2018        TESLA_LITTLETON_0000 Email from Aaron Chew to John Murphy (BAML); Martin                                          Aaron Chew, Martin                        Business records
                            3978                 Viecha RE: Tweet --@elonmusk -Am considering taking Tesla                                    Viecha/Falsity,                           exception
  203                                            private at $420. Funding secured.                                                            Scienter, Materiality

            8/7/2018        TESLA_LITTLETON_0000    Email from Ilene Taylor (Nasdaq) to Aaron Chew re Elon                                    Aaron Chew/Falsity,      F, R, P, H       Business records
  204                       6615-6616               tweets / trading halt                                                                     Scienter                                  exception
            8/7/2018        TESLA_LITTLETON_0000    Email from Aaron Chew to Martin Viecha, Re: Lets hold off on                              Aaron Chew, Martin       F, R, P, H       Business records
  205                       4179                    any comment til after the close...                                                        Viecha/Falsity, Scienter                  exception

            8/8/2018        SEC-EPROD-000000422- Email from Aaron Chew to Essen Ali - Re: Did I miss your call? Chew, Viecha /                Aaron Chew, Martin       F, R, L          Waiver. Defendants
                            24                                                                                  Foundation                    Viecha/Falsity, Scienter                  include this exhibit
  209                                                                                                                                                                                   on their exhibit list.


            8/7/2018        TESLA_LITTLETON_0001 Email from Aaron Chew to Martin Viecha - RE: Major investor Chew, Viecha, Arnold,            Aaron Chew, Martin        F               Waiver. Defendants
                            8259-60              inquires                                                    Ahuja / Foundation,              Viecha, Dave Arnold,                      include this exhibit
  210                                                                                                        Falsity, Scienter,               Deepak Ahuja/Falsity,                     on their exhibit list.
                                                                                                             Materiality, Causation           Scienter

            8/8/2018        TESLA_LITTLETON_0001    Email from Aaron Chew to George Galliers (Evercore ISI), Re:                              Aaron Chew/Falsity,      F, P, H, L
  214                       4962-14963              Timings                                                                                   Scienter
            8/8/2018        TESLA_LITTLETON_0000    Email from Aaron Chew to Deepak Ahuja - RE: Investor         Chew, Ahuja /                Aaron Chew, Martin       F                Waiver. Defendants
                            4621-23                 Feedback                                                     Foundation                   Viecha/Falsity, Scienter                  include this exhibit
  215                                                                                                                                                                                   on their exhibit list.


            8/8/2018        TESLA_LITTLETON_0001 Email from Aaron Chew to Deepak Ahuja; Martin Viecha; Cc:                                    Aaron Chew, Deepak P, H                   Business records
                            8378                 Todd Maron; Philip Rothenberg; Dave Arnold, Re: Investor                                     Ahuja, Martin                             exception
  216                                            Feedback on Next Steps. 8.8.2018 at 7:22 pm/ 8.9.2019 at                                     Viecha/Falsity, Scienter
                                                 2:22 am UTC
            8/15/2018       TESLA_LITTLETON_0000 Letter from Nasdaq to Aaron Chew                                                             Aaron Chew/Falsity,       P, H            Waiver. Defendants
                            6594-6595                                                                                                         Scienter                                  include this exhibit
  218                                                                                                                                                                                   on their exhibit list.


            8/22/2018       TESLA_LITTLETON_0001 Email from Catherine Wood (ARK Invest) to Aaron Chew, Re:                                    Aaron Chew/Falsity,       F, H            Business records
                            9450-19454           Dear Elon: An Open Letter Against Taking Tesla Private.                                      Scienter                                  exception
  221                                            Aaron Chew forwarded it to EMDesk; Cc: Deepak Ahuja; Todd
                                                 Maron; Martin Viecha
            8/27/2018       TESLA_LITTLETON_0001 Email from Aaron Chew to Antonio Gracias' Martin Viecha,                                     Aaron Chew, Antonio P, H                  Business records
                            8029-18030           Re: TRowe call                                                                               Gracias, Martin                           exception
  222                                                                                                                                         Viecha/Falsity, Scienter


            8/7/2018        N/A                     Financial Times article, Saudi Arabia's sovereign fund builds   All witnesses /           Elon Musk, Deepak        A,F, H, K, R     Waiver. Defendants
                                                    $2bn Tesla stake                                                Foundation, Falsity,      Ahuja, Sam Teller,                        include this exhibit
  225                                                                                                               Scienter, Materiality,    Martin Viecha, Dave                       on their exhibit list.
                                                                                                                    Reliance, Causation       Arnold/Falsity, Scienter

            8/24/2018       TESLA_LITTLETON_0000 Tesla Blog: Staying Public                                         E. Musk / Foundation,     Elon Musk, Deepak        F                Waiver. Defendants                                 1/18/2023
                            7163-64                                                                                 Falsity, Scienter,        Ahuja, Sam Teller,                        include this exhibit
                                                                                                                    Reliance, Causation       Antonio Gracias, Robyn                    on their exhibit list.
  229                                                                                                                                         Denholm, Martin
                                                                                                                                              Viecha/Falsity, Scienter




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  No.                                                                                                          at Trial                Purpose at Trial                                                             Objections

            8/14/2018       SEC-EPROD-000009127 Email from Brian Dong to Dan Dees - RE: Saudi Arabia’s         Dees / Foundation      Dan Dees/Falisty,      F               Waiver. Defendants
                                                sovereign wealth fund builds $2bn Tesla stake                                         Scienter                               include this exhibit
  231                                                                                                                                                                        on their exhibit list.


            8/13/2015       N/A                     Press Release - "Tesla Announces $500 Million Common       E. Musk / Foundation   Dan Dees, Elon Musk    F               Waiver. Defendants
                                                    Stock Offering"                                                                   /Falisty, Scienter                     include this exhibit
  232                                                                                                                                                                        on their exhibit list.


            3/15/2017       N/A                 Press Release - "Tesla Announces Offerings of Common Stock     All Defendants /                                                                       F, K, H, R,   Business records
  233                                           and Convertible Senior Notes"                                  Foundation                                                                                           exception
            8/7/2018        SEC-EPROD-000005553 Email from Dan Dees to Pete Lyon - RE: Saudi Arabia’s          Dees / Foundation,     Dan Dees/Falisty,      F               Waiver. Defendants
                                                sovereign wealth fund builds $2bn Tesla stake                  Falsity, Scienter      Scienter                               include this exhibit
  234                                                                                                                                                                        on their exhibit list.


            8/7/2018        SEC-EPROD-000006065 Email from Stuart Wrigley to Dan Dees - RE: i see the news on Dees / Foundation,      Dan Dees/Falisty,      F               Waiver. Defendants
                                                the tape about tesla and the saudi investment....             Falsity, Scienter       Scienter                               include this exhibit
  235                                                                                                                                                                        on their exhibit list.


            8/7/2018        SEC-EPROD-000005855 Email from Dan Dees to Elon Musk - exciting news from you Dees, E. Musk /             Dan Dees, Elon Musk    F               Waiver. Defendants
                                                today!                                                    Foundation, Falsity,        /Falisty, Scienter                     include this exhibit
  236                                                                                                     Scienter                                                           on their exhibit list.


            8/7/2018        SEC-EPROD-000005437 Email from Michael Cohn to Dan Dees - RE: also, i still want to Dees / Foundation     Dan Dees/Falisty,      F               Waiver. Defendants
                                                see the numbers on their ebitda....with and without sbc,                              Scienter                               include this exhibit
  237                                           valuation at 420, etc                                                                                                        on their exhibit list.


            8/8/2018        SEC-EPROD-000005436 Email from Dan Dees to Chris Buddin - FW: really exciting      Dees, E. Musk /        Dan Dees/Falisty,      F               Waiver. Defendants
                                                day for tesla!                                                 Foundation, Falsity,   Scienter                               include this exhibit
  238                                                                                                          Scienter                                                      on their exhibit list.


            8/7/2018        SEC-EPROD-000005670 - Email from Kurt Tenenbaum to Dan Dees - RE: TSLA             Dees / Foundation,     Dan Dees/Falisty,      F               Waiver. Defendants
                            71                                                                                 Falsity, Scienter.     Scienter                               include this exhibit
  239                                                                                                          Reliance, Causation                                           on their exhibit list.


            8/7/2018        SEC-EPROD-000006075 Email from Dan Dees to Marc Nachmann - RE: posted lemkau Dees / Foundation            Dan Dees/Falisty,      F               Waiver. Defendants
                                                live on tesla                                                                         Scienter                               include this exhibit
  240                                                                                                                                                                        on their exhibit list.


            8/7/2018        SEC-EPROD-000005679 - Email from Brian Dong to Dan Dees - FW: Tesla | Summary      Dees/ Foundation       Dan Dees/Falisty,      F               Waiver. Defendants
                            85                    Materials                                                                           Scienter                               include this exhibit
  241                                                                                                                                                                        on their exhibit list.


            8/8/2018        SEC-EPROD-000005724 Email from Dan Dees to Pawan Tewari (GS), Re: are u still                             Dan Dees/Falisty,      R, H, P         Business records
  242                                           close with robyn denholm?                                                             Scienter                               exception
            8/8/2018        SEC-EPROD-000006039 Email from Dan Dees to Elon Musk - RE: really exciting day     Dees, E. Musk /        Dan Dees, Elon Musk    F               Waiver. Defendants
                                                for tesla!                                                     Foundation, Falsity,   /Falisty, Scienter                     include this exhibit
  243                                                                                                          Scienter                                                      on their exhibit list.


            8/8/2018        SEC-EPROD-000005533 Email from Dan Dees to Kurt Tenenbaum - re: Kurt’s call with                          Dan Dees/Falsity,      F, R, H, P      Business records
  244                                           Shane                                                                                 Scienter                               exception
            8/8/2018        SEC-EPROD-000008373 Email from Dan Dees to Dan Dees, Re: To Do list                                       Dan Dees/Falisty,      F, R, H, P, B   Business records
  245                                                                                                                                 Scienter                               exception




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  No.                                                                                                         at Trial                Purpose at Trial                                                             Objections

            8/8/2018        SEC-EPROD-000005419 Email from Dan Dees to Brian Dong - RE: Tesla - topics for    Dees / Foundation        Dan Dees/Falisty,      F               Waiver. Defendants
                                                discussion                                                                             Scienter                               include this exhibit
  246                                                                                                                                                                         on their exhibit list.


            8/8/2018        SEC-EPROD-000005493 Email from Dan Dees to Gregg Lemkau (GS) and other GS                                  Dan Dees/Falisty,      F, R, H, P      Business records
  247                                           people re where was the funding coming from                                            Scienter                               exception
            8/9/2018        SEC-EPROD-000005418 Email from Dan Dees to Sam Britton - FW: Just tried your cell Dees, E. Musk /          Dan Dees/Falisty,      F               Waiver. Defendants
                                                                                                              Foundation               Scienter                               include this exhibit
  248                                                                                                                                                                         on their exhibit list.


            8/9/2018        SEC-EPROD-000005417 Email from Brian Dong to Dan Dees - Tesla structuring         Dees / Foundation        Dan Dees/Falsity,      F               Waiver. Defendants
                                                discussion                                                                             Scienter                               include this exhibit
  249                                                                                                                                                                         on their exhibit list.


            8/9/2018        SEC-EPROD-000005414 Email from Dan Dees to Sam Britton - RE: 2 questions          E. Musk, Dees /                                                                          F, K, H     FRE 803(3); business
  250                                                                                                         Foundation                                                                                           records exception

            8/9/2018        SEC-EPROD-000005506 Email from Sam Birtton to Dan Dees - RE: 2 questions          Dees, E. Musk /                                                                          F, K, H     FRE 803(3); business
  251                                                                                                         Foundation                                                                                           records exception

            8/10/2018       SEC-EPROD-000005402- Email from Jonathan Armstrong to David Ludwig - RE:          Dees/ Foundation,        Dan Dees/Falisty,      F               Waiver. Defendants
                            03                   Additional questions                                         Falsity, Scienter        Scienter                               include this exhibit
  252                                                                                                                                                                         on their exhibit list.


            8/10/2018       SEC-EPROD-000005396 Email from Brian Dong to Dan Dees - RE: Please give me a      Dees/ Foundation,        Dan Dees/Falisty,      F               Waiver. Defendants
                                                detailed recap of the call                                    Falsity, Scienter        Scienter                               include this exhibit
  253                                                                                                                                                                         on their exhibit list.


            8/10/2018       SEC-EPROD-000006255- Email from Jess Bell-Allen to Dan Dees - Titanium Take       Dees/ Foundation,        Dan Dees/Falisty,      F               Waiver. Defendants
                            65                   Private Discussion Materials                                 Falsity, Scienter        Scienter                               include this exhibit
  254                                                                                                                                                                         on their exhibit list.


            8/10/2018       SEC-EPROD-000006103 Email from Brian Dong to Deepak Ahuja - Project               Ahuja, Dees / Foundation Dan Dees, Deepak        F              Waiver. Defendants
                                                                                                                                       Ahuja/Falisty, Scienter                include this exhibit
  255                                                                                                                                                                         on their exhibit list.


            8/11/2018       SEC-EPROD-000005388- Email from Dan Dees to Sam Britton - FW: Good to see u       Dees, E. Musk /          Dan Dees/Falisty,      F               Waiver. Defendants
                            89                   yesterday                                                    Foundation, Falsity,     Scienter                               include this exhibit
  256                                                                                                         Scienter                                                        on their exhibit list.


            8/13/2018       SEC-EPROD-000005802 Email from Gregg Lemkau to John Waldron - T                   Dees / Foundation        Dan Dees/Falisty,      F               Waiver. Defendants
                                                                                                                                       Scienter                               include this exhibit
  257                                                                                                                                                                         on their exhibit list.


            8/14/2018       SEC-EPROD-000006005- Email from John Waldron to Gregg Lemkau - Re: Call           Dees / Foundation                                                                        F, K, H     FRE 803(3); business
  258                       06                                                                                                                                                                                     records exception

            8/14/2018       SEC-EPROD-000005327- Email from Dan Dees to Michael Cohn - RE: turbo              Dees / Durban /          Dan Dees/Falisty,      F               Waiver. Defendants
                            30                                                                                Foundation               Scienter                               include this exhibit
  259                                                                                                                                                                         on their exhibit list.


            8/14/2018       SEC-EPROD-000005356- Email from Dan Dees to Sam Britton - RE: Tesla               Dees / Foundation        Dan Dees/Falisty,      F               Waiver. Defendants
                            57                                                                                                         Scienter                               include this exhibit
  260                                                                                                                                                                         on their exhibit list.




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  No.                                                                                                          at Trial                Purpose at Trial                                                                Objections

            8/14/2018       SEC-EPROD-000005351 Email from Dan Dees to Gregg Lemkau - FW:                      Dees, E. Musk /         Dan Dees, Elon Musk      F               Waiver. Defendants
                                                                                                               Foundation              /Falisty, Scienter                       include this exhibit
  261                                                                                                                                                                           on their exhibit list.


            8/14/2018       SEC-EPROD-000008145- Email from Michael Cohn to Brian Dong - RE: turbo             Dees, Durban /          Dan Dees/Falsity,        F               Waiver. Defendants
                            51                                                                                 Foundation, Falsity,    Scienter                                 include this exhibit
  262                                                                                                          Scienter                                                         on their exhibit list.


            8/14/2018       SEC-EPROD-000005349 Email from Gregg Lemkau to Sam Britton - Re: Sources of        Dees, Durban /          Dan Dees/Falisty,        F               Waiver. Defendants
                                                Capital                                                        Foundation              Scienter                                 include this exhibit
  263                                                                                                                                                                           on their exhibit list.


            8/15/2018       SEC-EPROD-000007681 Email from Dan Dees to Michael Cohn - Have u guys              Dees/ Foundation                                                                          F, K, H       FRE 803(3); business
  264                                           coordinated on the pages with Kyle?                                                                                                                                    records exception

            8/15/2018       SEC-EPROD-000005826- Email from Dan Dees to Orbit Drive - FW: Titanium materials Dees / Foundation,        Dan Dees/Falisty,        F               Waiver. Defendants
                            37                                                                               Falsity, Scienter         Scienter                                 include this exhibit
  265                                                                                                                                                                           on their exhibit list.


            8/17/2018       SEC-EPROD-000009448 Email from Kurt Tenenbaum to Dan Dees - Titanium - SLP         Dees, E. Musk /         Dan Dees/Falisty,        F               Waiver. Defendants
                                                Post                                                           Foundation              Scienter                                 include this exhibit
  266                                                                                                                                                                           on their exhibit list.


            8/7/2018        MS_TESLA0001065-66     Email from Rick Polhemus to Jon Neuhaus - Re: Wonder        Polhemus / Foundation                                                                     F, K, H       FRE 803(3); business
  267                                              if/next steps.                                                                                                                                                      records exception

            8/7/2018        MS_TESLA0001359        Email from Rick Polhemus (MS) to William Dotson (MS) Re:                            Rick Polhemus/Falsity, R, H, P, K        Business records
  268                                              rundown of today’s conversations                                                    Scienter                                 exception

            8/8/2018        MS_TESLA0000724        Email from William Dotson (MS) to Franck Petitgas Re:                               Rick                     F, K, H         Business records
  269                                              Screenshot 2018-08-08 at 11.43.40                                                   Polhemus/Materiality                     exception

            8/8/2018        MS_TESLA0001132        Email from Rick Polhemus to Daniel Ewell - Re: Telsa        Polhemus / Foundation, Rick Polhemus/Falsity, F                  Waiver. Defendants
                                                                                                               Falsity, Scienter      Scienter                                  include this exhibit
  270                                                                                                                                                                           on their exhibit list.


            8/8/2018        MS_TESLA0001351-53     Email from Rick Polhemus to Jon Neuhaus - Re: Wonder        Polhemus / Foundation                                                                     F, K, H       FRE 803(3); business
  271                                              if/next steps.                                                                                                                                                      records exception

            8/8/2018        MS_TESLA0000902-       Email from Rick Polhemus (MS) to Thomas Miles (MS) re                               Rick Polhemus/Falsity, F, R, H, P, K     Business records
  272                       MS_TESLA0000903        “whole thing is in its infancy”                                                     Scienter                                 exception

            8/9/2010        MS_TESLA00000954       Email from Robert Lariviere to Rick Polhemus - Re: quick    Polhemus / Foundation   Rick Polhemus/Falsity, F                 Waiver. Defendants
                                                   update on Tesla                                                                     Scienter                                 include this exhibit
  273                                                                                                                                                                           on their exhibit list.


            8/10/2018       MS_TESLA0000732-33     Email from William Dotson to Rick Polhemus - Re: Catch up   Polhemus / Foundation                                                                     F, K, H       FRE 803(3); business
  274                                                                                                                                                                                                                  records exception

            8/10/2018       MS_TESLA0000489        Email from Rick Polhemus to Leslie Bazos - RE: Email from   Polhemus / Foundation                                                                     F, K, H, R,   FRE 803(3); business
  275                                              James to Elon musk                                                                                                                                                  records exception

            8/14/2018       MS_TESLA0000116        Email from Elon Musk to James Gorman - Re:                  E. Musk / Foundation,   Rick Polhemus, Elon      F               Waiver. Defendants
                                                                                                               Falsity, Scienter       Musk/Falsity, Scienter                   include this exhibit
  276                                                                                                                                                                           on their exhibit list.




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Trial Ex.                                                                                                            Witness(es) and Purpose Witness(es) and             Defendants      to Objections        Plaintiffs           Response to
  No.                                                                                                                at Trial                Purpose at Trial                                                                      Objections

            8/12/2018       MS_TESLA0000800-02       Email from Franck Petitgas to Rick Polhemus - Re: Tesla         Polhemus / Foundation,                                                                       F, K, H, R,      Not offered for
                                                     update                                                          Falsity, Scienter,                                                                                            truth; business
  277                                                                                                                Reliance, Causation                                                                                           records exception;
                                                                                                                                                                                                                                   FRE 803(3)
            8/13/2018       MS_TESLA0000593-96       Email from Brian Healy to Rick Polhemus - RE: Tesla update      Polhemus / Foundation, Rick Polhemus/Falsity, F                     Waiver. Defendants
                                                                                                                     Falsity, Scienter,     Scienter                                     include this exhibit
  278                                                                                                                Reliance, Causation                                                 on their exhibit list.


            8/13/2018       MS_TESLA0000966-67       Email from Rick Polhemus to Regina Savage - RE: Tesla           Polhemus / Foundation, Rick Polhemus/Falsity, F, H, K, R, P         Waiver. Defendants
                                                     rumors                                                          Falsity, Scienter      Scienter, Materiality                        include this exhibit
  279                                                                                                                                                                                    on their exhibit list.


            8/13/2018       MS_TESLA0001271-         Email reply from Regina Savage (MS) to Rick Polhemus (MS)                                  Rick Polhemus/Falsity, F, R, H, P, K     Business records
  280                       MS_TESLA0001273          re blog post                                                                               Scienter                                 exception

            8/15/2018       MS_TESLA0000619          Email from Mike Wyatt to Rick Polhemus - RE: Tesla -            Polhemus, E. Musk /        Rick Polhemus/Falsity, F                 Waiver. Defendants
                                                     Confidential                                                    Foundation                 Scienter                                 include this exhibit
  281                                                                                                                                                                                    on their exhibit list.


            8/15/2018       MS_TESLA0001330          Briefing Memo: Tesla/Elon Musk - Telephone call between     Polhemus, E. Musk /            Rick Polhemus/Falsity, F                 Waiver. Defendants
                                                     James, Mark and Elon to discuss Elon's proposed transaction Foundation                     Scienter                                 include this exhibit
  282                                                of taking Tesla Private                                                                                                             on their exhibit list.


            8/16/2018       MS_TESLA0000477-78       Email from William Dotson to Rick Polhemus - Re: Tesla -        Polhemus, Teller /         Rick Polhemus/Falsity, F                 Waiver. Defendants
                                                     update call with Sam                                            Foundation                 Scienter                                 include this exhibit
  283                                                                                                                                                                                    on their exhibit list.


            8/20/2018       MS_TESLA0000681          Email from Rick Polhemus to Franck Petitgas - RE: Tesla   Polhemus/ Falsity                Rick Polhemus/Falsity, F, K, H           Waiver. Defendants
                                                     Whipsaws Investors on Doubts Musk Has Funds to Go Private                                  Scienter                                 include this exhibit
  284                                                                                                                                                                                    on their exhibit list.


            8/20/2018                                Bloomberg article: "Tesla Whipsaws Investors on Doubts                                     Rick Polhemus, Elon      A, F, H, K, R   Not offered for
                                                     Musk Has Funds to Go Private"                                                              Musk, Dave Arnold,                       truth/effect on
  285                                                                                                                                           Martin Viecha/Falsity,                   listener
                                                                                                                                                Scienter

            8/26/2018       MS_TESLA0000445-         Email from Rick Polhemus to MS team re pencils go down.                                    Rick Polhemus/Falsity, F                 Business records
  287                       MS_TESLA0000446                                                                                                     Scienter                                 exception

            8/14/2018       N/A                      Press Release - "Tesla Announces Formation of Special           All Defendants /           Robyn                    F               Waiver. Defendants
                                                     Committee to Evaluate Potential Going Private Transaction"      Foundation, Falsity,       Denholm/Falsity,                         include this exhibit
  289                                                                                                                Scienter                   Scienter                                 on their exhibit list.


            8/20/2018       TESLA_LITTLETON_0001 Email from Mark Gerstein to Linda Rice - FW: Structure              Rice, Denholm, Buss /      Robyn                    F               Waiver. Defendants
                            9958-59              outline                                                             Foundation, Falsity,       Denholm/Falsity,                         include this exhibit
  293                                                                                                                Scienter                   Scienter                                 on their exhibit list.


            8/20/2018       TESLA_LITTLETON_0001 Presentation - "Project Titanium"                                   Rice, Denholm, Buss /      Robyn                    F               Waiver. Defendants
                            9960-65                                                                                  Foundation, Falsity,       Denholm/Falsity,                         include this exhibit
  294                                                                                                                Scienter                   Scienter                                 on their exhibit list.


            Undated         BOARD-BWB_000001         Handwritten Notes                                               Buss / Foundation,                                                                           A, F, K, H, R,   Present sense
  295                                                                                                                Falsity, Scienter                                                                                             impression
            6/12/2018       SPACEX_LITTLETON_000 Email from Kamran Mumtaz to Deepak Ahuja - Reuters,                 Ahuja/ Falsity, Scienter                                                                     F, K, H, R,      Business records
  297                       00133                Tesla short sellers $2 billion in the red for June as shares soar                                                                                                                 exception




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  No.                                                                                                               at Trial                Purpose at Trial                                                                  Objections

            8/7/2018        TESLA_LITTLETON_0001 Email from Dave Arnold to Deepak Ahuja - RE: FT article re:        Arnold, Ahuja, Viecha,   Dave Arnold, Deepak F                       Waiver. Defendants
                            8287                 Saudi Investment in Tesla                                          Teller / Foundation,     Ahuja, Martin                               include this exhibit
  298                                                                                                               Falsity, Scienter,       Viecha/Falsity, Scienter                    on their exhibit list.
                                                                                                                    Reliance, Causation

            8/7/2018        TESLA_LITTLETON_0001    Email from Dave Arnold to Melissa Rocha (Tesla), Re: Media                               Dave Arnold/Falsity,     H, R, F, B, I, P   Business records
  299                       3639                    who have contacted me thus far                                                           Scienter                                    exception
            8/7/2018        TESLA_LITTLETON_0001    Email from Dave Arnold to Erica Chen (Tesla), Re: Coverage                               Dave Arnold/Falsity,     H, R, F, B, I, P   Business records
  300                       3628-13631              on Elon's tweet                                                                          Scienter                                    exception
            8/7/2018        TESLA_LITTLETON_0001    Email from Dave Arnold to Aaron Chew; Minji (Kimberly) Go                                Dave Arnold/Falsity,     H, R, F, B, I, P   Business records
                            8995-18997              (Tesla); Cc: Philip Rothenberg, Re: blog post [includes Draft                            Scienter                                    exception
  301                                               Email from Elon Musk to Tesla employees]

            8/17/2018       TESLA_LITTLETON_0001 Email from Dave Arnold to Martin Viecha - RE: Major                Arnold, Ahuja, Viecha/   Dave Arnold, Deepak F                       Waiver. Defendants
                            8261 -62             investor inquires                                                  Foundation, Falsity,     Ahuja /Falsity, Scienter                    include this exhibit
  302                                                                                                               Scienter                                                             on their exhibit list.


            8/7/2018        TESLA_LITTLETON_0000 Email from Dave Arnold to ExecStaff, Re: Media Coverage:                                    Dave Arnold, Deepak H, R, F, B, I, P        Business records
                            5303-5307            Taking Tesla Private tweets                                                                 Ahuja, Sam                                  exception
  303                                                                                                                                        Teller/Falsity, Scienter

            8/8/2018        TESLA_LITTLETON_0001 Email from Elon Musk to Dave Arnold, Re: Heads up:                                          Dave Arnold, Elon        F, R, H            Business records
  305                       8913-18915           Bloomberg article re Tesla talks with Softbank [Masayoshi                                   Musk/Falsity, Scienter                      exception
                                                 Son] in April 2017
            8/9/2018        TESLA_LITTLETON_0001 Email from Dave Arnold to Elon Musk, Re: Heads up:                                          Dave Arnold, Elon        H, R, F, D         Business records
  306                       8851                 Bloomberg article on SEC inquiry                                                            Musk/Falsity, Scienter                      exception

            8/9/2018        TESLA_LITTLETON_0001 Email from Dave Arnold to Sarah O'Brien; Kamran Mumtaz,                                     Dave Arnold/Falsity,     H, R, F            Business records
  307                       8875                 Re: Is there anything else we need or are missing to be able                                Scienter                                    exception
                                                 to manage this news cycle
            3/10/2018       TESLA_LITTLETON_0001 Email from Todd Maron to Philip Rothenberg - RE: Bloomberg Anrold, Ahuja/Falsity,                                                                                F, K, H     Business records
  308                       5641-42              story on Elon seeking wide pool of investors                 Scienter                                                                                                        exception

            8/10/2018       TESLA_LITTLETON_0001 Email from Sam Teller to Shihana Alazzaz - Fwd: comment            Teller / Foundation      Sam Teller/Falsity,      F                  Waiver. Defendants
                            5996                 please on story we publishing on Saudi fund....                                             Scienter                                    include this exhibit
  309                                                                                                                                                                                    on their exhibit list.


            8/14/2018       TESLA_LITTLETON_0000 Tesla, Tesla Announces Formation of Special Committee to           All Defendants /                                                                              F, K, H     Business records
  312                       9332                 Evaluate Potential Going Private Transaction                       Foundation, Falsity,                                                                                      exception
                                                                                                                    Scienter
            8/15/2018       TESLA_LITTLETON_0002 Tesla, Inc., Minutes of Special Committee of the Board of          Buss, Denholm, Rice /    Robyn                    F                  Waiver. Defendants
                            0174-79              Directors, August 15, 2018                                         Foundation, Falsity,     Denholm/Falsity,                            include this exhibit
  313                       ***CONFIDENTIAL***                                                                      Scienter                 Scienter                                    on their exhibit list.


            8/16/2018                            Tesla, Inc., Minutes of Special Committee of the Board of          Buss, Denholm, Rice /    Robyn                    F                  Waiver. Defendants
                            TESLA_LITTLETON_0002 Directors, August 16, 2018                                         Foundation, Falsity,     Denholm/Falsity,                            include this exhibit
  314                       0147-49                                                                                 Scienter                 Scienter                                    on their exhibit list.
                            ***CONFIDENTIAL***

            8/17/2018       TESLA_LITTLETON_0002 Tesla, Inc., Minutes of Special Committee of the Board of          Buss, Denholm, Rice /    Robyn                    F                  Waiver. Defendants
                            0150                 Directors, August 17, 2018                                         Foundation, Falsity,     Denholm/Falsity,                            include this exhibit
  315                       ***CONFIDENTIAL***                                                                      Scienter                 Scienter                                    on their exhibit list.


            8/18/2018       TESLA_LITTLETON_0002 Tesla , Inc., Minutes of Special Committee of the Board of         Buss, Denholm, Rice /    Robyn                    F                  Waiver. Defendants
                            0151-73              Directors                                                          Foundation, Falsity,     Denholm/Falsity,                            include this exhibit
  316                       ***CONFIDENTIAL***                                                                      Scienter                 Scienter                                    on their exhibit list.


            8/21/2018       TESLA_LITTLETON_0002 Tesla, Inc., Minutes of Special Committee of the Board of          Buss, Denholm, Rice /    Robyn                    F                  Waiver. Defendants
                            0181***CONFIDENTIAL Directors, August 21, 2018                                          Foundation, Falsity,     Denholm/Falsity,                            include this exhibit
  317                       ***                                                                                     Scienter                 Scienter                                    on their exhibit list.




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  No.                                                                                                             at Trial                Purpose at Trial                                                                  Objections

            5/20/2010       TESLA_LITTLETON_0000 Tesla Motors, Inc. Disclosure Controls and Procedures, dated Director Defendants/         Robyn Denholm,          F                   Waiver. Defendants
                            6293-17              5/20/10 Bates                                                Foundation                   Antonio Gracias, Elon                       include this exhibit
  318                                                                                                                                      Musk, Deepak                                on their exhibit list.
                                                                                                                                           Ahuja/Falsity, Scienter

            6/7/2017                               Forbes article: "Lucy In The Sky With Ambien: Tesla's Elon                              Elon Musk/Falisty,       A, F, H, K, R      Not offered for
  319                                              Musk At New Highs"                                                                      Scienter                                    truth/effect on
                                                                                                                                                                                       listener
            7/15/2018                              Elon Musk's Tweet re Pedo Guy                                                           Elon Musk/Falisty,       F, R, P            Not offered for
  321                                                                                                                                      Scienter                                    truth/effect on
                                                                                                                                                                                       listener
            8/7/2018        N/A                    Financial Times Article - "Saudi Arabia's sovereign fund       All witnesses /                                                                               F, K, H     Not offered for
  322                                              builds $2 billion Tesla stake."                                Foundation, Falsity,                                                                                      truth/effect on
                                                                                                                  Scienter                                                                                                  listener
            5/4/2018                               Elon Musk's Tweet re Short burn of the century                                          Elon Musk/Falisty,       F, R, P            Not offered for
  324                                                                                                                                      Scienter                                    truth/effect on
                                                                                                                                                                                       listener
            6/17/2018       N/A                    Tweets dated June 17, 2018                                     All witnesses /          Elon Musk/Falisty,       F, R, P            Waiver. Defendants
                                                                                                                  Foundation, Falsity,     Scienter                                    include this exhibit
  325                                                                                                             Scienter                                                             on their exhibit list.


            7/5/2018        N/A                    Tweets dated July 5, 2018                                      All witnesses /          Elon Musk/Falisty,       F, R, P            Waiver. Defendants
                                                                                                                  Foundation, Falsity,     Scienter                                    include this exhibit
  326                                                                                                             Scienter                                                             on their exhibit list.


            8/2/2018                               WSJ article: For Tesla's Elon Musk, Twitter Is Sword Against                            Michael J.            A, F, H, K, R, P      Not offered for
  327                                              Short Sellers                                                                           Hartzmark/Materiality                       truth/effect on
                                                                                                                                                                                       listener
            8/1/2018        BARON_00000053       Email from Ron Baron (Baron Funds) to Elon Musk re                                         Elon Musk/Falsity,     H, F, P             Business records
  328                                            earnings conference call                                                                   Scienter                                   exception
            8/1/2018        BARON_00000029       Email from Rob Baron (Baron Funds) to Elon Musk re short                                   Elon Musk/Falsity,     H, F, P             Business records
  329                                            sellers                                                                                    Scienter                                   exception
            8/2/2018 -      TESLA_LITTLETON_0002 Todd Maron text messages                                         E. Musk, K. Musk. Teller, Elon Musk, Dave        F                   Waiver. Defendants
            8/7/2018        0197                                                                                  Ahuja, Denholm, Viecha, Arnold/Falsity, Scienter                     include this exhibit
  331                                                                                                             Murdoch / Foundation                                                 on their exhibit list.


            8/12/2018       N/A                    Bloomberg Article - "Saudi Fund in Talks to Invest in Tesla    All witnesses /          Elon Musk, Dave       F                     Waiver. Defendants
                                                   Buyout Deal"                                                   Foundation, Falsity,     Arnold, Deepak Ahuja,                       include this exhibit
  332                                                                                                             Scienter                 Sam Teller/Falsity,                         on their exhibit list.
                                                                                                                                           Scienter

            8/10/2018       TESLA_LITTLETON_0000 Mututal Non-Disclosure Agreement (NDA) between Tesla             E. Musk, Al-Rumayyan /   Elon Musk, Sam           F                  Waiver. Defendants
                            5310 -13             and Public Investment Fund (PIF)                                 Foundation, Falsity,     Teller/Falsity, Scienter                    include this exhibit
  333                                                                                                             Scienter                                                             on their exhibit list.


            8/8/2018        TESLA_LITTLETON_0000 Email response from Elon Musk to Juleanna Glover (Ridgely                                 Elon Musk /Falsity,      H, F, P            Business records
  334                       5551                 Walsh) re shorts                                                                          Scienter                                    exception
            8/14/2018       SEC-EPROD-000005623 Email from Dan Dees to Elon Musk - RE: UBS wealth                 Dees, E. Musk /          Elon Musk, Dan           F                  Waiver. Defendants
                                                 management                                                       Foundation, Falsity,     Dees/Falsity, Scienter                      include this exhibit
  336                                                                                                             Scienter                                                             on their exhibit list.


            8/7/2018        TESLA_LITTLETON_0001 Email from Deepak Ahuja to Elon Musk and Todd Maron re                                    Deepak Ahuja, Elon      H, F, P             Business records
  337                       9605                 funding secured                                                                           Musk /Falsity, Scienter                     exception

            8/11/2018                              Reuters article: EXCLUSIVE Saudi Arabia's PIF has shown no                              Elon Musk, Dave          A, F, H, K, R      Waiver. Defendants
                                                   interest in bankrolling Tesla buyout                                                    Arnold, Sam                                 include this exhibit
  338                                                                                                                                      Teller/Falsity, Scienter                    on their exhibit list.


            8/13/2018       TESLA_LITTLETON_0001 Email from Dave Arnold to Erica Chen Re: Coverage on                                      Dave Arnold/Falsity,     H, R, F, B, I, P   Business records
  339                       3913-13915           privatization blog post                                                                   Scienter                                    exception



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  No.                                                                                                               at Trial                Purpose at Trial                                                                    Objections

            8/13/2018       TESLA_LITTLETON_0001 Email from Dave Arnold to Phillip Rothenberg; Todd Maron;                                   Dave Arnold, Martin     F, H, R, P       Business records
                            9019-19020           Martin Viecha; Deepak Ahuja Re NYT on Going Private Blog                                    Viecha, Deepak                           exception
  342                                                                                                                                        Ahuja/Falsity, Scienter

            8/14/2018                               New York Times article: Elon Musk's Effort to Take Tesla                                 Elon Musk, Antonio    A, F, H, K, R      Not offered for
                                                    Private to Get Board Oversight                                                           Gracias, Robyn                           truth/effect on
  344                                                                                                                                        Denholm /Falisty,                        listener
                                                                                                                                             Scienter
            6/7/2017                                CNET article: Elon Musk's strange, strange Ambien tweet                                  Elon Musk, Dave       A, F, H, K, R      Not offered for
                                                                                                                                             Arnold, Deepak Ahuja,                    truth/effect on
                                                                                                                                             Sam Teller, Robyn                        listener
  348                                                                                                                                        Denholm, Antonio
                                                                                                                                             Gracias/Falisty,
                                                                                                                                             Scienter

            8/19/2018       TESLA_LITTLETON_0001 Email from Dave Arnold to Emily Stewart (Vox) Re: Media                                     Dave Arnold/Falisty,  F, R, K, H, P      Business records
  351                       1150-11154           inquiry -- Explainer on Tesla going private                                                 Scienter                                 exception
            8/19/2018                            Vox article: Elon Musk's plan to own investors betting                                      Elon Musk, Dave       A, F, H, K, R      Not offered for
                                                 against Tesla is backfiring                                                                 Arnold, Deepak Ahuja,                    truth/effect on
                                                                                                                                             Sam Teller, Robyn                        listener
  352                                                                                                                                        Denholm, Antonio
                                                                                                                                             Gracias/Falisty,
                                                                                                                                             Scienter

            8/20/2018       TESLA_LITTLETON_0001    Dave Arnold notes to himself Re: stuff                                                   Dave Arnold/Falsity,     R, I, F, P,     F.R.E. 803(5)
  353                       0663                                                                                                             Scienter                 Privileged
            8/21/2018       TESLA_LITTLETON_0001    Email from Dave Arnold to Sarah O'Brien forwarding Elon's                                Dave Arnold/Falsity,     H, P, I, B      Business records
  354                       0507-10508              email Re: Elon Musk deleted Instagram account                                            Scienter                                 exception
            8/22/2018       TESLA_LITTLETON_0001    Email from Dave Arnold to Dave Arnold - JB Interview w/         Arnold/ Foundation,                                                                        F, K, H          Business records
  356                       0403-04                 Gelles                                                          Falsity, Scienter                                                                                           exception
            8/26/2018       TESLA_LITTLETON_0001    Email from Elon Musk to Dana Hull (Bloomberg) re Musk's                                  Elon Musk/Falisty,       F               Business records
  358                       9182-19185              Brazen Gambit Collapsed as Investor Support Withered                                     Scienter                                 exception

            8/24/2018       TESLA_LITTLETON_0001 Email from Sam Teller to Sarah·O'Brien                             Teller, E. Musk, Arnold / Elon Musk, Dave         F               Waiver. Defendants
                            9432                 - Re: This statement in your article is false                      Foundation, Falsity,      Arnold /Falisty,                        include this exhibit
  359                                                                                                               Scienter                  Scienter                                on their exhibit list.


            11/8/2021                               Expert Report of Professor Guhan Subramanian of November                                 Guham                    H               F.R.E. 702, 703                                              1/20/23 (P, pg. 48-54)
  360                                               8, 2021                                                                                  Subramanian/Falsity,
                                                                                                                                             Scienter
            8/13/2018       N/A                     Elon Musk tweet, August 13, 2018, "I'm excited to work with All witnesses /              Elon Musk/Falsity,       F               Waiver. Defendants
                                                    Silver Lake and Goldman Sachs as financial advisors, plus ... as Foundation, Falsity,    Scienter                                 include this exhibit
  361                                               legal advisors, on the proposal to take Tesla private."          Scienter                                                         on their exhibit list.


            Undated         N/A                     MBO database spreadsheet                                        Subramanian/ Expert      Guham                    F, H            Waiver. Defendants
                                                                                                                    Reliance                 Subramanian/Falsity,                     include this exhibit
  362                                                                                                                                        Scienter                                 on their exhibit list.


            7/24/2015       None                    Rebuttal Report of Professor Guhan Subramanian of July 24,
  363                                               2015
            12/14/2017      N/A                     Dell Inc. v. Magnetar Global Event Driven Master Fund et al. Subramanian/ Expert                                                                           A, F, K, H, R,   Not offered for
  364                                                                                                            Reliance                                                                                                       truth/effect on
                                                                                                                                                                                                                                listener
            10/9/2016       N/A                     The Management Buyout of Dell, Inc - Harvard Business           Subramanian/ Expert      Guham                    F, H            Waiver. Defendants
                                                    School - Guhan Subramanian                                      Reliance                 Subramanian/Falsity,                     include this exhibit
  365                                                                                                                                        Scienter                                 on their exhibit list.


            12/8/2021                               Rebuttal Report of Professor Guhan Subramanian of                                        Guham                    F, H            F.R.E. 702, 703
  366                                               December 8, 2021                                                                         Subramanian/Falsity,
                                                                                                                                             Scienter




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            11/8/2021                      Expert Report of Steve Heston of November 8, 2021                                      Steven                 F, H            F.R.E. 702, 703
                                                                                                                                  Heston/Materiality,
  368                                                                                                                             Reliance, Loss
                                                                                                                                  Causation, Damages
            3/5/2022                       Supplemental Expert Report of Steve Heston of March 5,                                 Steven                 F, H            F.R.E. 702, 703
                                           2022                                                                                   Heston/Materiality,
  369                                                                                                                             Reliance, Loss
                                                                                                                                  Causation, Damages
            12/8/2021                      Expert Rebuttal Report of Professor Amit Seru of December                              Amit Seru/Materiality, F, H            F.R.E. 702, 703
                                           8, 2021                                                                                Reliance, Loss
  370                                                                                                                             Causation, Damages

            2008            N/A            Closed Form Option Pricing Formulas with Extreme Events,       Heston/ Damages, Expert Steven                 A, F, H, K, R   Waiver. Defendants
                                           authored by Antonio Camara and Stephen L. Heston               Reliance                Heston/Materiality,                    include this exhibit
  371                                                                                                                             Reliance, Loss                         on their exhibit list.
                                                                                                                                  Causation, Damages

            Apr-04          N/A            Ajay Subramanian, Option Pricing on Stocks in Mergers and      Heston/ Damages, Expert Steven                 A, F, H, K, R   Waiver. Defendants
                                           Acquisitions, The Journal of Finance, Vol. LIX, No. 2 (April   Reliance                Heston/Materiality,                    include this exhibit
  372                                      2004)                                                                                  Reliance, Loss                         on their exhibit list.
                                                                                                                                  Causation, Damages

            12/1/2020       N/A            C. Alan Bester, Victor H. Martinez, and Ioanid Rosu, Option    Heston/ Damages, Expert Steven                 A, F, H, K, R   Waiver. Defendants
                                           Prices and the Probability of Success of Cash Mergers,         Reliance                Heston/Materiality,                    include this exhibit
  373                                      Journal of Financial Econometrics, Oxford University Press,                            Reliance, Loss                         on their exhibit list.
                                           2021, 1-42                                                                             Causation, Damages

            Undated         N/A            Appendix 8 to Professor Hartzmark report (Excel File)          Heston/ Damages, Expert Michael L.             F, H            Waiver. Defendants
                                                                                                          Reliance                Hartzmark/Materiality,                 include this exhibit
  374                                                                                                                             Reliance, Loss                         on their exhibit list.
                                                                                                                                  Causation, Damages

            11/10/2021                     Expert Damages Report of Michael L. Hartzmark of                                       Michael L.             F, H            F.R.E. 702, 703
                                           November 10, 2021                                                                      Hartzmark/Materiality,
  375                                                                                                                             Reliance, Loss
                                                                                                                                  Causation, Damages
            3/10/2022       N/A            Presentation - "Hearing re Plaintiff's Motion for Partial      Hartzmark/ Causation,                                                                   A, F, K, H   Not offered for
                                           Summary Judgment"                                              Damages, Expert                                                                                      truth/effect on
  377                                                                                                     Reliance                                                                                             listener; party
                                                                                                                                                                                                               opponent statement

            11/8/2021                      Expert Report of Daniel Fischel of November 8, 2021                                    Daniel                 F, H            F.R.E. 702, 703
                                                                                                                                  Fischel/Materiality,
  378                                                                                                                             Reliance, Loss
                                                                                                                                  Causation, Damages
            Undated         N/A            Handwritten Calculations of Michael Hartzmark                  Hartzmark/ Causation,   Michael L.             F, H            Waiver. Defendants
                                                                                                          Damages, Expert         Hartzmark/Materiality,                 include this exhibit
  379                                                                                                     Reliance                Reliance, Loss                         on their exhibit list.
                                                                                                                                  Causation, Damages

            Mar-22          N/A            Professor Heston's Figures 1-4 within Bid-Ask Bounds           Seru/ Damages, Expert   Michael L.             F, H            Waiver. Defendants
                                                                                                          Reliance                Hartzmark/Materiality,                 include this exhibit
  380                                                                                                                             Reliance, Loss                         on their exhibit list.
                                                                                                                                  Causation, Damages

            Mar-22          N/A            Hartzmark Estimates of Inflation on August 7, 2018             Seru/ Damages, Expert   Michael L.             F, H            Waiver. Defendants
                                                                                                          Reliance                Hartzmark/Materiality,                 include this exhibit
  381                                                                                                                             Reliance, Loss                         on their exhibit list.
                                                                                                                                  Causation, Damages

            Mar-22          N/A            TSLA - Tesla Call Option Implied Volatility                    Seru/ Damages, Expert   Amit Seru/Materiality, F, H            Waiver. Defendants
                                                                                                          Reliance                Reliance, Loss                         include this exhibit
  382                                                                                                                             Causation, Damages                     on their exhibit list.




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            11/8/2021                      Expert Report of Professor Joshua Mitts of November 8, 2021                          Joshua                 F, H            F.R.E. 702, 703
                                                                                                                                Mitts/Materiality,
  383                                                                                                                           Reliance, Loss
                                                                                                                                Causation, Damages
            N/A             N/A            TSLAQ Wikipedia                                               Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  384                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            N/A             N/A            FUD Wikipedia                                                 Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  385                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            6/17/2019       N/A            Tweet - @TeslaCharts FUD                                      Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  386                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            11/19/2018      N/A            Tweet - @Elmer FUD                                            Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  387                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            6/14/2019       N/A            Tweet - @RoboBobo FUD                                         Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  388                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            7/9/2019        N/A            Tweet - @Ben K FUD                                            Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  389                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/16/2018       N/A            Tweet with attachments - @Luis Carruthers                     Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  390                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/2/2018        N/A            Tweet with attachments - @BenShooter                          Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  391                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/9/2018        N/A            Tweet with attachments - @bonairevolt                         Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  392                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            11/30/2018      N/A            Tweet with attachments - @cloisterres                         Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  393                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/14/2018       N/A            Tweet with attachments - @PlugInFUD                           Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  394                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/17/2018       N/A            Tweet with attachments - @ContrarianShort                     Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  395                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/11/2018       N/A            Tweet with attachments - @crayonresearch                      Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  396                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            6/17/2018       N/A            Tweet with attachments - @dapstats                            Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  397                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/15/2018       N/A            Tweet with attachments - @FistEnergy                          Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  398                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/15/2018       N/A            Tweet with attachments - @JervisCapital                       Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  399                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/12/2018       N/A            Tweet with attachments - @LucasErratus                        Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  400                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/17/2018       N/A            Tweet with attachments - @Teslemmings                         Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  401                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/10/2018       N/A            Tweet with attachments - @ruskitrader                         Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  402                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/15/2018       N/A            Tweet with attachments - @TXBoater                            Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  403                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener
            8/13/2018       N/A            Tweet with attachments - @ValueDissenter                      Mitts/ Reliance,                                                                  A, F, K, H, R,   Not offered for
  404                                                                                                    Causation, Damages,                                                                                truth/effect on
                                                                                                         Expert Reliance                                                                                    listener

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Trial Ex.                                                                                                    Witness(es) and Purpose Witness(es) and       Defendants      to Objections        Plaintiffs           Response to
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            8/15/2018          N/A            Tweet with attachments - @witwwos                              Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  405                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            8/9/2018           N/A            Tweet with attachments - @NegDiscountRt                        Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  406                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            8/5/2018           N/A            Tweet with attachments - @Nate Itkin                           Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  407                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            8/10/2018          N/A            Tweet with attachments - @Mark Johnston                        Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  408                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            8/10/2018          N/A            Tweet with attachments - @Polixenes13                          Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  409                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            8/16/2018          N/A            Tweet with attachments - @ElonBachman                          Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  410                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            8/16/2018          N/A            Tweet with attachments - @TESLAcharts                          Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  411                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            7/24/2018          N/A            Tweet with attachments - @Yeomen23                             Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  412                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            Various            N/A            Collection of Tweets                                           Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  413                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            8/17/2018          N/A            S3 Research Article - "S3 Analytics: No Tesla Short Squeeze,   Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  414                                         Shorts up $1.2 billion since 'The Tweet' "                     Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            11/13/2018         N/A            Mitts Short and Distort Blog                                   Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  415                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            Faculty Publication N/A           Mitts Short and Distort Article                                Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  416       2020                                                                                             Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            9/12/2018          N/A            Mitts Data - Driven Defense Against Short and Distort          Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  417                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            3/19/2022          N/A            WSJ Article - "Carson Block's Latest Short Target is a         Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  418                                         Columbia Law Professor"                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            2/18/2020          N/A            Mitts Petition for Rulemaking on Short and Distort             Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  419                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            7/23/2018          N/A            Shorty Seller Logos                                            Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  420                                                                                                        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            4/8/2019           N/A            LA Times Article - "Must Reads: The crowd-sourced, social      Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  421                                         media swarm that is betting Tesla will crash and burn."        Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            2/1/2019           N/A             CNBC Article - "Anonymous Tesla short sellers who fly over    Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
  422                                         its parking lots taking pictures of cars have a new website"   Causation, Damages,                                                                                     truth/effect on
                                                                                                             Expert Reliance                                                                                         listener
            12/8/2021                         Rebuttal Expert Report of Daniel Fischel of December 8, 2021                          Daniel                 F, H            F.R.E. 702, 703
                                                                                                                                    Fischel/Materiality,
  423                                                                                                                               Reliance, Loss
                                                                                                                                    Causation, Damages
            8/1/2017           N/A            San Jose Mercury News Article - "Musk Hints He's Bipolar but Fischel/ Foundation,     Joshua Mitts. Michael A, F, H, K, R    Waiver. Defendants
                                              Says No Diagnosis."                                          Falsity                  Hartzmark/Materiality,                 include this exhibit
  424                                                                                                                               Reliance, Loss                         on their exhibit list.
                                                                                                                                    Causation, Damages




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Trial Ex.                                                                                                          Witness(es) and Purpose Witness(es) and        Defendants      to Objections        Plaintiffs        Response to
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            1/14/2018       N/A                     Sunday Independent Arfticle - "The Architect of Tomorrrow" Fischel/ Foundation,        Joshua Mitts. Michael A, F, H, K, R    Waiver. Defendants
                                                                                                               Falsity                     Hartzmark/Materiality,                 include this exhibit
  425                                                                                                                                      Reliance, Loss                         on their exhibit list.
                                                                                                                                           Causation, Damages

            8/15/2018       N/A                     NYT Article - " A Question for Tesla's Board: What was Elon    Fischel/ Falsity        Joshua Mitts. Michael A, F, H, K, R    Waiver. Defendants
                                                    Musk's Mental State"                                                                   Hartzmark/Materiality,                 include this exhibit
  426                                                                                                                                      Reliance, Loss                         on their exhibit list.
                                                                                                                                           Causation, Damages

            8/17/2018       N/A                     CBS News Article - "Why Elon Musk's Plan to Take Tesla         Fischel/ Falsity        Joshua Mitts. Michael A, F, H, K, R    Waiver. Defendants
                                                    Private is Likely to Faily"                                                            Hartzmark/Materiality,                 include this exhibit
  427                                                                                                                                      Reliance, Loss                         on their exhibit list.
                                                                                                                                           Causation, Damages

            8/15/2007                               Report of Daniel Fischel of August 15, 2007, submitted in                              Joshua Mitts. Michael H                F.R.E. 702, 703
                                                    Lawrence E. Jaffe Pension Plan vs. Household International,                            Hartzmark/Materiality,
  428                                               Inc., filed on January 30, 2009                                                        Reliance, Loss
                                                                                                                                           Causation, Damages

            8/13/2018       N/A                     Morningstar Analyst Note - "Tesla Buyout Looks Likely to Us, Fischel/ Falsity          Joshua Mitts. Michael A, F, H, K, R    Waiver. Defendants
                                                    but Timing and Structure Uncertain"                                                    Hartzmark/Materiality,                 include this exhibit
  429                                                                                                                                      Reliance, Loss                         on their exhibit list.
                                                                                                                                           Causation, Damages

            7/7/2017        LITTLETON_00005007-     Email from Robert Morse to Glen Littleton - RE: Thanks for     Littleton/Foundation,                                                                   F, K, H, R,   Party opponent    1/18/2023
  430                       08                      your help this week                                            Reliance                                                                                              statement
            11/4/2021       N/A                     Plaintiff's Responses to Defendants' First set of              Littleton/Reliance,                                                                     F, K, H       Party opponent
  431                                               Interrogatories                                                Causation, Damages                                                                                    statement
            8/7/2018        LITTLETON_00005077-     Email from Robert Morse to Glen Littleton - Re: Tesla          Littleton/Reliance,                                                                     F, K, H       Party opponent    1/18/2023
  432                       79                                                                                     Causation, Damages                                                                                    statement
            10/9/2018       N/A                     Declaration of Adam C. McCall                                  Littleton/Reliance,                                                                     F, K, H       Party opponent    1/18/2023       pages 15-23
  433                                                                                                              Causation, Damages                                                                                    statement
            9/18/2018       LITTLETON_00004747      Email from Glen Littleton to Bob Morse - Tesla                 Littleton/Foundation                                                                    F, K, H, R,   Party opponent
  434                                                                                                                                                                                                                    statement
            9/19/2018       N/A                     Bloomberg Article "Tesla Is Said to Face U.S. Criminal Probe   Littleton/Foundation                                                                    F, K, H       Not offered for
  435                                               Over Musk Statements"                                                                                                                                                truth/effect on
                                                                                                                                                                                                                         listener
            9/26/2018       LITTLETON_00004745      Email from Robert Morse to Glen Littleton - RE: TELSLA-lead    Littleton/Foundation                                                                    F, K, H       Party opponent
  436                                               plaintiff                                                                                                                                                            statement
            10/11/2018      LITTLETON_00001624-     Email from Kayla Guck to Glenn Littleton - RE: Address for     Littleton/Foundation                                                                    F, K, H, R,   Party opponent
  437                       26                      Check                                                                                                                                                                statement
            2/9/2018        LITTLETON_00004815      Email from Glenn Littleton to Robert Morse - Re: Wire       Littleton/ Foundation,                                                                     F, K, H, R,   Party opponent
  438                                                                                                           Reliance, Causation                                                                                      statement
            8/2/2018        LITTLETON_00004796 Email from Glenn Littleton to Christopher Grap - Tesla Service Littleton/ Foundation,                                                                       F, K, H, R,   Party opponent
  439                                                                                                           Reliance, Causation                                                                                      statement
            12/26/2018      LITTLETON_0000445-48 Email from Robert Morse to Glen Littleton - Re: Wedbush        Littleton/ Foundation,                                                                     F, K, H, R,   Party opponent
  440                                            Morning Call - STML TSLA Best Ideas List                       Reliance, Causation,                                                                                     statement
                                                                                                                Damages
            9/16/2018       LITTLETON_00004443 Email from Robert Morse to Glen Littleton - RE: Account          Littleton/ Foundation,                                                                     F, K, H, R,   Party opponent
  441                                                                                                           Reliance, Causation,                                                                                     statement
                                                                                                                Damages
            8/9/2018        PLAINTIFF_00002627- Email from Fidelity to Tim Fries - Tesla Trade Confirmation
  445                       2628
            4/12/2017       PLAINTIFF_00002536   Email from Anjali Puri to Tim Fries - Re: The Washington Post:
  453                                            Tesla's 'crazy' climb to America's most valuable car company

            8/7/2018        TESLA_LITTLETON_0001 Minutes of a Special Meeting of the Board of Directors of                                 Antonio Gracias, Robyn F, D            Business records
                            2792-12793           Tesla, Inc. August 7, 2018, TESLA_LITTLETON_00012792-93                                   Denhom, Elon Musk,                     exception
  500                                                                                                                                      Deepak Ahuja/Falsity,
                                                                                                                                           Scienter

            8/9/2018        TESLA_LITTLETON_0001 Email from Dave Arnold to Phiip Rothenberg, Todd Maron,                                   Dave Arnold/Falsity,   F, R, H, P, K   Business records
                            3759                 Sarah O'Brien, and Kamran Mumtaz re: Fortune request for                                  Scienter                               exception
  501                                            comment: Twitter blocking, TESLA_LITTLETON_00013759




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            8/16/2018       TESLA_LITTLETON_0002 Minutes of the Special Committee of the Board of Directors,                           Robyn                    F, D             Business records
  502                       0147-20149           August 16, 2018, TESLA_LITTLETON_00020147-49                                          Denholm/Falsity,                          exception
                                                                                                                                       Scienter
            8/7/2018        TESLA_LITTLETON_0002 Email from Elon Musk to Sarah O'Brien re Draft Email 420,                             Elon Musk, Deepak        F, I             Business records
                            4580-24583           TESLA_LITTLETON_00024580-83                                                           Ahuja, Dave Arnold,                       exception
  503                                                                                                                                  Sam Teller/Falsity,
                                                                                                                                       Scienter
            8/7/2018        TESLA_LITTLETON_0002 Email from Deepak Ahuja to Dave Arnold, Todd Maron, Sarah                             Deepak Ahuja, Dave       F, I, R          Business records
  504                       4600                 O'Brien re blog post, TESLA_LITTLETON_00024600                                        Arnold/Falsity, Scienter                  exception

            8/7/2018        TESLA_LITTLETON_0002 Draft Blog Post August 7, 2018 (attachment to                                         Deepak Ahuja, Dave       F, I             Business records
  505                       4601                 TESLA_LITTLETON_00024600), TESLA_LITTLETON_00024601                                   Arnold/Falsity, Scienter                  exception

            8/7/2018        TESLA_LITTLETON_0002 Email from Todd Maron to Sarah O'Brien, Dave Arnold,                                  Dave Arnold, Deepak F                     Business records
  506                       4604                 August 7, 2018 re Rationale, TESLA_LITTLETON_00024604                                 Ahuja/Falsity, Scienter                   exception

            8/12/2018       TESLA_LITTLETON_0002 Email from Elon Musk to Todd Maron August 12, 2018 re:                                Elon Musk, Deepak        F                Waiver. Defendants
                            4605-24606           Reuters: Saudi Arabia's massive investment fund said to be                            Ahuja, Dave                               include this exhibit
  507                                            uniterested in funding Tesla's idea to go private                                     Arnold/Falsity, Scienter                  on their exhibit list.


            8/11/2018       TESLA_LITTLETON_0002 Email from Elon Musk to Sarah O'Brien, August 11, 2018 re:                            Elon Musk, Deepak         F, I            Waiver. Defendants
                            4607-24614           Blog Post                                                                             Ahuja, Dave Arnold,                       include this exhibit
  508                                                                                                                                  Sam Teller/Falsity,                       on their exhibit list.
                                                                                                                                       Scienter

            8/14/2018       TESLA_LITTLETON_0002 Email from Elon Musk to Dave Arnold, August 14, 2018 re:                              Elon Musk, Dave       F, H, R             Waiver. Defendants
                            4615                 Bloomberg, Goldmand Sachs Had No Mandate When Musk                                    Arnold, Deepak Ahuja,                     include this exhibit
  509                                            Tweeted                                                                               Sam Teller/Falsity,                       on their exhibit list.
                                                                                                                                       Scienter

            8/14/2018       TESLA_LITTLETON_0002 Email from Sam Teller to Todd Maron, August 14, 2018, re:                             Sam Teller/Falsity,       F, H, R         Waiver. Defendants
                            4616                 Proposed tweet from Elon                                                              Scienter                                  include this exhibit
  510                                                                                                                                                                            on their exhibit list.


            8/7/2018        TESLA_LITTLETON_0002 Email from Todd Maron to Philip Rothenberg, Erica Chen,                               Deepak Ahuja, Dave       F, R             Business records
                            4628-24630           Sarah O'Brien, August 7, 2018, Re: Statement from the Board,                          Arnold, Sam                               exception
  511                                            TESLA_LITTLETON_00024628-30                                                           Teller/Falsity, Scienter

            8/9/2018        TESLA_LITTLETON_0002 Email from Deepak Ahuja to Todd Maron, Sarah O'Brien,                                 Deepak Ahuja, Dave       F, R             Business records
                            4665-24674           Felicia Mayo, August 9, 2018, Re: Please Review: Current                              Arnold/Falsity, Scienter                  exception
  512                                            News and Talent, TESLA_LITTLETON_00024665-74

            8/9/2018        TESLA_LITTLETON_0002 Email from Deepak Ahuja to Todd Maron, Nathan Fisher,                                 Deepak Ahuja, Dave       F, R, I          Business records
  513                       4675-24677           Felicia Mayo, Sarah O'Brien, August 9, 2018,                                          Arnold/Falsity, Scienter                  exception
                                                 TESLA_LITTLETON_00024675-77
            8/9/2018        TESLA_LITTLETON_0002 "Tesla Taking Private" Employee FAQ v3 August 8, 2018                                 Deepak Ahuja, Dave       F, I             Business records
  514                       4678-24680           (attachment to TESLA_LITTLETON_00024675),                                             Arnold/Falsity, Scienter                  exception
                                                 TESLA_LITTLETON_00024678-80
            8/9/2018        TESLA_LITTLETON_0002 Email from Felicia Mayo to Deepak Ahuja, Todd Maron, Sarah                            Deepak Ahuja, Dave        F, R            Business records
                            4681-24690           O'Brien, August 9, 2018, Re: Please Review: Current News                              Arnold /Falsity,                          exception
  515                                            and Talent, TESLA_LITTLETON_00024681-90                                               Scienter

            8/8/2018        TESLA_LITTLETON_0002 Email from Dave Arnold to Nathan Fisher and Sarah O'Brien,                            Dave Arnold/Falsity,      F, R            Business records
  516                       4691-24698           August 8, 2018, Re: Please Review: Current News and Talent,                           Scienter                                  exception
                                                 TESLA_LITTLETON_00024691-98
            8/9/2018        TESLA_LITTLETON_0002 Email from Sarah O'Brien to Nathan Fisher, August 9, 2018,                            Deepak Ahuja, Dave        F, R, I         Business records
  517                       4711-24714           Re: Employee FAQ_Taking Tesla Private v.Final.pdf,                                    Arnold /Falsity,                          exception
                                                 TESLA_LITTLETON_00024711-14                                                           Scienter
            8/9/2018        TESLA_LITTLETON_0002 Employee FAQ, "Taking Tesla Private" (attachment to                                   Deepak Ahuja, Dave        F, I            Business records
  518                       4715-24716           TESLA_LITTLETON_00024711-14),                                                         Arnold /Falsity,                          exception
                                                 TESLA_LITTLETON_00024715-16                                                           Scienter
            8/17/2018       TESLA_LITTLETON_0002 Email from Brad Buss to Megan Staub, August 17, 2018, Re:                             Robyn                     F, R, I         Business records
  519                       4722                 Tesla Special Committee - Request for Proposal,                                       Denholm/Falsity,                          exception
                                                 TESLA_LITTLETON_00024722                                                              Scienter



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            8/17/2018       TESLA_LITTLETON_0002 "Specific Matters fro Financial Advisors to Address in                                    Robyn                    F, R, I            Business records
                            4723-00024724        Presentation to the Special Committee" (attachment to                                     Denholm/Falsity,                            exception
  520                                            TESLA_LITTLETON_00024722), TESLA_LITTLETON_00024723                                       Scienter

            8/7/2018                                CNBC Interview Video, Was Elon Musk's tweet market                                     Michael Hartzmark,       A, F, R, H, K, L, P Not offered for
                                                    manipulation? CNBC’s Bob Pisani and Mike Santoli debate                                Guhan                                        truth/effect on
                                                    the legality of Tesla CEO Elon Musk’s tweet about possibly                             Subramanian/Falsity,                         listener
  521                                               taking Tesla private. August 7, 2018,                                                  Scienter
                                                    https://www.cnbc.com/video/2018/08/07/was-elon-musks-
                                                    tweet-market-manipulation-tesla-tsla-stock-elon-musk-
                                                    private-capital-investors-sec.html
            8/7/2018                                CNBC Interview Video, Tesla has its busiest trading day since                          Michael Hartzmark,       A, F, R, H, K, L, P Not offered for
                                                    2014 after Musk tweets he plans to take company. August 7,                             Guhan                                        truth/effect on
  522                                               2018 https://www.cnbc.com/2018/08/07/tesla-has-busiest-                                Subramanian/Falsity,                         listener
                                                    trading-day-since-2014.html                                                            Scienter

            8/20/2018                               CNBC Interview Video, Tesla stock pricing in zero probability                          Michael Hartzmark,       A, F, R, H, K, L, P Not offered for
                                                    of going private. August 20, 2018                                                      Guhan                                        truth/effect on
  523                                               https://www.cnbc.com/video/2018/08/20/tesla-stock-elon-                                Subramanian/Falsity,                         listener
                                                    musk-private-tweet-new-york-times-saudi-sec-lucid.html                                 Scienter

            8/1/2018-       LITTLETON_00000704-     Glen Littleton's Lightspeed Account Statement for August 1,                            Glen Littleton/Damages F                    Waiver. Defendants                                 1/18/2023
            8/31/2018       44                      2018 to August 31, 2018                                                                                                            include this exhibit
  524                                                                                                                                                                                  on their exhibit list.


            8/1/2018-       PLAINTIFF_00002651-70 Tim Fries' Account Statements                                                            Tim Fries/Damages        F                  Witness appearing at                               1/20/23 (P)
  525       9/30/2018                                                                                                                                                                  trial
            8/10/2018       SEC-EPROD-000000998- Email from Elliot Mattingly (Fidelity) to himself including                               Elon Musk/Falsity,       F, R, P            Not offered for
  526                       99                   "Musk call notes" from Aug 10, 2018 call with Elon Musk                                   Scienter                                    truth/effect on
                                                                                                                                                                                       listener
            8/11/2018       SEC-EPROD-000000807- Email from Elliot Mattingly (Fidelity) to FMR (Fidelity) Equity                           Elon Musk/Falsity,       F, H, K, R, P      Not offered for
                            17                   Consumer Research Team Re: Latest TSLA thoughts after a                                   Scienter                                    truth/effect on
  527                                            tumultuous few days (it includes Mattingly highlights from                                                                            listener
                                                 meeting with Tesla IR on Aug 8, 2018 and from Aug 10, 2018
                                                 call with Elon Musk
                                                 Why Elon Musk’s Tesla Should go Private and Why it Won’t?                                 Michael L.               A, F, H, K. R      Not offered for
                                                 (Management Study Guide, Unknown Date)                                                    Hartzmark/Materiality,                      truth/effect on
  528                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            8/7/2018                                @elonmusk, TWITTER (Aug.7, 2018, 3:07 PM),                                             Joshua Mitts, Elon       A, F, H, K, R      Not offered for
                                                    https://twitter.com/elonmusk/status/1026907699760390146                                Musk/Materiality,                           truth/effect on
  529                                               .                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            1/17/2012                               @elonmusk, TWITTER (Jan. 17, 2012, 5:07 PM),                                           Joshua Mitts, Elon       A, F, H, K, R      Not offered for
                                                    https://twitter.com/elonmusk/status/159396536621596672                                 Musk/Materiality,                           truth/effect on
  530                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            1/17/2012                               @elonmusk, TWITTER (Jan. 17, 2012, 8:54 PM),                                           Joshua Mitts, Elon       A, F, H, K, R      Not offered for
                                                    https://twitter.com/elonmusk/status/159453674517692416                                 Musk/Materiality,                           truth/effect on
  531                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            7/26/2018                               @elonmusk, TWITTER (July 26, 2018, 6:35 AM),                                           Joshua Mitts, Elon       A, F, H, K, R      Not offered for
                                                    https://twitter.com/elonmusk/status/1022430321696858113                                Musk/Materiality,                           truth/effect on
  532                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            7/5/2018                                @elonmusk, TWITTER (July 5, 2018, 2:42 PM),                                            Joshua Mitts, Elon       A, F, H, K, R      Not offered for
                                                    https://twitter.com/elonmusk/status/1014942490690969600                                Musk/Materiality,                           truth/effect on
  533                                               .                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            8/27/2018                               Here’s What Analysts Are Saying After Elon Musk’s Latest U-                            Michael L.               A, F, H, K, R, P   Not offered for
                                                    Turn (Bloomberg Quint, 8/27/2018)                                                      Hartzmark/Materiality,                      truth/effect on
  534                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages




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            8/27/2018                               Is Tesla still in play? Jefferies Research Report, 8/27/2018)                          Michael L.               A, F, H, K, R      Not offered for
                                                                                                                                           Hartzmark/Materiality,                      truth/effect on
  535                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            5/4/2018                                @elonmusk, TWITTER (May 4, 2018, 7:35 AM),                                             Joshua Mitts, Elon       A, F, H, K, R      Not offered for
                                                    https://twitter.com/elonmusk/status/992367087761817600                                 Musk/Materiality,                           truth/effect on
  536                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            5/4/2018                                @elonmusk, TWITTER(May 4, 2018, 8:09 PM),                                              Joshua Mitts, Elon       A, F, H, K, R      Not offered for
                                                    https://twitter.com/elonmusk/status/992556974263947264.                                Musk/Materiality,                           truth/effect on
  537                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            5/4/2018                                @elonmusk, TWITTER(May 4, 2018, 9:02 AM),                                              Joshua Mitts, Elon       A, F, H, K, R      Not offered for
                                                    https://twitter.com/elonmusk/status/992388944774938626.                                Musk/Materiality,                           truth/effect on
  538                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            8/26/2018                               What a long strange trip it's been (RBC Capital Research                               Michael L.               A, F, H, K, R      Not offered for
                                                    Report, 8/26/2018)                                                                     Hartzmark/Materiality,                      truth/effect on
  539                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            8/25/2018                               Analysis: Why Elon Musk abandoned his plan to take Tesla                               Michael L.               A, F, H, K, R      Not offered for
                                                    private (Ars Technica, 8/25/2018)                                                      Hartzmark/Materiality,                      truth/effect on
  540                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            7/17/2018                               Casey Quackenbush, Here’s What Happened to Tesla Stock                                 Joshua                   A, F, H, K, R      Not offered for
                                                    After Elon Musk’s Bizarre Attack on Thai Cave Hero,                                    Mitts/Materiality,                          truth/effect on
  541                                               TIME(July 17, 2018), https://time.com/5340621/thailand-                                Reliance, Loss                              listener
                                                    cave-rescue-elon-musk-pedo-shares/                                                     Causation, Damages

            8/25/2018                               Tesla Isn't Going Private After All: What Happens Now?                                 Michael L.             A, F, H, K, R        Not offered for
                                                    (Fool.com, 8/25/2018)                                                                  Hartzmark/Materiality,                      truth/effect on
  542                                                                                                                                      Reliance, Loss                              listener
                                                                                                                                           Causation, Damages
            8/8/2018                                Dave Michaels & Michael Rapoport, SEC Probes Tesla CEO                                 Joshua                 A, F, H, K, R        Waiver. Defendants
                                                    Musk’s Tweets, WALL ST.J.(Aug 8, 2018),                                                Mitts/Materiality,                          include this exhibit
  543                                               https://www.wsj.com/articles/sec-has-made-inquiries-to-                                Reliance, Loss                              on their exhibit list.
                                                    tesla-over-elon-musks-taking-private-tweet-1533757570.                                 Causation, Damages

            3/26/2018                               Sam Pierson, Tesla is heavily shorted across the capital                               Joshua                   A, F, H, K, R      Waiver. Defendants
                                                    structure, IHSMARKIT (Mar. 26, 2018)                                                   Mitts/Materiality,                          include this exhibit
  544                                               https://ihsmarkit.com/research-analysis/tesla-is-heavily-                              Reliance, Loss                              on their exhibit list.
                                                    shorted-across-the-capital-structure.html.                                             Causation, Damages

            8/20/2018       PRIMECAP_0000001-       PrimeCap Morning Note (PrimeCap Research Report,                                       Michael L.             A, F, H, K, R        F.R.E. 703, 902
                            PRIMECAP_000003         8/20/2018)                                                                             Hartzmark/Materiality,
  545                                                                                                                                      Reliance, Loss
                                                                                                                                           Causation, Damages
            1994            TESLA_LITTLETON_0002 Giovanni Barone-Adesi, Brown, Keith C., and W. V. Harlow.                                 Steven L.              A, F, H, K, R        Waiver. Defendants
                            4410-24431           "On the use of Implied Stock Volatilities in the Prediction of                            Heston/Materiality,                         include this exhibit
  546                                            Successful Corporate Takeovers."Advances in Futures and                                   Reliance, Loss                              on their exhibit list.
                                                 Options Research, vol. 7, 1994, pp. 147-165.                                              Causation, Damages

            8/20/2018                               Tesla analysts are casting doubt over Elon Musk plan to go                             Michael L.               A, F, H, K, R      F.R.E. 703, 902
                                                    private (Inverse, 8/20/2018)                                                           Hartzmark/Materiality,
  547                                                                                                                                      Reliance, Loss
                                                                                                                                           Causation, Damages
            8/20/2018                               Tesla stock price slides again amid doubts over Elon Musk's                            Michael L.               A, F, H, K, R      F.R.E. 703, 902
                                                    plans (CBS News, 8/20/2018)                                                            Hartzmark/Materiality,
  548                                                                                                                                      Reliance, Loss
                                                                                                                                           Causation, Damages
            8/14/2018                               Bloomberg, Silver Lake Denies Talking to Tesla: Reuters,                               Guhan                    A, F, H, K, R      Not offered for
  550                                               BLOOMBERG (August 14, 2018)                                                            Subramanian/Falsity,                        truth/effect on
                                                                                                                                           Scienter                                    listener
            7/31/2018                               “4,925 Tweets_Elon Musk’s Twitter Habit, Dissected,” The                               Michael L.               A, F, K, H, R, P   Not offered for
                                                    Wall Street Journal, July 31, 2018, available at                                       Hartzmark/Materiality,                      truth/effect on
  551                                               http://graphics.wsj.com/elon-musk-twitter-habit-analysis/                              Reliance, Loss                              listener
                                                                                                                                           Causation, Damages

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            8/7/2018                       “Musk Makes Startling Proposal to Take Tesla Private,” The                              Michael L.               A, F, K, H      Not offered for
                                           Deal August 7, 2018                                                                     Hartzmark/Materiality,                   truth/effect on
  552                                                                                                                              Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/7/2018                       “Tesla’s Musk Tweets He’s ‘Considering’ Taking Company                                  Michael L.               A, F, K, H      Not offered for
                                           Private – MarketWatch,” Dow Jones Institutional News,                                   Hartzmark/Materiality,                   truth/effect on
  553                                      August 7, 2018, 1:07 p.m.                                                               Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/7/2018                       “Afternoon of Terror for Tesla Shorts Fomented by Musk’s                                Michael L.               A, F, K, H, P   Not offered for
                                           Tweet,” Bloomberg News, August 7, 2018, 1:54 p.m.                                       Hartzmark/Materiality,                   truth/effect on
  554                                                                                                                              Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/7/2018                       “Tesla Inc. (TSLA) Halted due to pending news,” Dow Jones                               Michael L.               A, F, K, H, R   Not offered for
                                           Institutional News, August 7, 2018, 2:08 p.m.                                           Hartzmark/Materiality,                   truth/effect on
  555                                                                                                                              Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/7/2018                       “Tesla Inc. (TSLA) Resumed Trading,” Dow Jones Institutional                            Michael L.               A, F, K, H, R   Not offered for
                                           News, August 7, 2018, 3:45 p.m.                                                         Hartzmark/Materiality,                   truth/effect on
  556                                                                                                                              Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/7/2018                       “Crazy Ride for Tesla Watchers as Musk Tweets: TOPLive                                  Michael L.               A, F, K, H, R   Waiver. Defendants
                                           Takeaways,” Bloomberg First Word, August 7, 2018, 4:25 p.m                              Hartzmark/Materiality,                   include this exhibit
  557                                                                                                                              Reliance, Loss                           on their exhibit list.
                                                                                                                                   Causation, Damages

            8/7/2018                       “Elon Musk Says in Tweet He Is Considering Taking Tesla                                 Michael L.             A, F, K, H, R     Not offered for
                                           Private -- 3rd Update,” Dow Jones Institutional News, August                            Hartzmark/Materiality,                   truth/effect on
  558                                      7, 2018, 4:51 p.m                                                                       Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/7/2018                       “Tesla boss Musk weighs go-private deal for electric car                                Michael L.             A, F, K, H, R     Not offered for
                                           maker,” Agence France Presse, August 7, 2018, 5:01 p.m.                                 Hartzmark/Materiality,                   truth/effect on
  559                                                                                                                              Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/7/2018                       “Is Tesla going private? Elon Musk claims ‘investor support is                          Michael L.             A, F, K, H, R     Not offered for
                                           confirmed’ after tweeting plans to privatize at $420 per                                Hartzmark/Materiality,                   truth/effect on
  560                                      share, in shock announcement that HALTED the stock for                                  Reliance, Loss                           listener
                                           almost two hours,” Mail Online, August 7, 2018, 6:41 p.m.                               Causation, Damages

            8/7/2018                       “Elon Musk ‘considering’ taking Tesla private, trading                                  Michael L.               A, F, K, H, R   Not offered for
                                           resumed,” CNET News.com, August 7, 2018.                                                Hartzmark/Materiality,                   truth/effect on
  561                                                                                                                              Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/8/2018                       “MW UPDATE: JP Morgan raises Tesla price target but stays                               Michael L.               A, F, K, H, R   Not offered for
                                           underweight in case shares trade on fundamentals again,”                                Hartzmark/Materiality,                   truth/effect on
  562                                      MarketWatch, August 8, 2018, 7:58 a.m.                                                  Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/8/2018                       “07:59 EDT Tesla going private ‘feels like the right thing to                           Michael L.               A, F, K, H, R   Not offered for
                                           do,’ says...,” Theflyonthewall.com, August 8, 2018.                                     Hartzmark/Materiality,                   truth/effect on
  563                                                                                                                              Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/20/2018                      Needham analyst warns Tesla’s value is really ‘closer to $200’                          Michael L.               A, F, K, H, R   Not offered for
                                           per share, about 30% lower from here (CNBC, 8/20/2018)                                  Hartzmark/Materiality,                   truth/effect on
  564                                                                                                                              Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/8/2018                       “SEC questions Tesla over Elon Musk’s tweets to take the                                Michael L.               A, F, K, H, R   Not offered for
                                           company private; Regulators said to be inquiring whether                                Hartzmark/Materiality,                   truth/effect on
  565                                      CEO’s claim was factual,” MarketWatch, August 8, 2018, 1:32                             Reliance, Loss                           listener
                                           p.m.                                                                                    Causation, Damages
            8/8/2018                       “Who could fund Elon Musk’s Tesla buyout?,” Financial                                   Michael L.               A, F, K, H, R   Not offered for
                                           Times, August 8, 2018, 1:59 p.m.                                                        Hartzmark/Materiality,                   truth/effect on
  566                                                                                                                              Reliance, Loss                           listener
                                                                                                                                   Causation, Damages
            8/8/2018                       "SEC IS SAID TO BE LOOKING AT WHETHER MUSK                                              Michael L.               A, F, K, H, R   Not offered for
                                           STATEMENT TRUTHFUL: DJ,” Bloomberg News, August 8,                                      Hartzmark/Materiality,                   truth/effect on
  567                                      2018, 3:45 p.m.                                                                         Reliance, Loss                           listener
                                                                                                                                   Causation, Damages



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            8/8/2018                       “SEC Is Said to Have Made Inquiries to Tesla Over Musk                                  Michael L.               A, F, K, H, R      Not offered for
                                           Tweet: DJ,” Bloomberg First Word, August 8, 2018, 3:49 p.m.                             Hartzmark/Materiality,                      truth/effect on
  568                                                                                                                              Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/8/2018                       “SEC Looks Into Musk’s Taking-Tesla-private Tweets: WSJ –                               Michael L.               A, F, K, H, R      Not offered for
                                           MarketWatch,” Dow Jones Institutional News, August 8,                                   Hartzmark/Materiality,                      truth/effect on
  569                                      2018, 4:06 p.m.                                                                         Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/8/2018                       “A couple reasons why Elon Musk could actually pull off his                             Michael L.               A, F, K, H, R      Not offered for
                                           wild plan to take Tesla private (TSLA),” Business Insider,                              Hartzmark/Materiality,                      truth/effect on
  570                                      August 8, 2018, 6:28 p.m.                                                               Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/8/2018                       “SEC Probes Tesla CEO Musk’s Tweets; The regulator is                                   Michael L.               A, F, K, H, R      Not offered for
                                           examining whether Musk’s statement was truthful and why                                 Hartzmark/Materiality,                      truth/effect on
  571                                      the disclosure was made on Twitter,” The Wall Street Journal                            Reliance, Loss                              listener
                                           Online, August 8, 2018, 7:27 p.m.                                                       Causation, Damages
            8/9/2018                       “Tesla Shares Sink as Pressure Mounts on Musk to Show the                               Michael L.               A, F, K, H, R      Not offered for
                                           Money,” Bloomberg News, August 9, 2018, 11:40 a.m.                                      Hartzmark/Materiality,                      truth/effect on
  572                                                                                                                              Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/9/2018                       “SEC reportedly ‘intensifying’ examination of Tesla after Elon                          Michael L.               A, F, K, H, R, P   Not offered for
                                           Musk tweets about taking the company private (TSLA),”                                   Hartzmark/Materiality,                      truth/effect on
  573                                      Business Insider, August 9, 2018, 2:42 p.m.                                             Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/9/2018                       “Tesla tumbles as US stocks end mostly lower,” Agence                                   Michael L.               A, F, K, H, R      Not offered for
                                           France Presse, August 9, 2018, 4:22 p.m.                                                Hartzmark/Materiality,                      truth/effect on
  574                                                                                                                              Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/9/2018                       “EXCLUSIVE-Tesla's board seeking more information on                                    Michael L.               A, F, K, H, R      Not offered for
                                           Musk's financing plan -sources,” Reuters News August 9,                                 Hartzmark/Materiality,                      truth/effect on
  575                                      2018, 5:50 p.m.                                                                         Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/9/2018                       “Exclusive: Tesla’s board seeking more information on                                   Michael L.               A, F, K, H, R      Not offered for
                                           Musk’s financing plan – sources,” Reuters News, August 9,                               Hartzmark/Materiality,                      truth/effect on
  576                                      2018, 8:26 p.m.                                                                         Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/10/2018                      “BUSINESS BEAT; Tesla’s stock surge fizzles; Tumble erases                              Michael L.               A, F, K, H, R      Not offered for
                                           gains triggered by Musk’s tweet on privatizing electric car                             Hartzmark/Materiality,                      truth/effect on
  577                                      maker,” Los Angeles Times, August 10, 2018.                                             Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/10/2018                      “Bloomberg: Tesla seeking ‘wide’ investor pool for go-private                           Michael L.               A, F, K, H, R      Not offered for
                                           plan,” Bloomberg News, August 10, 2018, 3:05 p.m.                                       Hartzmark/Materiality,                      truth/effect on
  578                                                                                                                              Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/20/2018                      Tesla keeps sliding on doubts it has cash to go private                                 Michael L.               A, F, K, H, R      Not offered for
                                           (Detroit News, 8/20/2018)                                                               Hartzmark/Materiality,                      truth/effect on
  579                                                                                                                              Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/20/2018                      Tesla stock jolted as Elon Musk weathers ongoing turmoil                                Michael L.               A, F, K, H, R      Not offered for
                                           (Washington Post, 8/20/2018)                                                            Hartzmark/Materiality,                      truth/effect on
  580                                                                                                                              Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/13/2018                      “Tesla surges after Elon Musk offers details about his                                  Michael L.               A, F, K, H, R      Not offered for
                                           ‘funding secured’ tweet (TSLA),” Business Insider, August 13,                           Hartzmark/Materiality,                      truth/effect on
  581                                      2018, 10:09 a.m.                                                                        Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/13/2018                      “Elon Musk reveals what he meant by his ‘funding secured’                               Michael L.               A, F, K, H, R      Not offered for
                                           tweet (TSLA),” Business Insider, August 13, 2018, 10:45 a.m.                            Hartzmark/Materiality,                      truth/effect on
  582                                                                                                                              Reliance, Loss                              listener
                                                                                                                                   Causation, Damages
            8/13/2018                      “MW UPDATE: Tesla shares swing higher amid confusion                                    Michael L.               A, F, K, H, R      Not offered for
                                           about Musk’s going-private plan,” MarketWatch, August 13,                               Hartzmark/Materiality,                      truth/effect on
  583                                      2018, 5:03 p.m.                                                                         Reliance, Loss                              listener
                                                                                                                                   Causation, Damages




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            8/16/2018                              “Tesla’s Odds of Going Private Less Than 50%, Bernstein                                Michael L.               A, F, K, H, R      Not offered for
                                                   Says,” Bloomberg First Word, August 16, 2018, 7:11 a.m.                                Hartzmark/Materiality,                      truth/effect on
  584                                                                                                                                     Reliance, Loss                              listener
                                                                                                                                          Causation, Damages
            8/16/2018                              “SEC Is Said Asking How Much Musk Shared With Tesla                                    Michael L.               A, F, K, H, R, P   Not offered for
                                                   Directors:WSJ,” Bloomberg First Word, August 16, 2018, 4:19                            Hartzmark/Materiality,                      truth/effect on
  585                                              p.m.                                                                                   Reliance, Loss                              listener
                                                                                                                                          Causation, Damages
            8/17/2018                              “Tesla’s stock falls sharply after Elon Musk’s tearful                                 Michael L.               A, F, K, H, R      Not offered for
                                                   interview,” CNN Wire, August 17, 2018, 11:51 a.m.                                      Hartzmark/Materiality,                      truth/effect on
  586                                                                                                                                     Reliance, Loss                              listener
                                                                                                                                          Causation, Damages
            8/17/2018                              “Tesla stock sinks after Musk gives tearful NYT interview,”                            Michael L.               A, F, K, H, R, D   Not offered for
                                                   Reuters News, August 17, 2018, 4:00 p.m.                                               Hartzmark/Materiality,                      truth/effect on
  587                                                                                                                                     Reliance, Loss                              listener
                                                                                                                                          Causation, Damages
            8/19/2018                              Elon Musk’s (probably serious) proposal to take Tesla private                          Michael L.               A, F, K, H, R      Not offered for
                                                   and the fallout, explained (Vox.com, 8/19/2018)                                        Hartzmark/Materiality,                      truth/effect on
  588                                                                                                                                     Reliance, Loss                              listener
                                                                                                                                          Causation, Damages
            9/27/2018                              “Elon Musk Sued by the SEC for Securities Fraud,” Dow Jones                            Michael L.               A, F, K, H, R, P   Not offered for
                                                   Institutional News, September 27, 2018, 4:20 p.m.                                      Hartzmark/Materiality,                      truth/effect on
  589                                                                                                                                     Reliance, Loss                              listener
                                                                                                                                          Causation, Damages
            9/29/2018                              “Elon Musk Forced To Step Down As Tesla Chairman To Settle                             Michael L.               A, F, K, H, R, P   Not offered for
                                                   SEC Fraud Charges – MarketWatch,” Dow Jones Institutional                              Hartzmark/Materiality,                      truth/effect on
  590                                              News, September 29, 2018, 5:47 p.m.                                                    Reliance, Loss                              listener
                                                                                                                                          Causation, Damages
            8/13/2018                              CFRA, CFRA REITERATES HOLD OPINION ON SHARES OF                                        Michael L.               A, F, K, H, R      Not offered for
                                                   TESLA, INC., August 13, 2018.                                                          Hartzmark/Materiality,                      truth/effect on
  594                                                                                                                                     Reliance, Loss                              listener
                                                                                                                                          Causation, Damages
            8/27/2018                              CFRA, CFRA MAINTAINS HOLD OPINION ON SHARES OF                                         Michael L.               A, F, K, H, R      Not offered for
                                                   TESLA MOTORS, INC., August 27, 2018.                                                   Hartzmark/Materiality,                      truth/effect on
  595                                                                                                                                     Reliance, Loss                              listener
                                                                                                                                          Causation, Damages
            8/7/2018                               Morningstar, Musk Tweets Tesla May Go Private at $420 a                                Michael L.               A, F, K, H, R      Waiver. Defendants
                                                   Share but Stockholders May Not Have to Sell at That Price,                             Hartzmark/Materiality,                      include this exhibit
  596                                              August 7, 2018.                                                                        Reliance, Loss                              on their exhibit list.
                                                                                                                                          Causation, Damages

            8/7/2018                               UBS Securities, A Disruptive Approach to Disclosing Material                           Michael L.             A, F, K, H, R        Waiver. Defendants
                                                   Info, August 7, 2018.                                                                  Hartzmark/Materiality,                      include this exhibit
  600                                                                                                                                     Reliance, Loss                              on their exhibit list.
                                                                                                                                          Causation, Damages

            8/15/2018                              UBS Securities, SEC Expert Recaps Tesla Twitter Drama,                                 Michael L.               A, F, K, H, R      F.R.E. 703, 902
                                                   August 15, 2018.                                                                       Hartzmark/Materiality,
  601                                                                                                                                     Reliance, Loss
                                                                                                                                          Causation, Damages
            8/16/2018       Bernstein_0000000064 TSLA: Is $420/share a reasonable price? Revisiting our                                   Michael L.               A, F, K, H, R      F.R.E. 703, 902
                                                 valuation and price target (Bernstein Research Report,                                   Hartzmark/Materiality,
  602                                            8/16/2018)                                                                               Reliance, Loss
                                                                                                                                          Causation, Damages
            8/16/2018                              Musk’s take-private proposal for Tesla is a nightmare for                              Michael L.               A, F, K, H, R      F.R.E. 703, 902
                                                   potential advisors (CNBC, 8/16/2018)                                                   Hartzmark/Materiality,
  603                                                                                                                                     Reliance, Loss
                                                                                                                                          Causation, Damages
            8/16/2018                              Tesla’s Odds of Going Private Might Be Less Than 50%                                   Michael L.               A, F, K, H, R      F.R.E. 703, 902
                                                   (Barrons, 8/16/2018)                                                                   Hartzmark/Materiality,
  604                                                                                                                                     Reliance, Loss
                                                                                                                                          Causation, Damages
            8/16/2018       PRIMECAP_0000276       PrimeCap Morning Note (PrimeCap Research Report,                                       Michael L.               A, F, K, H, R      F.R.E. 703, 902
                                                   8/16/2018)                                                                             Hartzmark/Materiality,
  605                                                                                                                                     Reliance, Loss
                                                                                                                                          Causation, Damages



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            8/24/2018                           Twitter post “Staying Public,” @Tesla, August 24, 2018, 11:15                          Michael L.               A, F, K, H, R, D   Not offered for
                                                p.m.                                                                                   Hartzmark/Materiality,                      truth/effect on
  614                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages
            9/27/2018                           Complaint in U.S. Securities and Exchange Commission vs.                               Michael L.               A, F, K, H, R, P   Not offered for
                                                Elon Musk filed September 27, 2018.                                                    Hartzmark/Materiality,                      truth/effect on
  615                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages
            9/29/2018                           Complaint in U.S. Securities and Exchange Commission vs.                               Michael L.               A, F, K, H, R, P   Not offered for
                                                Tesla, Inc. filed September 29, 2018.                                                  Hartzmark/Materiality,                      truth/effect on
  616                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages
            4/2/2013                            “SEC Says Social Media Ok for Company Announcements if                                 Michael L.               A, F, K, H, R      Not offered for
                                                Investors Are Alerted,” Securities and Exchange Commission                             Hartzmark/Materiality,                      truth/effect on
  617                                           Documents, April 2, 2013, available at                                                 Reliance, Loss                              listener
                                                https://www.sec.gov/news/press-release/2013-2013-51htm.                                Causation, Damages

            9/29/2018                           “Elon Musk Settles SEC Fraud Charges; Tesla Charged With                               Michael L.             A, F, K, H, R        Not offered for
                                                and Resolves Securities Law Charge,” Securities and Exchange                           Hartzmark/Materiality,                      truth/effect on
                                                Commission Documents, September 29, 2018, available at                                 Reliance, Loss                              listener
  618                                           https://www.sec.gov/news/press-release/2018-                                           Causation, Damages
                                                226#:~:text=Musk%20and%20Tesla%20will%20each,under%2
                                                0a%20court%2Dapproved%20process.

                                                2018 TRACE Fact Book, https://www.finra.org/filing-                                    Michael L.               A, F, K, H, R      Not offered for
                                                reporting/trace/trace-fact-book.                                                       Hartzmark/Materiality,                      truth/effect on
  619                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages
            8/7/2018                            Tesla shares surge 10% after Elon Musk shocks market with                              Michael L.               A, F, K, H, R      Not offered for
                                                tweet about going private (CNBC, 8/7/2018)                                             Hartzmark/Materiality,                      truth/effect on
  620                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages
            8/7/2018                            Oh, wow, man! Elon Musk’s tweets about taking Tesla private                            Michael L.               A, F, K, H, R      Not offered for
                                                spark a stock spike (Geek Wire, 8/7/2018)                                              Hartzmark/Materiality,                      truth/effect on
  621                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages
            8/7/2018                            Elon Musk considers taking Tesla private at over $70 billion,                          Michael L.               A, F, K, H, R      Not offered for
                                                he says he has the money (Electrek, 8/7/2018)                                          Hartzmark/Materiality,                      truth/effect on
  622                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages
            8/7/2018                            Musings about going private is the latest strange twist                                Michael L.               A, F, K, H, R      Not offered for
                                                (Barclays Research Report, 8/7/2018 8:55 PM)                                           Hartzmark/Materiality,                      truth/effect on
  623                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages
            8/7/2018        TRP02712-TRP02715   Redburn's View from 5th Avenue (Redburn Research Report,                               Michael L.               A, F, K, H, R      Not offered for
                                                8/7/2018)                                                                              Hartzmark/Materiality,                      truth/effect on
  624                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages
            8/7/2018        TRP02274-TRP02276   Shorts may be burned for now … but buyer beware (Bank of                               Michael L.               A, F, K, H, R      Waiver. Defendants
                                                America Merrill Lynch Research Report, 8/7/2018)                                       Hartzmark/Materiality,                      include this exhibit
  625                                                                                                                                  Reliance, Loss                              on their exhibit list.
                                                                                                                                       Causation, Damages

            8/7/2018        TRP02282-TRP02283   Thoughts on Elon's tweet - Go Private Offer at $420 (Cowen                             Michael L.             A, F, K, H, R        Waiver. Defendants
                                                Research Report, 8/7/2018)                                                             Hartzmark/Materiality,                      include this exhibit
  626                                                                                                                                  Reliance, Loss                              on their exhibit list.
                                                                                                                                       Causation, Damages

            8/7/2018                            Tesla Buyout: Who Knew What, And When Did They Know It?                                Michael L.             A, F, K, H, R        Not offered for
                                                (Seeking Alpha, 8/7/2018)                                                              Hartzmark/Materiality,                      truth/effect on
  627                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages
            8/7/2018                            Tesla shares soar after Elon Musk floats plan to take                                  Michael L.             A, F, K, H, R        Not offered for
                                                company private (The Guardian, 8/7/2018)                                               Hartzmark/Materiality,                      truth/effect on
  628                                                                                                                                  Reliance, Loss                              listener
                                                                                                                                       Causation, Damages



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            8/7/2018                               Musk Considers Taking Tesla Private (Morningstar, 8/7/2018)                               Michael L.             A, F, K, H, R     Not offered for
                                                                                                                                             Hartzmark/Materiality,                   truth/effect on
  629                                                                                                                                        Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018        TRP02302-TRP02306      $420 Not High Enough, Expect Shares to Trade Above Marker                                 Michael L.             A, F, K, H, R     Waiver. Defendants
                                                   (Baird Research Report, 8/8/2018)                                                         Hartzmark/Materiality,                   include this exhibit
  630                                                                                                                                        Reliance, Loss                           on their exhibit list.
                                                                                                                                             Causation, Damages

            8/8/2018                               Elon Musk's Tesla buyout would reengineer take-private                                    Michael L.             A, F, K, H, R     Not offered for
                                                   deals (Reuters News, 8/8/2018)                                                            Hartzmark/Materiality,                   truth/effect on
  631                                                                                                                                        Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018                               Elon Musk May Want Tesla Private: We Question the                                         Michael L.             F, K, H, R        Waiver. Defendants
                                                   Feasibility of a Potential Transaction (Morgan Stanley                                    Hartzmark/Materiality,                   include this exhibit
  632                                              Research Report, 8/8/2018)                                                                Reliance, Loss                           on their exhibit list.
                                                                                                                                             Causation, Damages
                            TESLA_LITTLETON_00022
            8/8/2018                             Reactions To Tesla Plan To Go Private Range From 'Crazy' To                                 Michael L.               A, F, K, H, R   Not offered for
                                                 'Bring It On' (Forbes, 8/8/2018)                                                            Hartzmark/Materiality,                   truth/effect on
  633                                                                                                                                        Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018                               Morgan Stanley: Can Musk really take Tesla private? (Seeking                              Michael L.               A, F, K, H, R   Not offered for
                                                   Alpha, 8/8/2018)                                                                          Hartzmark/Materiality,                   truth/effect on
  634                                                                                                                                        Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018        SEC-EPROD-000002540-4(TSLA): Considerations for a buy-out -- key questions                                       Michael L.               A, F, K, H, R   Not offered for
                                                 following CEO's MBO announcement (Goldman Sachs                                             Hartzmark/Materiality,                   truth/effect on
  635                                            Research Report, 8/8/2018)                                                                  Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018        TRP02398-TRP02406      Citi Industrials & Materials Daily (Citi Research Report,                                 Michael L.               F, K, H, R      Not offered for
                                                   8/8/2018)                                                                                 Hartzmark/Materiality,                   truth/effect on
  636                                                                                                                                        Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018                               ‘This is out there, even for Tesla’ — what every major analyst                            Michael L.               A, F, K, H, R   Not offered for
                                                   has to say about Musk’s surprising proposal. (CNBC,                                       Hartzmark/Materiality,                   truth/effect on
  637                                              8/8/2018)                                                                                 Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018                               Tesla board mulling Musk’s idea to take company private                                   Michael L.               A, F, K, H, R   Not offered for
                                                   (New York Post, 8/8/2018)                                                                 Hartzmark/Materiality,                   truth/effect on
  638                                                                                                                                        Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018                               Wall Street analysts weigh in on Tesla's potential path to                                Michael L.               A, F, K, H, R   Not offered for
                                                   privatization (ProactiveInvestors.com, 8/8/2018)                                          Hartzmark/Materiality,                   truth/effect on
  639                                                                                                                                        Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018                               ‘Less than 50 percent’ Musk will pull this off, says Bernstein’s                          Michael L.               A, F, K, H, R   Not offered for
                                                   Sacconaghi (CNBC, 8/8/2018)E505:E510                                                      Hartzmark/Materiality,                   truth/effect on
  640                                                                                                                                        Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018                               Questions Remain; Overweight-rated TSLA Not Going Private                                 Michael L.               A, F, K, H, R   Not offered for
                                                   Anytime Soon (PiperJaffray Research Report, 8/8/2018)                                     Hartzmark/Materiality,                   truth/effect on
  641                                                                                                                                        Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018                               It’s been 24 hours and Tesla still hasn’t said where its secured                          Michael L.               A, F, K, H, R   Not offered for
                                                   financing is coming from — here’s what that probably means                                Hartzmark/Materiality,                   truth/effect on
  642                                              (CNBC, 8/8/2018)                                                                          Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018                               Doing the Right Stuff, but Who Might be Tesla's Next Large                                Michael L.               A, F, K, H, R   Not offered for
                                                   Shareholder? (Jefferies Research Report, 8/8/2018)                                        Hartzmark/Materiality,                   truth/effect on
  643                                                                                                                                        Reliance, Loss                           listener
                                                                                                                                             Causation, Damages
            8/8/2018                               Wall Street weighs in on Musk’s Tesla buyout idea (Quoting                                Michael L.               A, F, K, H, R   Not offered for
                                                   Analysts from J.P. Morgan, Baird, UBS, Evercore & (Financial                              Hartzmark/Materiality,                   truth/effect on
  644                                              Times, 8/8/2018)                                                                          Reliance, Loss                           listener
                                                                                                                                             Causation, Damages



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            8/8/2018                                 Here’s what Tesla would have to do to go private (KXLY.com,                             Michael L.               A, F, K, H, R      Not offered for
                                                     8/8/2018)                                                                               Hartzmark/Materiality,                      truth/effect on
  645                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/8/2018                                 Musk's master plan to take Tesla private looks doubtful (New                            Michael L.               A, F, K, H, R      Not offered for
                                                     Zealand Herald, 8/8/2018)                                                               Hartzmark/Materiality,                      truth/effect on
  646                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/8/2018                                 Here's what Tesla would have to do to go private (CNN                                   Michael L.               A, F, K, H, R      Not offered for
                                                     Money, 8/8/2018)                                                                        Hartzmark/Materiality,                      truth/effect on
  647                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/8/2018                                 Tesla's Board Responds To Musk's Tweet Thunderstorm On                                  Michael L.               A, F, K, H, R      Not offered for
                                                     Going Private (Investors.com, 8/8/2018)                                                 Hartzmark/Materiality,                      truth/effect on
  648                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/8/2018                                 Wall Street Salivates After Elon Musk Floats Taking Tesla                               Michael L.               A, F, K, H, R      Not offered for
                                                     Private (The New York Times, 8/8/2018)                                                  Hartzmark/Materiality,                      truth/effect on
  649                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/9/2018                                 Musk Goes All-In With A Privatization Offer, Is He Bluffing?                            Michael L.               A, F, K, H, R      Not offered for
                                                     (Seeking Alpha, 8/9/2018)                                                               Hartzmark/Materiality,                      truth/effect on
  650                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/9/2018        TRP001897-TRP001902 MRA - Does the options market believe Elon Musk? (Macro                                      Michael L.               F, K, H, R         Not offered for
                                                Risk Advisors Research Report, 8/9/2018)                                                     Hartzmark/Materiality,                      truth/effect on
  651                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/9/2018                                 Wall Street to Elon Musk: Show Us the Money (Time,                                      Michael L.               A, F, K, H, R      Not offered for
                                                     8/9/2018)                                                                               Hartzmark/Materiality,                      truth/effect on
  652                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/9/2018                                 Tesla: How Much Cash Should It Realistically Secure?                                    Michael L.               A, F, K, H, R      Not offered for
                                                     (Seeking Alpha, 8/9/2018)                                                               Hartzmark/Materiality,                      truth/effect on
  653                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/9/2018                                 How Musk Could Fund Taking Tesla Private (CleanTechnica,                                Michael L.               A, F, K, H, R      Not offered for
                                                     8/9/2018)                                                                               Hartzmark/Materiality,                      truth/effect on
  654                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/9/2018        Tesla Sec. Litig.-005534- EvrISI Autos Pitstop: China sales - / TSLA headlines / US 25%                          Michael L.               F, K, H, R         Not offered for
                            Tesla Sec. Litig.-005537 tariffs (Evercore ISI Research Report, 8/9/2018)                                        Hartzmark/Materiality,                      truth/effect on
  655                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/9/2018                                 Musk’s go-private proposal to be studied by Tesla board (The                            Michael L.               A, F, K, H, R      Not offered for
                                                     Detroit News, 8/9/2018)                                                                 Hartzmark/Materiality,                      truth/effect on
  656                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/9/2018                                 Tesla to be examined by SEC over Elon Musk's 'funding                                   Michael L.               A, F, K, H, R, P   Not offered for
                                                     secured' tweet – report (The Guardian, 8/9/2018)                                        Hartzmark/Materiality,                      truth/effect on
  657                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/9/2018        TRP002620-TRP002622 Tesla holdings brief (T. Rowe Price Research Report,                                         Michael L.               F, K, H, R         Not offered for
                                                8/9/2018)                                                                                    Hartzmark/Materiality,                      truth/effect on
  658                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/10/2018                                Tesla's tweet-fueled surge wanes (Northwest Arkansas                                    Michael L.               A, F, K, H, R      Not offered for
                                                     Democrat, 8/10/2018)                                                                    Hartzmark/Materiality,                      truth/effect on
  659                                                                                                                                        Reliance, Loss                              listener
                                                                                                                                             Causation, Damages
            8/10/2018                                Tesla Going Private? The Next Leg Of The Short Thesis                                   Michael L.               A, F, K, H, R      Not offered for
                                                     (Seeking Alpha, 8/10/2018)                                                              Hartzmark/Materiality,                      truth/effect on
  660                                                                                                                                        Reliance, Loss                              listener
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            8/11/2018                              Musk's plan to take Tesla private and allow outside                                        Michael L.             A, F, K, H, R     Not offered for
                                                   shareholders is not an easy path. Musk’s idea of a special                                 Hartzmark/Materiality,                   truth/effect on
  661                                              purpose fund is unwieldy, meant for angel investors and                                    Reliance, Loss                           listener
                                                   small start-ups (Market Watch, 8/11/2018)                                                  Causation, Damages

            8/13/2018       JPMS_00012930-12937 Top 5 Investor Questions on Tesla Potentially Going Private                                   Michael L.               F, K, H, R      Not offered for
                                                (Morgan Stanley Research Report, 8/13/2018)                                                   Hartzmark/Materiality,                   truth/effect on
  662                                                                                                                                         Reliance, Loss                           listener
                                                                                                                                              Causation, Damages
            8/13/2018       JPMS_00000589          Takeaways from 2018 J.P. Morgan Automotive Conference:                                     Michael L.               F, K, H, R      Not offered for
                                                   Outlook for Global Sales, Production, Trade, & Autonomous                                  Hartzmark/Materiality,                   truth/effect on
  663                                              Driving (J.P. Morgan Research Report, 8/13/2018)                                           Reliance, Loss                           listener
                                                                                                                                              Causation, Damages
            8/13/2018                              Elon Musk confirms his bid to take Tesla private, backed by                                Michael L.               A, F, K, H, R   Not offered for
                                                   Saudi Arabia’s sovereign wealth fund (Tech Crunch,                                         Hartzmark/Materiality,                   truth/effect on
                                                   8/13/2018)                                                                                 Reliance, Loss                           listener
  664                                                                                                                                         Causation, Damages,
                                                                                                                                              Market efficiency for
                                                                                                                                              Tesla common stock
                                                                                                                                              and options
            8/13/2018                              The Never-Ending Shenanigans of Elon Musk (Slate.com,                                      Michael L.               A, F, K, H, R   Not offered for
                                                   8/13/2018)                                                                                 Hartzmark/Materiality,                   truth/effect on
  665                                                                                                                                         Reliance, Loss                           listener
                                                                                                                                              Causation, Damages
            8/14/2018                              Whither Tesla After The 'Secured Funding'? (Seeking Alpha,                                 Michael L.               A, F, K, H, R   Not offered for
                                                   8/14/2018)                                                                                 Hartzmark/Materiality,                   truth/effect on
  666                                                                                                                                         Reliance, Loss                           listener
                                                                                                                                              Causation, Damages
            8/13/2018                              This whole conversation ‘will end in the next year with Tesla                              Michael L.               A, F, K, H, R   Not offered for
                                                   going private,’ Gene Munster says (CNBC, 8/13/2018)                                        Hartzmark/Materiality,                   truth/effect on
  667                                                                                                                                         Reliance, Loss                           listener
                                                                                                                                              Causation, Damages
            8/13/2018                              Elon Musk Reveals New Plan for Taking Tesla Private                                        Michael L.               A, F, K, H, R   Not offered for
                                                   (Entrepreneur, 8/13/2018)                                                                  Hartzmark/Materiality,                   truth/effect on
  668                                                                                                                                         Reliance, Loss                           listener
                                                                                                                                              Causation, Damages
            8/13/2018                              Musk's Backstory On Taking Tesla Private Suggests Tweet                                    Michael L.               A, F, K, H, R   Not offered for
                                                   Jumped The Gun (Forbes, 8/13/2018)                                                         Hartzmark/Materiality,                   truth/effect on
  669                                                                                                                                         Reliance, Loss                           listener
                                                                                                                                              Causation, Damages
            8/13/2018                              Elon Musk’s latest salvo raises more questions than it                                     Michael L.               A, F, K, H, R   Not offered for
                                                   answers Financial Times, 8/13/2018)                                                        Hartzmark/Materiality,                   truth/effect on
  670                                                                                                                                         Reliance, Loss                           listener
                                                                                                                                              Causation, Damages
                8/14/2018   TESLA_LITTLETON_0001   Email from Karen King to Sarah O'Brien - Re: Communications          Arnold/Falsity                                                                         F, K, H, R,     Business records
  700                              0995-97                                                                                                                                                                                        exception
                8/16/2018   TESLA_LITTLETON_0001   Email from Dave Arnold to Todd Maron - FW: Tesla Go              Arnold, Teller/ Falsity                                                                    F, K, H, R,     Business records
  701                              1198-99         Private Timeline & Questions                                                                                                                                                   exception
                8/13/2018   TESLA_LITTLETON_0001   Email from Deepak Ahuja to Brad Buss with attachments - Re:        Ahuja, Buss/Falsity                                                                       F, K, H        Business records
  702                              3236-53         Advisors                                                                                                                                                                       exception
                8/7/2018    TESLA_LITTLETON_0001   Email from Deepak Ahuja to Owuraka Koney - Re: hey                Ahuja/ Foundation,                                                                         F, K, H        Business records
  703                              3506-07                                                                             Falsity, Scienter                                                                                          exception
                3/24/2018   TESLA_LITTLETON_0001   Email from Teresa Moraska to Ira Ehrenpreis - Crown Prince      Ehrenpreis/ Foundation,                                                                     F, K, H, R,     Business records
  704                                6876          Meeting with Elon Musk                                                   Falsity                                                                                               exception
                8/7/2018    TESLA_LITTLETON_0001   Email from Aaron Chew to Dave Arnold - RE: Major Investor       Arnold/Falsity, Scienter                                                                     F, K, H        Business records
  705                              8257-58         Inquires                                                                                                                                                                       exception
                8/7/2018    TESLA_LITTLETON_0001   Email from Dave Arnold to Todd Maron - FW: musk comment Arnold/Falsity, Scienter                                                                             F, K, H        Business records
  706                                8283          to private/public from our 2015 interivew                                                                                                                                      exception
                8/13/2018   TESLA_LITTLETON_0001   Email from Sarah O'Brien to Todd Maron - FW: Hello! Re,          Teller, Arnold/                                                                             F, K, H        Business records
  707                              8589-90         tweets                                                         Foundation, Falsity                                                                                             exception
                8/7/2018    TESLA_LITTLETON_0001   Email from Deepak Ahuja to Elon Musk - Re: TSLA shares      E. Musk, Ahuja/ Falsity,                                                                         F, K, H        Business records
  708                              8973-74         ownership                                                           Scienter                                                                                                   exception
                8/15/2018   TESLA_LITTLETON_0001   Email from Karen King to Sarah O'Brien - Re: Communications Teller, Durban, Dees/                                                                            F, K, H        Business records
  709                              9169-72                                                                              Falsity                                                                                                   exception
                8/25/2018   TESLA_LITTLETON_0001   Email from Dave Arnold to Dana Hull - RE: you owe me             Arnold/Falsity                                                                              F, K, H        Business records
  710                              9196-98         dinner                                                                                                                                                                         exception



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               8/25/2018    TESLA_LITTLETON_0002 Email from Antonio Gracias to Elon Musk - Re: Elon - NYT         E. Musk, K. Musk, Teller,                                                              F, K, H       Business records
  711                              0055-62       update                                                           Gracias/ Falsity, Scienter                                                                              exception

                8/7/2018    TESLA_LITTLETON_0001   Email from Martin Viecha to Deepak Ahuja - Re: Share                Ahuja, Falsity                                                                    F, K, H       Business records
  712                              2965-73         ownership                                                                                                                                                              exception
                8/7/2018    TESLA_LITTLETON_0001   Email from Deepak Ahuja to Martin Viecha - Re: Why?                 Ahuja, Falsity                                                                    F, K, H       Business records
  713                                3504                                                                                                                                                                                 exception
               8/25/2018    TSLA_PROD0395234-36    Email from Elon Musk to Tim Higgins - Re: wsj                   Musk/Falsity, Scienter                                                                F, K, H         FRE 803(3)
  714
               8/14/2018    LITTLETON_00001835- Email from Touch Support to Glen Littleton - Light Speed #          Littleton/Foundation                                                                 F, K, H       No out of court
  715                                50         [REDACTED] Daily Reports 8/13/2018                                                                                                                                        statement
               4/20/2015            N/A         Road Show Article - "Google Nearly bought Tesla for $6B in         Musk/Falsity, Scienter                                                                F, K, H       Not offered for
  716                                           2013"                                                                                                                                                                  truth/effect on
                                                                                                                                                                                                                            listener
                8/9/2018     LITTLETON_00001728-   Email from Touch Support to Glen Littleton - Light Speed #       Littleton/Foundation                                                                 F, K, H       Party opponent
  717                                 33           [REDACTED] Daily Reports 8/8/2018                                                                                                                                      statement
                8/7/2018     LITTLETON_00001743-   Email from Touch Support to Glen Littleton - Light Speed #       Littleton/Foundation                                                                 F, K, H       Party opponent
  718                                 47           [REDACTED] Daily Reports 8/6/2018                                                                                                                                      statement
               8/13/2018     LITTLETON_00001802-   Email from Touch Support to Glen Littleton - Light Speed #       Littleton/Foundation                                                                 F, K, H       Party opponent
  719                                 07           [REDACTED] Daily Reports 8/10/2018                                                                                                                                     statement
               8/14/2018    TESLA_LITTLETON_0002   Barclays Equity Research - Tesla, Inc. - Time for Even 'blue    Fischel/ Foundation,
  720                               2473-85        pillers' to cash out?                                           Materiality, Reliance,
                                                                                                                      Expert Reliance
                8/7/2018    TESLA_LITTLETON_0002 RBC Capital Markets Equity Research - On Tesla $420               Fischel/ Foundation,
  721                              2486-94                                                                         Materiality, Reliance,
                                                                                                                      Expert Reliance
               8/17/2018    TESLA_LITTLETON_0002 Evercore ISI - EvrlSI Autos Pitstop: High-speed                   Fischel/ Foundation,
  722                              2518-23       networking/TSLA trip/ NA Trucks/LDN mobility cap/On-car           Materiality, Reliance,
                                                 advertising                                                          Expert Reliance
                8/7/2018    TESLA_LITTLETON_0002 Bank of America Merrill Lynch Equity Research - Tesla             Fischel/ Foundation,
  723                              2524-28       Motors: Shorts May be Burned for now…but buyer beware             Materiality, Reliance,
                                                                                                                      Expert Reliance
                8/8/2018    TESLA_LITTLETON_0002 Baird Equity Research - Tesla, Inc - $420 Not High Enough,        Fischel/ Foundation,
  724                              2529-35       Expect Shares to Trade Above Marker                               Materiality, Reliance,
                                                                                                                      Expert Reliance
                8/8/2018    TESLA_LITTLETON_0002 WSJ - Musk Looks to Take Tesla Private - Tweet on what            Fischel/ Foundation,                                                                  F, K, H       Not offered for
  725                              2633-35       would be mammoth buyout surprises investors, drives stock         Materiality, Reliance,                                                                              truth/effect on
                                                 up 11%                                                               Expert Reliance                                                                                      listener
               8/13/2018    TESLA_LITTLETON_0002 Business Insider - It is now abundantly clear that Elon Musk       Littleton/ Reliance                                                                  F, K, H       Not offered for
  726                              2682-84       does not have 'funding secured'                                                                                                                                       truth/effect on
                                                                                                                                                                                                                           listener
               10/2/2017    TESLA_LITTLETON_0002 Insitutional Investor - Elon Musk versus the Haters               Fischel/ Foundation,                                                                  F, K, H       Not offered for
  727                              2690-95                                                                         Materiality, Reliance,                                                                              truth/effect on
                                                                                                                      Expert Reliance                                                                                      listener
                8/8/2018    TESLA_LITTLETON_0002   A|B Bernstein - Tesla: Going private? Who knows…does            Fischel/ Foundation,
  728                              3388-99         Elon?                                                           Materiality, Reliance,
                                                                                                                      Expert Reliance
                8/8/2018    TESLA_LITTLETON_0002   PiperJaffray Company Note - Questions Remain; Overweight-       Fischel/ Foundation,
  729                              3428-31         rated TSLA Not Going Private Anytime Soon                       Materiality, Reliance,
                                                                                                                      Expert Reliance
               8/12/2018    TESLA_LITTLETON_0002   Bloomberg News - Tesla Said to Draw Saudi Interest as Board     Fischel/ Foundation,                                                                  F, K, H       Not offered for
  730                              2687-89         Prepares to Meet                                                Materiality, Reliance,                                                                              truth/effect on
                                                                                                                      Expert Reliance                                                                                      listener
                8/7/2018    TESLA_LITTLETON_0002   Cowen Equity Research - Thoughts on Elon's Tweet - Go           Fischel/ Foundation,
  731                              3382-87         Private Offer at $420                                           Materiality, Reliance,
                                                                                                                      Expert Reliance
                8/8/2018    TESLA_LITTLETON_0002   Oppenheimer Intraday Report - TSLA: Going Private?              Fischel/ Foundation,                                                                  F, K, H       Not offered for
  732                              3400-03                                                                         Materiality, Reliance,                                                                              truth/effect on
                                                                                                                      Expert Reliance                                                                                      listener
                8/7/2018    TESLA_LITTLETON_0002   Barclays - Tesla Inc - Musing about going private is the latest Fischel/ Foundation,
  733                              3413-18         strange twist                                                   Materiality, Reliance,
                                                                                                                      Expert Reliance
                8/8/2018    TESLA_LITTLETON_0002   Berenberg - Private Tesla to send ripples across industry       Fischel/ Foundation,                                                                  F, K, H       Not offered for
  734                              3455-61                                                                         Materiality, Reliance,                                                                              truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
               8/15/2018    LITTLETON_00001901-    Email from Touch Support to Glen Littleton with attachments - Littleton/Foundation                                                                    F, K, H       Party opponent
  735                                06            LightSpeed # Daily Reports 8/14/2018                                                                                                                                   statement

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               8/17/2018    LITTLETON_00002112-    Email from Touch Support to Glen Littleton with attachments - Littleton/Foundation                                                                    F, K, H           Party opponent
  736                                17            LightSpeed # Daily Reports 8/16/2018                                                                                                                                      statement
                8/8/2018    LITTLETON_00003496-    Email from Touch Support to Glen Littleton with attachments - Littleton/Foundation                                                                    F, K, H           Party opponent
  737                               501            LightSpeed # Daily Reports 8/7/2018                                                                                                                                       statement
               8/10/2018    LITTLETON_00005296-    Email from Touch Support to Glen Littleton with attachments - Littleton/Foundation                                                                    F, K, H           Party opponent
  738                               301            LightSpeed # Daily Reports 8/9/2018                                                                                                                                       statement
               8/1/2018 -   LITTLETON_00006555-    LightSpeed Account Summary                                     Littleton/ Damages                                                                B (Duplicate of D-
  739          8/31/2018             95                                                                                                                                                                  0026)
                8/7/2018    LITTLETON_00006964-    LightSpeed Account Summary                                       Littleton/ Damages                                                                   F, K, H            No out of court
                                     68                                                                                                                                                                                  statement; business
  740                                                                                                                                                                                                                     records exception

                8/8/2018    LITTLETON_00006969- LightSpeed Account Summary                                          Littleton/ Damages                                                                   F, K, H            No out of court
                                     81                                                                                                                                                                                  statement; business
  741                                                                                                                                                                                                                     records exception

                8/9/2018    LITTLETON_00006982- LightSpeed Account Summary                                          Littleton/ Damages                                                                   F, K, H            No out of court
                                     86                                                                                                                                                                                  statement; business
  742                                                                                                                                                                                                                     records exception

               8/10/2018    LITTLETON_00006987- LightSpeed Account Summary                                          Littleton/ Damages                                                                   F, K, H            No out of court
                                     93                                                                                                                                                                                  statement; business
  743                                                                                                                                                                                                                     records exception

               8/13/2018    LITTLETON_00006994- LightSpeed Account Summary                                          Littleton/ Damages                                                                   F, K, H            No out of court
                                     96                                                                                                                                                                                  statement; business
  744                                                                                                                                                                                                                     records exception

               8/14/2018    LITTLETON_00006997- LightSpeed Account Summary                                          Littleton/ Damages                                                                   F, K, H            No out of court
                                     99                                                                                                                                                                                  statement; business
  745                                                                                                                                                                                                                     records exception

               8/15/2018    LITTLETON_00007000- LightSpeed Account Summary                                          Littleton/ Damages                                                                   F, K, H            No out of court
                                     06                                                                                                                                                                                  statement; business
  746                                                                                                                                                                                                                     records exception

               8/16/2018    LITTLETON_00007007- LightSpeed Account Summary                                          Littleton/ Damages                                                                   F, K, H            No out of court
                                     09                                                                                                                                                                                  statement; business
  747                                                                                                                                                                                                                     records exception

               8/17/2018    LITTLETON_00007010- LightSpeed Account Summary                                          Littleton/ Damages                                                                   F, K, H            No out of court
                                     15                                                                                                                                                                                  statement; business
  748                                                                                                                                                                                                                     records exception

                7/6/2017    LITTLETON_00003631-    Email from Robert Morse to Glen Littleton - RE: Your account    Littleton/ Foundation,                                                               F, K, H, R         Party opponent
  749                                35                                                                                    Reliance                                                                                          statement
               7/10/2017    LITTLETON_00004055-    Email from Robert Morse to Glen Littleton - RE: Margin Call     Littleton/ Foundation,                                                               F, K, H, R         Party opponent
  750                                56            Due: Jul 11 2017                                                        Reliance                                                                                          statement
               7/28/2017    LITTLETON_00004967     Email from Glen Littleton to Christopher Grap - Re: Big Day     Littleton/ Foundation,                                                               F, K, H, R         Party opponent
  751                                                                                                                      Reliance                                                                                          statement
               3/28/2018    LITTLETON_00002475- Email from Robert Morse to Glen Littleton - RE: FW: Option         Littleton/ Foundation,                                                               F, K, H, R         Party opponent
  752                                79         Assignment                                                                 Reliance                                                                                          statement
                5/3/2018    LITTLETON_00005175 Email from Glen Littleton to Christopher Grap - Please sell         Littleton/ Foundation,                                                               F, K, H, R         Party opponent
  753                                           our stock': Elon Musk clashes with Wall Street during epic          Reliance, Causation                                                                                      statement
                                                earnings call - The Washington Post
                5/4/2018            N/A         Falsity, Scienter, Materiality                                      Littleton/Foundation                                                                F, K, H, R         Not offered for
  754                                                                                                                                                                                                                      truth/effect on
                                                                                                                                                                                                                                listener
               6/27/2018     LITTLETON_00004729 Email from Robert Morse to Glen Littleton - RE: Musk Says          Littleton/ Foundation,                                                               F, K, H, R         Party opponent
  755                                           'Rude Awakening' Awaits Bearish Goldman Sachs Analyst -                    Reliance                                                                                           statement
                                                Bloomberg
               6/27/2018             N/A        Bloomberg article, "'Rude Awakening' Awaits Bearish                 Littleton/Foundation                                                                F, K, H, R         Not offered for
  756                                           Goldman Sachs Analyst"                                                                                                                                                     truth/effect on
                                                                                                                                                                                                                                listener
               7/30/2018    LITTLETON_00004871- Email from Glen Littleton to Bob Morse - Re: Tesla Inc. (TSLA):      Littleton/Reliance,                                                                F, K, H, R         Party opponent
  757                                74         Where is the debate to 2Q's print? Margins, cash, and order         Causation, Damages                                                                                        statement
                                                conversion

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  No.                                                                                                                  at Trial                Purpose at Trial                                                           Objections

                8/9/2018     LITTLETON_00004655- Email from Glen Littleton to Bob Morse - Re: Your Account                Littleton/Reliance,                                                                F, K, H, R     Party opponent
  758                                 57                                                                                 Causation, Damages                                                                                   statement
                8/9/2018     LITTLETON_00004627- Email from Glen Littleton to Bob Morse - Re: What Tesla                  Littleton/Reliance,                                                                F, K, H, R     Party opponent
  759                                 33         Shareholders Could Learn from SpaceX - The Information                        Causation                                                                                      statement

               8/17/2018     LITTLETON_00004555- Email from Glen Littleton to Christopher Grap with                       Littleton/Reliance,                                                                F, K, H, R     Party opponent
  760                                 59         attachments - Re: Glen Littleton shares 1 photo with you                      Causation                                                                                      statement

               8/10/2018      LITTLETON_00004625 Email from Robert Morse to Glen Littleton - RE: TSLA                 Littleton/Reliance,                                                                    F, K, H, R     Party opponent
  761                                                                                                                      Causation                                                                                           statement
               8/10/2018              N/A            Bloomberg article, "Tesla Said to Seek Wide Investor Pool for E. Musk/ Falsity, Scienter                                                                 F, K, H       Not offered for
  762                                                Take-Private Plan (1)"                                                                                                                                                 truth/effect on
                                                                                                                                                                                                                                 listener
               8/12/2018              N/A            Business Insider article, "Report: Saudi Arabia is looking to       Defendants/ Falsity,
  763                                                invest big in Tesla as the company teases going private"                 Scienter

               8/12/2018     TESLA_LITTLETON_0000 Email from Elon Musk to Todd Maron transmitting iMessage - E. Musk, Teller/ Falsity,                                                                        F, K, H          FRE 803(3)
  764                                 5286        Re: Privileged                                                        Scienter
               3/27/2017-             N/A         Littleton Transactions Number of Contracts Traded by            Seru/Damages, Expert                                                                       F, K, H, R     No out of court
  765          09/12/2018                         Moneyness                                                             Reliance                                                                                              statement
              08/07/2018 -            N/A         Heston Figure 12 Alternative                                    Seru/Damages, Expert                                                                       A, F, K, H     No out of court
  766          08/17/2018                                                                                               Reliance                                                                                              statement
                 Nov-21               N/A         Recreation of Heston Table 7 etc                                Seru/Damages, Expert                                                                         K, H         No out of court
  767                                                                                                                   Reliance                                                                                              statement
               12/8/2021              N/A         Exhibit 1 to Expert Rebuttal Report of Seru -Implied Volatility Seru/Damages, Expert
                                                  of TSLA Call and Put Options Compared to Heston Straddle on           Reliance
  768                                             August 6, 2018 for Options Expiring January 17, 2020

               12/8/2021              N/A            Exhibit 2 to Expert Rebuttal Report of Seru -Implied Volatility Seru/Damages, Expert
                                                     of TSLA Call and Put Options Compared to Heston Straddle on           Reliance
  769                                                August 8, 2018 for Options Expiring January 17, 2020

               12/8/2021              N/A            Exhibit 3 to Expert Rebuttal Report of Seru -Percentage            Seru/Damages, Expert
                                                     Difference Between Model-Based and Actual TSLA Option                    Reliance
  770                                                Prices on August 6, 2018 for Options Expiring January 17,
                                                     2020
               12/8/2021              N/A            Exhibit 4 to Expert Rebuttal Report of Seru -Percentage            Seru/Damages, Expert
                                                     Difference Between Model-Based and Actual TSLA Option                    Reliance
  771                                                Prices
                                                     on August 8, 2018 for Options Expiring January 17, 2020
               12/8/2021              N/A            Exhibit 5A to Expert Rebuttal Report of Seru -Difference in        Seru/Damages, Expert
                                                     TSLA Call Option Prices Between August 6 and August 8, 2018              Reliance
  772                                                Model-Based vs. Actual Prices for Options Expiring January
                                                     17, 2020
               12/8/2021              N/A            Exhibit 5B to Expert Rebuttal Report of Seru -Difference in        Seru/Damages, Expert
                                                     TSLA Put Option Prices Between August 6 and August 8, 2018               Reliance
  773                                                Model-Based vs. Actual Prices for Options Expiring January
                                                     17, 2020
               12/8/2021              N/A            Exhibit 6 to Expert Rebuttal Report of Seru -Replication of Dr.    Seru/Damages, Expert
                                                     Hartzmark's Table 8 Using Heston Implied Volatilities and Put            Reliance
  774                                                and Call Implied Volatilities
                                                     for Options with Expiries of January 17, 2020, June 21, 2019
                                                     and August 16, 2019
               11/8/2021              N/A            Exhibit 1 to Expert Report of Fischel - Probability of Deal        Fischel/Falsity, Expert
  775                                                Completion in Precedent Going Private Transaction                         Reliance

               11/8/2021              N/A         Exhibit 2 to Expert Report of Fischel -Percentage Difference         Fischel/Damages, Expert
  776                                             of Cumulative Residual Returns                                               Reliance
               9/28/2018     TESLA_LITTLETON_0001 Email from Elson Musk to Tim Higgins - Re: Detailed PIF              E. Musk/ Falsity, Scienter                                                             F, K, H     Only offering if Defs'
  777                                 9241        meeting in March 2017                                                                                                                                                    MIL No. 4 denied

                8/3/2018     TESLA_LITTLETON_0000 iMessage to Elon Musk                                                        E. Musk,                                                                        F, H         Not offered for
  778                                 3229                                                                                 Murdoch/Falsity,                                                                                 truth/effect on
                                                                                                                               Scienter                                                                                         listener
                8/7/2018     TESLA_LITTLETON_0000 Email from Jonathan Chang to to Linda Rice. - Scheduling              Rice, Denholm/ Falsity                                                                 F, H       FRE 803(3); business
  779                                 3262                                                                                                                                                                                 records exception



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               8/15/2018    TESLA_LITTLETON_0000 Email from Deborah Messemer to Robyn Denholm - Re :Hi                Denholm/Falsity                                                                     F, H         Not offered for
  780                              3290-91       Robyn                                                                                                                                                                 truth/effect on
                                                                                                                                                                                                                           listener
                8/9/2018    TESLA_LITTLETON_0000 Email from David Wallerstein to Sam Teller - Re: Call w/Elon      Teller/Falsity, Scienter                                                               F, H       FRE 803(3); business
  781                              4904-05       (Internet mail)                                                                                                                                                      records exception

               8/14/2018    TESLA_LITTLETON_0000 Email from Elon Musk to Dan Dees - Re:                            E. Musk, Dees/Falsity                                                                  F, H           Not offered for
  782                              4961-62                                                                                                                                                                               truth; business
                                                                                                                                                                                                                      records exception
               7/31/2018    TESLA_LITTLETON_0000 Email from Saad Aljarboa to Reyna Ortiz - Re: Yasir Meeting         Teller/Foundation,                                                                   F, H           Not offered for
                                   5289-92       with Elon                                                            Falsity, Scienter                                                                                  truth/effect on
  783                                                                                                                                                                                                                  listener; business
                                                                                                                                                                                                                      records exception
                8/7/2018    TESLA_LITTLETON_0000 Email from Antonio Gracias to Elon Musk - Re: BMW recalls        E. Musk, K. Musk, Ahuja/                                                               F, H, R         FRE 803(3); not
                                   5375-76       324,000 cars in Europe after Korean engine fires: FAZ                Falsity, Scienter                                                                                    offered for
  784                                                                                                                                                                                                                    truth/effect on
                                                                                                                                                                                                                             listener
               7/28/2018    TSLA_SECSF0059415-16 Email from Elon Musk to Sam Teller - Re: Yasir Meeting with          E. Musk, Teller/                                                                    F, H           Not offered for
                                                 Elon                                                               Foundation, Falsity,                                                                                 truth/effect on
  785                                                                                                                     Scienter                                                                                   listener; FRE 803(3)

                8/2/2018     TSLA_SECSF0059422     Email from Elon Musk to Robyn Denholm - Re: Your email           Defendants/Falsity,                                                                   F, H          Not offered for
                                                                                                                         Scienter                                                                                       truth/effect on
  786                                                                                                                                                                                                                listener; FRE 803(3)

               2/17/2017     TSLA_SECSF0060199- Email from Todd Maron to Elissa Butterfield - Re: Tesla             Teller/ Foundation,                                                                  F, H, R         Not offered for
                                    200         Discussion                                                           Falsity, Scienter                                                                                   truth/effect on
  787                                                                                                                                                                                                                listener; FRE 803(3);
                                                                                                                                                                                                                        business records
                                                                                                                                                                                                                            exception
               2/22/2017     TSLA_SECSF0060204     Email from Sam Teller to Saad Aljarboa - Re: OpenAl              Teller/ Foundation,                                                                  F, H, R         Not offered for
                                                                                                                     Falsity, Scienter                                                                                   truth/effect on
  788                                                                                                                                                                                                                 listener; FRE 803(3)

               4/26/2017     TSLA_SECSF0060208     Email from Sam Teller to Elon Musk - Fwd: Meeting with Elon        E. Musk, Teller/                                                                   F, H, R        No out of court
                                                                                                                    Foundation, Falsity,                                                                                statement; not
                                                                                                                          Scienter                                                                                        offered for
  789                                                                                                                                                                                                                   truth/effect on
                                                                                                                                                                                                                     listener; FRE 803(3)

               4/28/2017    TSLA_SECSF0060209-11 Email from Saad Aljarboa to Sam Teller - Re: Meeting with          Teller/ Foundation,                                                                  F, H, R        Not offered for
                                                 Elon                                                                Falsity, Scienter                                                                                  truth/effect on
  790                                                                                                                                                                                                                listener; FRE 803(3)

               4/30/2017     TSLA_SECSF0060216     Email from Elissa Butterfield to Sam Teller - Draft | Monday     Teller/ Foundation,                                                                  F, H, R         Not offered for
                                                   5/1                                                               Falsity, Scienter                                                                                   truth/effect on
  791                                                                                                                                                                                                                listener; FRE 803(3);
                                                                                                                                                                                                                        business records
                                                                                                                                                                                                                            exception
                5/1/2017     TSLA_SECSF0060219     Email from Emma Gallagher to Elon Musk - Tuesday 5/2               E. Musk, Teller/                                                                   F, H, R         Not offered for
                                                                                                                    Foundation, Falsity,                                                                                 truth/effect on
  792                                                                                                                     Scienter                                                                                   listener; FRE 803(3);
                                                                                                                                                                                                                        business records
                                                                                                                                                                                                                            exception
                5/2/2017     TSLA_SECSF0060220     Email from Elon Musk to Sam Teller - Re: Saudi follow up           E. Musk, Teller/                                                                   F, H, R         No out of court
                                                                                                                    Foundation, Falsity,                                                                                 statement; not
  793                                                                                                                     Scienter                                                                                         offered for
                                                                                                                                                                                                                         truth/effect on
                                                                                                                                                                                                                             listener
               5/10/2017    TSLA_SECSF0060222-26 Email from Sam Teller to Saad Aljarboa - Re: Meeting with          Teller/ Foundation,                                                                  F, H, R         Not offered for
                                                 Elon                                                                Falsity, Scienter                                                                                   truth/effect on
  794                                                                                                                                                                                                                 listener; FRE 803(3)




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               8/11/2017     TSLA_SECSF0060229      Email from Elissa Butterfield to Sam Teller - Re: Saad Al-       Teller/ Foundation,                                                                 F, H, R         Not offered for
                                                    Jarboa                                                            Falsity, Scienter                                                                                  truth/effect on
  795                                                                                                                                                                                                                listener; FRE 803(3);
                                                                                                                                                                                                                        business records
                                                                                                                                                                                                                            exception
               8/17/2018    TESLA_LITTLETON_0000 Email from Ira Ehrenpreis to Stephanie Castro - RE: Special         Defendants/Falsity                                                                  F, H, R           FRE 803(3)
  796                                2081        Board Meeting - 8/17 or 8/18
               8/10/2018     SEC-EPROD-000005401 Email from Deepak Ahuja to Brian Dong - Re: Project                 Ahuja, Dees/Falsity                                                                 F, H, R          FRE 803(3)
  797
                8/8/2018                         Email from Antonio Gracias to Deepak Ahuja - Re: A few            Gracias, Ahuja/ Falsity                                                               F, H, R        Not offered for
                            TESLA_LITTLETON_0000 things…Aspen Institute and business                                                                                                                                    truth/effect on
  798                                1050                                                                                                                                                                            listener; FRE 803(3)

               8/13/2018                         Email from Deepak Ahuja to Brad Buss - FW: Tesla Capital            Ahuja, Buss/Falsity                                                                 F, H, R        Not offered for
                            TESLA_LITTLETON_0000 Considerations [C]                                                                                                                                                     truth; business
  799                             1423 -25                                                                                                                                                                            records exception;
                                                                                                                                                                                                                          FRE 803(3)
                8/8/2018                         Email from Ira Ehrenpreis to Stu Francis - RE: Tesla - current      Ehrenpreis/Falsity                                                                  F, H, R          FRE 803(3)
  800                       TESLA_LITTLETON_0000 events
                                     2102
                8/7/2018                         Email from Linda Rice to Antonio Gracias - Re: Blog Link:           Defendants/Falsity                                                                  F, H, R          FRE 803(3)
  801                       TESLA_LITTLETON_0000 Taking Tesla private
                                     3328
                8/2/2018                         Email from Antonio Gracias to Elon Musk - Re: Offer to Take        Defendants/ Falsity                                                                  F, H, R          FRE 803(3)
  802                       TESLA_LITTLETON_0000 Tesla Private at $420
                                     3395
               8/13/2018                         Email from Walter Price to Sam Teller - Tesla Private Holdings         Teller /Falsity                                                                  F, H, R        Not offered for
  803                       TESLA_LITTLETON_0000                                                                                                                                                                        truth/effect on
                                     4776                                                                                                                                                                                   listener
               7/31/2018                         Calendar Appointment froM Elon Musk to EMDesk - 6 PM:              E. Musk/Foundation,                                                                  F, H, R        No out of court
                            TESLA_LITTLETON_0000 Yasir Al-Ramayvan (PIF)                                               Falsity, Scienter                                                                                statement; FRE
  804                                5332                                                                                                                                                                              803(3); business
                                                                                                                                                                                                                      records exception
                8/7/2018                         Email from Elon Musk to Board of Directors - Fwd: Tesla +          Defendants, Falsity,                                                                 F, H, R        Not offered for
  805                       TESLA_LITTLETON_0000 $11                                                                     Scienter                                                                                      truth; FRE 803(3)
                                     6291
               8/15/2018                         Email from Brad Buss to Madhukar Namburi - Re: Tesla                   Buss, Falsity                                                                    F, H, R          FRE 803(3)
  806                       TESLA_LITTLETON_0001
                                   7315-16
               8/13/2018                         Email from Elon Musk to Martin Viecha - Re: T Rowe Price          E. Musk, Ahuja/ Falsity,                                                              F, H, R        Not offered for
                            TESLA_LITTLETON_0001                                                                          Scienter                                                                                      truth/effect on
  807                              8638-39                                                                                                                                                                            listener; business
                                                                                                                                                                                                                      records exception
               8/24/2018                         Minutes of Special Committee of the Board of Directors               Buss, Rice/Falsity                                                                 F, H, R       Business records
  808                       TESLA_LITTLETON_0002                                                                                                                                                                           exception
                                     0180
               7/25/2017      TSLA_SECSF0060227 Email from Elissa Butterfield to Sam Teller - Re: Invitation         Teller/ Foundation,                                                                 F, H, R        Not offered for
                                                 from HRH Prince Mohammad bin Salman Al-Saud - Future                 Falsity, Scienter                                                                                  truth/efect on
  809                                            Investment Initiative - Mr. Elon Musk                                                                                                                               listener; FRE 803(3)

               8/11/2017     TSLA_SECSF0060229 Email from Elissa Butterfield to Sam Teller - Re: Invitation          Teller/ Foundation,                                                                 F, H, R        Not offered for
                                               from HRH Prince Mohammad bin Salman Al-Saud - Future                   Falsity, Scienter                                                                                 truth/effect on
  810                                          Investment Initiative - Mr. Elon Musk                                                                                                                                 listener; FRE 803(3)

               8/24/2017     TSLA_SECSF0060230 Email from Elissa Butterfield to Sam Teller - Fwd: Saudi              Teller/ Foundation,                                                                 F, H, R        Not offered for
                                               Progress?                                                              Falsity, Scienter                                                                                 truth/effect on
  811                                                                                                                                                                                                                listener; FRE 803(3)

                 Jul-18     ERM_SECAUG7_000000 E. Musk phone log spreadsheet                                       E. Musk/ Foundation,                                                                  F, H, R       No out of court
  812                               01                                                                                Falsity, Scienter                                                                                   statement
               8/10/2018      MS_TESLA0001348 Email from Rick Polhemus to Deepak Ahuja - Re: MS is ready          Ahuja, Polhemus/Falsity                                                                F, H, R     Not offered for truth
  813                                          to support you
                  N/A               N/A        PayPal notice re: Disclosure Channels                                Subramanian/Expert                                                                   F, H, R       Not offered for
  814                                                                                                                    Reliance                                                                                      truth/effect on
                                                                                                                                                                                                                           listener




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               8/15/2018             N/A           WSJ Article - "Saudi Arabia Goes High-Tech in Approach to        Fischel/Foundation,                                                                  F, H, R         Not offered for
  815                                              Investing"                                                         Expert Reliance                                                                                    truth/effect on
                                                                                                                                                                                                                             listener
               8/10/2018    SEC-EPROD-000000397- Email from Sam Teller to Elliot Mattingly - Re: Fidelity               Teller/Falsity                                                                   F, H, R           FRE 803(3)
  816                                98          Contacts
               8/13/2018    SEC-EPROD-000005377 Email from Sam Teller to Brian Dong and Egon Durban - Re:          Teller, Durban/Falsity                                                                F, H, R       FRE 803(3); business
  817                                            Kick-Off Call (EM Team, MTO, Wachtell, Goldman Sachs)                                                                                                                  records exception

               8/17/2018    SEC-EPROD-000005518- Brian Dong letter to Elon Musk re: Godman Sachs                       E. Musk/Falsity                                                                   F, H, R          Not offered for
                                     25          engagement                                                                                                                                                               truth; business
  818                                                                                                                                                                                                                   records exception;
                                                                                                                                                                                                                            FRE 803(3)
                8/9/2018    SEC-EPROD-000007442- Email from Brian Dong to Sam Britton - Re: Meeting                     Dees/Falsity                                                                     F, H, R            FRE 803(3)
  819                                43          tomorrow
                8/9/2018    SEC-EPROD-000008081 Email from Dan Dees to Elon Musk - Re: 2 questions                 Dees, E. Musk/Falsity                                                                 F, H, R         No out of court
                                                                                                                                                                                                                         statement; not
  820                                                                                                                                                                                                                   offered for truth;
                                                                                                                                                                                                                           FRE 803(3)
               8/15/2018    SEC-EPROD-000009826- Email from Elon Musk to Egon Durban - Re: Communications            Durban, Dees, E.                                                                    F, H, R           FRE 803(3)
  821                                29                                                                                Musk/Falsity
               8/17/2018    SEC-EPROD-000009954 Email from Egon Durban to Sam Teller - Warm intros                 Durban, Teller/Falsity                                                                F, H, R         No out of court
  822                                                                                                                                                                                                                    statement; FRE
                                                                                                                                                                                                                             803(3)
               8/15/2018    SEC-EPROD-000010904- Email from Gordon Goldstein to Richard Siewert with                   Durban/Falsity                                                                    F, H, R       FRE 803(3); Business
  823                                05          attachment - Draft Joint Statement                                                                                                                                     records exception

                8/3/2018    TESLA_LITTLETON_0000 Handwritten notes of Brad Buss                                      Buss/ Foundation,                                                                   F, H, R          Present sense
  824                                1285                                                                             Falsity, Scienter                                                                                    impression
               8/12/2018    TESLA_LITTLETON_0001 Email from Elon Musk to Todd Maron - Privileged                  E. Musk , Teller/ Falsity,                                                             F, H, R       FRE 803(3); business
                                     8615                                                                                 Scienter                                                                                      records exception;
  825                                                                                                                                                                                                                    FRE 801(d)(1)(b)

               8/25/2018    TESLA_LITTLETON_0002 Email from Elon Musk to Antonio Gracias - Re: Elon - NYT         E. Musk, Gracias/ Falsity,                                                             F, H, R       FRE 803(3); business
                                   0029-34       update                                                                   Scienter                                                                                      records exception;
  826                                                                                                                                                                                                                    FRE 801(d)(1)(b)

                3/8/2017    TSLA_PROD0024112-13 Calendar invite from Elon Musk                                         E. Musk, Ahuja,                                                                   F, H, R          No out of court
  827                                                                                                              Straubel/ Foundation,                                                                                  statement; FRE
                                                                                                                      Falsity, Scienter                                                                                       803(3)
                5/1/2017    TSLA_PROD0225324-27 Email fro Elissa Butterfield to Ibrahim AlMotawa - Re:              Teller/ Foundation,                                                                  F, H, R          Not offered for
  828                                           Meeting with Elon                                                     Falsity, Scienter                                                                                  truth; FRE 803(3)
               7/10/2017     TSLA_PROD0225328 Email from Sam Teller to Saad Aljarboa - Yasir / Elon                 Teller/ Foundation,                                                                  F, H, R          Not offered for
  829                                                                                                                 Falsity, Scienter                                                                                  truth; FRE 803(3)
               8/25/2018    TSLA_PROD0395604-07 Email from Elon Musk to Dave Arnold - Re: Telsa-Musk: Lucky          E. Musk , K. Musk/                                                                  F, H, R         Business records
  830                                           Investors Can Still Stand By Their Man - Bloomberg                    Falsity, Scienter                                                                                   exception; FRE
                                                                                                                                                                                                                            801(d)(1)(b)
                5/1/2017    TESLA_LITTLETON_0000 Email from Sam Teller to Emma Gallagher - Re: DRAFT -              Teller/ Foundation,                                                                  F, H, R          Not offered for
                                   6147-48       Tuesday 5/2                                                         Falsity, Scienter                                                                                    truth/effect on
  831                                                                                                                                                                                                                  listener; FRE 803(3)

                3/7/2017    TSLA_SECSF0059268-69 Calendar invite from Elon Musk                                    E. Musk/ Foundation,                                                                  F, H, R          No out of court
  832                                                                                                                  Falsity, Scienter                                                                                     statement
               2/20/2018     LITTLETON_00004800 Email from Michaella Woo to Glen Littleton - RE: Model 3           Littleton/ Foundation                                                                F, H, K, R       Party opponent
  833                                                                                                                                                                                                                        statement
               2/20/2018     LITTLETON_00005147-   Email from Christopher Grap to Glen Littleton - Re:             Littleton/ Foundation                                                                F, H, K, R       Party opponent
  834                                 48           Christopher Grap's Separate App Enablement                                                                                                                                statement
                2/8/2018     LITTLETON_00004848-   Email from Glen Littleton to Robert Morse - Re: Fast-growing    Littleton/ Foundation                                                                 F, H, R         Party opponent
  835                                 49           mutual fund is victim of market turbulence                                                                                                                                statement
               12/31/2017   TESLA_LITTLETON_0002   10-K Report                                                      Fischel/Foundation,                                                                B, F, H, K, R      Not offered for
                                    1963-18                                                                           Expert Reliance                                                                                     truth/effect on
  836                                                                                                                                                                                                                   listener; business
                                                                                                                                                                                                                        records exception
               8/10/2018             N/A           Tesla Complaint - Isaacs                                        Littleton/ Foundation                                                                F, H, K, R       Party opponent
  837                                                                                                                                                                                                                        statement
                7/3/2018     LITTLETON_00005271 Email from Glen Littleton to Christopher Grap - Re: Your           Littleton/ Foundation                                                                F, H, K, R       Party opponent
  838                                           Model 3 is Ready to Order                                                                                                                                                    statement



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               4/12/2017     LITTLETON_00005268 Email from Robert Morse to Glen Littleton - RE: TSLA Trade          Littleton/ Foundation                                                                F, H, K, R     Party opponent
  839                                           Breaks                                                                                                                                                                    statement
               11/8/2021             N/A        Fischel Opening Exhibit 1 Tesla and International Stocks Short  Fischel/Foundation,
                                                Interest Summary Statistics                                       Falsity, Scienter,
  840                                                                                                             Damages, Expert
                                                                                                                       Reliance
               11/8/2021              N/A        Fischel Opening Exhibit 2 Examples of International            Fischel/Foundation,
                                                 Investments of the Public Investment Fund                        Falsity, Scienter,
  841                                                                                                             Damages, Expert
                                                                                                                       Reliance
               11/8/2021              N/A        Fischel Opening Exhibit 3 Merger Premiums Offered in           Fischel/Foundation,
                                                 Precedent Going Private Transactions                             Falsity, Scienter,
  842                                                                                                             Damages, Expert
                                                                                                                       Reliance
               11/8/2021              N/A        Fischel Opening Exhibit 4 Change in Value of Tesla Saleable    Fischel/Foundation,
                                                 Holdings                                                         Falsity, Scienter,
  843                                                                                                             Damages, Expert
                                                                                                                       Reliance
                8/9/2018     LITTLETON_00004669- Email from Robert Morse to Glen Littleton - Re: Your account Littleton/ Foundation,                                                                     F, H, K, R     Party opponent
  844                                 50                                                                       Reliance, Causation,                                                                                       statement
                                                                                                                      Damages
                8/9/2018    TESLA_LITTLETON_0002 LA Times Article - "No gain in Tesla going private "           Fischel/Foundation,                                                                      F, H, K, R     Not offered for
  845                               2660-62                                                                   Falsity, Expert Reliance                                                                                  truth/effect on
                                                                                                                                                                                                                            listener
               8/13/2018            None            Reuters Article - "Musk says Silver Lake, Goldman advising on   Fischel/Foundation,
  846                                               taking Tesla private"                                         Falsity, Expert Reliance

               8/13/2018    TESLA_LITTLETON_0002 MarketWatch Article - "Wall Street has spoken: Tesla funding     Fischel/Foundation,
                                   2636-37       is not ‘secured’; Price stays well belowElon Musk’s stated go- Falsity, Expert Reliance
  847                                            private level after explanation, showing investors’ valid
                                                 doubts "
               8/13/2018    TESLA_LITTLETON_0002 The Canadian Press Article - "Questions loom over Tesla deal     Fischel/Foundation,                                                                    F, H, K, R     Not offered for
  848                              2672-74       after CEO reveals Saudi link"                                  Falsity, Expert Reliance                                                                                truth/effect on
                                                                                                                                                                                                                             listener
               8/14/2018             N/A            Dkt No. 001 - Complaint (Maia)                                  Littleton/ Foundation,                                                               F, H, K, R     Party opponent
  849                                                                                                                 Reliance, Causation                                                                                  statement
               8/17/2018    LITTLETON_00004604 Email from Christopher Grap to Glen Littleton - Re: Tesla             Littleton/Foundation                                                                F, H, K, R     Party opponent
  850                                           Firmware                                                                                                                                                                   statement
               8/21/2018    LITTLETON_00004750- Email from Glen Littleton to Christopher Grap - Re: Order            Littleton/Foundation                                                                F, H, K, R     Party opponent
  851                                57         Confirmation                                                                                                                                                               statement
                9/7/2018    LITTLETON_00004530- Email from Glen Littleton to Bob Morse - Re: TSLA                   Littleton/ Foundation,                                                               F, H, K, R     Party opponent
  852                                31                                                                              Reliance, Causation,                                                                                  statement
                                                                                                                           Damages
                9/7/2018            None            Bloomberg Article - "Tesla Chief Accounting Officer Leaves,     Littleton/ Foundation,                                                               F, H, K, R     Not offered for
  853                                               Citing Level of Scrutiny"                                        Reliance, Causation,                                                                               truth/effect on
                                                                                                                           Damages                                                                                          listener
                9/7/2018            None            Bloomberg Article - "Musk Smokes Weed, Sips Whiskey on          Littleton/ Foundation,                                                               F, H, K, R     Not offered for
  854                                               California Comedian's Show"                                      Reliance, Causation,                                                                               truth/effect on
                                                                                                                           Damages                                                                                          listener
               9/17/2018    TESLA_LITTLETON_0002 Institutional Investor Article - "How Jim Chanos Uses               Fischel/Foundation,                                                                 F, H, K, R     Not offered for
                                   2642-57       Cynicism, Chutzpah - and a Secret Twitter Account - to Take           Falsity, Scienter,                                                                               truth/effect on
  855                                            on Markets (and Elon Musk)"                                           Damages, Expert                                                                                      listener
                                                                                                                            Reliance
               3/16/2017    LITTLETON_00003956-     Email from Glen Littleton to Robert Morse - Re: New Account     Littleton/ Foundation                                                                F, H, K, R     Party opponent
  856                                60                                                                                                                                                                                    statement
               3/18/2017    LITTLETON_00005240-     Email from Glen Littleton to Yanira Sanchez - Re: Lightspeed    Littleton/ Foundation                                                                F, H, K, R     Party opponent
  857                                52             Trading Application for Glen Littleton                                                                                                                                 statement
               3/21/2017    LITTLETON_00005042-     Email from Robert Morse to Glen Littleton - PM Calculation      Littleton/ Foundation                                                                F, H, K, R     Party opponent
  858                                45                                                                                                                                                                                    statement
               3/28/2017    LITTLETON_00005046-     Email from Robert Morse to Glen Littleton - RE: PM              Littleton/ Foundation                                                                F, H, K, R     Party opponent
  859                                48                                                                                                                                                                                    statement
                5/6/2017    LITTLETON_00005029      Email from Glen Littleton to NASales - Re: Upgrading Model X    Littleton/ Foundation                                                                F, H, K, R     Party opponent
  860                                               to P100D from P90D                                                                                                                                                     statement
                8/1/2018      TESLA_LITTLETON-      S&P Global Market Intelligence - TSLA FQ2 2018 Earnings          Fischel/Foundation,                                                                 F, H, K, R     Not offered for
  861                           00022353-83         Calls Transcripts                                                  Expert Reliance                                                                                  truth/effect on
                                                                                                                                                                                                                             listener



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               8/13/2018    TESLA_LITTLETON_0002 LA Times Article - "On Tesla going private, Elon Musk admits        Fischel/Foundation,                                                                F, H, K, R     Not offered for
  862                              2669-71       he doesn't have 'funding secured' "                              Falsity, Damages, Expert                                                                             truth/effect on
                                                                                                                           Reliance                                                                                         listener
               10/25/2018   LITTLETON_00004441 Email from Christopher Grap to Glen Littleton - Re: Tesla            Littleton/Foundation                                                                F, H, K, R     Party opponent
  863                                           Punts Solar-Roof Production Ramp, Citing `Complexity' -                                                                                                                   statement
                                                Bloomberg
                9/7/2018    LITTLETON_00004462- Email from Alexzandra Asp to Glen Littleton - RE: Scheduling        Littleton/Foundation                                                                F, H, K, R     Party opponent
  864                                64         Your Tesla Delivery Date - Response Required                                                                                                                             statement

                9/6/2018    LITTLETON_00004465- Email from Christopher Grap to Glen Littleton - Re:                 Littleton/Foundation                                                                F, H, K, R     Party opponent
  865                                66         Scheduling Your Tesla Delivery Date - Response Required                                                                                                                  statement

               9/12/2018    LITTLETON_00004471 Email from Glen Littleton to Christopher Grap - Elon Musk            Littleton/Foundation                                                                F, H, K, R     Party opponent
  866                                           Says Tesla Slow to Respond - Bloomberg                                                                                                                                   statement
               9/20/2018    LITTLETON_00004476- Email from Christopher Grap to Glen Littleton - Re: Tesla-          Littleton/Foundation                                                                F, H, K, R     Party opponent
  867                                84         Upcoming Delivery                                                                                                                                                        statement
               9/19/2018    LITTLETON_00004508- Email from Glen Littleton to Christopher Grap - Re: Tesla-          Littleton/Foundation                                                                F, H, K, R     Party opponent
  868                                13         Upcoming Delivery                                                                                                                                                        statement
               9/12/2018    LITTLETON_00004525 Email from Glen Littleton to Bob Morse - U.S. Proposing New          Littleton/Foundation                                                                F, H, K, R     Party opponent
  869                                           Round of Trade Talks With China in the Near Future - WSJ                                                                                                                 statement

               9/19/2018     LITTLETON_00004541 Email from Glen Littleton to Sam Scheller - Model 3 Delivery        Littleton/Foundation                                                                F, H, K, R     Party opponent
  870                                                                                                                                                                                                                    statement
                9/8/2018     LITTLETON_00004544 Email from Christopher Grap to Glen Littleton - Re: Tesla           Littleton/Foundation                                                                F, H, K, R     Party opponent
  871                                                                                                                                                                                                                    statement
               9/11/2018     LITTLETON_00004545 Email from Glen Littleton to Pete Schulte - Model 3 Delivery        Littleton/Foundation                                                                F, H, K, R     Party opponent
  872                                                                                                                                                                                                                    statement
               9/11/2018    LITTLETON_00004564- Email from Logan Beaton to Glen Littleton - RE: Scheduling          Littleton/Foundation                                                                F, H, K, R     Party opponent
  873                                65         Your Tesla Delivery Date - Response Required                                                                                                                             statement

                8/1/2018     LITTLETON_00004599 Email from Christopher Grap to Glen Littleton - Re: Tesla           Littleton/Foundation                                                                F, H, K, R     Party opponent
  874                                                                                                                                                                                                                    statement
               7/30/2018     LITTLETON_00004601 Email from Christopher Grap to Glen Littleton - Re: Tesla           Littleton/Foundation                                                                F, H, K, R     Party opponent
  875                                           tests new direct factory-to-customer delivery, Elon Musk                                                                                                                 statement
                                                personally delivers a Model 3 | Electrek
               9/28/2018     LITTLETON_00004652 Email from Christopher Grap to Glen Littleton - Re: Model 3         Littleton/Foundation                                                                F, H, K, R     Party opponent
  876                                           pickup                                                                                                                                                                   statement
               7/27/2018     LITTLETON_00004672 Email from Christopher Grap to Glen Littleton - Re: Tesla           Littleton/Foundation                                                                F, H, K, R     Party opponent
  877                                           starts deliveries of Model 3 Performance and Dual Motor |                                                                                                                statement
                                                Electrek
                8/1/2018     LITTLETON_00004674 Email from Glen Littleton to Christopher Grap - Tesla               Littleton/Foundation                                                                F, H, K, R     Party opponent
  878                                                                                                                                                                                                                    statement
               7/12/2018     LITTLETON_00004675 Email from Glen Littleton to Christopher Grap - Tesla               Littleton/Foundation                                                                F, H, K, R     Party opponent
  879                                           confirmed hitting federal tax credit threshold, $7,500 credit                                                                                                            statement
                                                cut in half by end of the year | Electrek
                8/4/2018     LITTLETON_00004676 Email from Glen Littleton to Christopher Grap - Tesla               Littleton/Foundation                                                                 F, H, R       Party opponent
  880                                                                                                                                                                                                                    statement
               7/19/2018    LITTLETON_00004677-    Email from Christopher Grap to Glen Littleton - Re: Rest of      Littleton/Foundation                                                                F, H, K, R     Party opponent
  881                                82            the Article                                                                                                                                                           statement
               10/17/2018   LITTLETON_00004689-    Email from Michael Stanton to Glen Littleton - RE: negative      Littleton/Foundation                                                                F, H, K, R     Party opponent
  882                                91            total equity                                                                                                                                                          statement
               6/29/2018    LITTLETON_00004726     Email from Christopher Grap to Glen Littleton - Re: Model 3      Littleton/Foundation                                                                F, H, K, R     Party opponent
  883                                              Configuration                                                                                                                                                         statement
               6/27/2018     LITTLETON_00004736    Email from Christopher Grap to Glen Littleton - Re: Model 3      Littleton/Foundation                                                                F, H, K, R     Party opponent
  884                                              AWD - Dual Motor                                                                                                                                                      statement
                8/2/2018    LITTLETON_00004748-    Email from Robert Morse to Glen Littleton - Fwd: Tesla Inc.      Littleton/Foundation                                                                F, H, K, R     Party opponent
                                     49            (TSLA): Solid quarter with improvements in Auto gross                                                                                                                 statement
  885                                              margins and FCF burn, but still see some uncertainty to
                                                   higher priced Model 3 demand
               6/28/2018    LITTLETON_00004764-    Email from Glen Littleton to Christopher Grap - Re: Model 3      Littleton/Foundation                                                                 F, H, R       Party opponent
  886                                65            Ready for Design                                                                                                                                                      statement
                7/9/2018    LITTLETON_00004769     Email from Christopher Grap to Glen Littleton - Re: Tesla is     Littleton/Foundation                                                                F, H, K, R     Party opponent
  887                                              opening Model 3 online configurator to everyone | Electrek                                                                                                            statement

               5/16/2018     LITTLETON_00004770 Email from Christopher Grap to Glen Littleton - Re: Dr Who          Littleton/Foundation                                                                F, H, K, R     Party opponent
  888                                                                                                                                                                                                                    statement



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                8/1/2018     LITTLETON_00004772 Email from Glen Littleton to Christopher Grap - Tesla claims           Littleton/Foundation                                                                 F, H, R       Party opponent
  889                                           Model 3 outsold all other premium sedans combined in US in                                                                                                                  statement
                                                July | Electrek
               6/10/2018     LITTLETON_00004773 Email from Glen Littleton to Sean Fessler - Model X Trade In           Littleton/Foundation                                                                 F, H, R       Party opponent
  890                                           for 2 Model 3's on Order                                                                                                                                                    statement
                4/5/2018     LITTLETON_00004779 Email from Glen Littleton to Robert Morse - Excercise                  Littleton/Foundation                                                                 F, H, R       Party opponent
  891                                                                                                                                                                                                                       statement
               3/12/2018    LITTLETON_00004780 Email from Christopher Grap to Glen Littleton - Re: Tesla -             Littleton/Foundation                                                                F, H, K, R     Party opponent
  892                                           Future                                                                                                                                                                      statement
                3/5/2018    LITTLETON_00004785 Email from Christopher Grap to Glen Littleton - Re: Post                Littleton/Foundation                                                                F, H, K, R     Party opponent
  893                                           journey Black Panther                                                                                                                                                       statement
               5/17/2018    LITTLETON_00004786- Email from Glen Littleton to Christopher Grap - Re: Tesla              Littleton/Foundation                                                                 F, H, R       Party opponent
  894                                87                                                                                                                                                                                     statement
                5/9/2018    LITTLETON_00004791 Email from Glen Littleton to Christopher Grap - Re: 3                   Littleton/Foundation                                                                 F, H, R       Party opponent
  895                                                                                                                                                                                                                       statement
               3/30/2018     LITTLETON_00004794 Email from Robert Morse to Glen Littleton - Re: Thanks                 Littleton/Foundation                                                                F, H, K, R     Party opponent
  896                                                                                                                                                                                                                       statement
                8/1/2018    LITTLETON_00004797 Email from Christopher Grap to Glen Littleton - Re: Tesla               Littleton/Foundation                                                                F, H, K, R     Party opponent
                                                claims to have ‘world’s most advanced computer for                                                                                                                          statement
  897                                           autonomous driving’ with Autopilot 3.0 update coming next
                                                year | Electrek
               2/19/2018    LITTLETON_00004802- Email from Christopher Grap to Glen Littleton - Re:                    Littleton/Foundation                                                                F, H, K, R     Party opponent
  898                                03                                                                                                                                                                                     statement
               2/19/2018    LITTLETON_00004806 Email from Christopher Grap to Glen Littleton - Re:                     Littleton/Foundation                                                                F, H, K, R     Party opponent
  899                                                                                                                                                                                                                       statement
               8/28/2018    LITTLETON_00004807 Email from Robert Morse to Glen Littleton - RE: Trump -                 Littleton/Foundation                                                                F, H, K, R     Party opponent
  900                                           China                                                                                                                                                                       statement
                3/9/2018    LITTLETON_00004813 Email from Glen Littleton to Christopher Grap - Re: Elon is             Littleton/Foundation                                                                 F, H, R       Party opponent
  901                                           going to be at SXSW...                                                                                                                                                      statement
               1/21/2018    LITTLETON_00004844 Email from Glen Littleton to Christopher Grap - Watch                   Littleton/Foundation                                                                 F, H, R       Party opponent
  902                                           "Here's Why the Tesla Model 3 Is the Coolest Car of 2017" on                                                                                                                statement
                                                YouTube
               2/17/2018    LITTLETON_00004846 Email from Glen Littleton to Christopher Grap - Elon Musk on            Littleton/Foundation                                                                 F, H, R       Party opponent
  903                                           Instagram: “My new toaster”                                                                                                                                                 statement
               2/10/2018    LITTLETON_00004847 Email from Glen Littleton to Christopher Grap - Re: Watch               Littleton/Foundation                                                                 F, H, R       Party opponent
  904                                           "Elon Musk 'I Don't Give A Damn About Your Degree'" on                                                                                                                      statement
                                                YouTube
                2/8/2018    LITTLETON_00004851- Email from Christopher Grap to Glen Littleton - Re: Photos             Littleton/Foundation                                                                 F, H, R       Party opponent
  905                                52         document the Falcon Heavy rocket launch from high up, and                                                                                                                   statement
                                                up close – GeekWire
               12/12/2017   LITTLETON_00004860 Email from Glen Littleton to Christopher Grap - Chill Mode in           Littleton/Foundation                                                                 F, H, R       Party opponent
  906                                           Tesla                                                                                                                                                                        statement
               9/26/2017    LITTLETON_00004950- Email from Robert Morse to Glen Littleton - Re: Wire                   Littleton/Foundation                                                                 F, H, R       Party opponent
  907                                51                                                                                                                                                                                      statement
               8/10/2017    LITTLETON_00004964 Email from Glen Littleton to Christopher Grap - Re: Tesla               Littleton/Foundation                                                                 F, H, R       Party opponent
  908                                           models                                                                                                                                                                       statement
               7/30/2017    LITTLETON_00004978- Email from Christopher Grap to Glen Littleton - Re: Tesla              Littleton/Foundation                                                                 F, H, R       Party opponent
  909                                79                                                                                                                                                                                      statement
               6/30/2017    LITTLETON_00004982- Email from Glen Littleton to Michael Stanton - RE: Wheat               Littleton/Foundation                                                                 F, H, R       Party opponent
  910                                85         Open Contracts                                                                                                                                                               statement
               7/20/2017    LITTLETON_00005005 Email from Glen Littleton to Christopher Grap - Tesla                   Littleton/Foundation                                                                 F, H, R       Party opponent
  911                                                                                                                                                                                                                        statement
                8/7/2018            None            CleanTechnica Article - Saudi Arabia Buys Large Stake... - Re:     Littleton/Foundation                                                                 F, H, R       Not offered for
  912                                               Upgrading Model X to P100D from P90D                                                                                                                                  truth/effect on
                                                                                                                                                                                                                               listener
                5/8/2017     LITTLETON_00005067 Email from Glen Littleton to Sean Fessler - Re: Model X                Littleton/Foundation                                                                 F, H, R       Party opponent
  913                                                                                                                                                                                                                        statement
                7/3/2018    LITTLETON_00005068- Email from Glen Littleton to Christopher Grap - Re: Your               Littleton/Foundation                                                                 F, H, R       Party opponent
  914                                70         Model 3 is Ready to Order                                                                                                                                                    statement
               8/16/2016    LITTLETON_00005109 Email from Sean Fessler to Glen Littleton - Re: Tesla VP of             Littleton/Foundation                                                                 F, H, R       Party opponent
  915                                           retail hints at ‘drastic redesign of its retail concept’ ahead of                                                                                                            statement
                                                Model 3 launch | Electrek
               3/29/2017    LITTLETON_00005110 Email from Michael Stanton to Glen Littleton - RE: Contract             Littleton/Foundation                                                                 F, H, R       Party opponent
  916                                           Limits                                                                                                                                                                      statement
               10/28/2018   LITTLETON_00005139 Email from Michael Stanton to Glen Littleton - Re: Soybean              Littleton/Foundation                                                                 F, H, R       Party opponent
  917                                           Contract Limit                                                                                                                                                              statement



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                7/9/2017    LITTLETON_00005154-   Email from Robert Morse to Glen Littleton - RE: call               Littleton/Foundation                                                                 F, H, R       Party opponent
  918                                55                                                                                                                                                                                   statement
               9/12/2018    LITTLETON_00005171-   Email from Michael Stanton to Glen Littleton - RE: Margin Call     Littleton/Foundation                                                                F, H, K, R     Party opponent
  919                                72                                                                                                                                                                                   statement
               11/10/2017   LITTLETON_00005228-   Email from Christopher Grap to Glen Littleton - Re: Check          Littleton/Foundation                                                                F, H, K, R     Party opponent
  920                                29                                                                                                                                                                                   statement
                6/7/2017    LITTLETON_00005321-   Email from Michael Stanton to Glen Littleton - RE:                 Littleton/Foundation                                                                F, H, K, R     Party opponent
  921                                25           Assignment for Wednesday 06/07/16                                                                                                                                       statement
               10/23/2018   LITTLETON_00001594-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  922                                95           Assignments for Tuesday 10/23/18                                                                                                                                        statement
               10/1/2018    LITTLETON_00001609-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  923                                10           Assignments for Monday 10/01/18                                                                                                                                         statement
               10/12/2018   LITTLETON_00001618-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  924                                19           Assignments for Friday 10/12/18                                                                                                                                         statement
               9/14/2018    LITTLETON_00001632-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  925                                33           assignments                                                                                                                                                             statement
               9/19/2018    LITTLETON_00001638    Email from Michael Stanton to Glen Littleton - Fwd:                Littleton/Foundation                                                                F, H, K, R     Party opponent
  926                                             Assignment for Wednesday 09/19/18                                                                                                                                       statement
               9/17/2018    LITTLETON_00001708-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  927                                09           Assignments for Monday 09/17/18                                                                                                                                         statement
               9/17/2018    LITTLETON_00001710-   Email from Michael Stanton to Glen Littleton - Fwd:                Littleton/Foundation                                                                F, H, K, R     Party opponent
  928                                11           Assignments for Monday 09/17/18                                                                                                                                         statement
               8/15/2018    LITTLETON_00001742    Email from Michael Stanton to Glen Littleton - Fwd:                Littleton/Foundation                                                                F, H, K, R     Party opponent
  929                                             Assignments for Wednesday 08/15/18                                                                                                                                      statement
               9/20/2018    LITTLETON_00001841-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  930                                42           Assignments for Thursday 09/20/18                                                                                                                                       statement
               6/14/2018    LITTLETON_00001890    Email from Michael Stanton to Glen Littleton - FW:                 Littleton/Foundation                                                                F, H, K, R     Party opponent
  931                                             Assignments for Thursday 06/14/18                                                                                                                                       statement
               5/30/2018    LITTLETON_00001912-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  932                                13           Assignment for Wednesday 05/30/18                                                                                                                                       statement
               5/30/2018    LITTLETON_00001914    Email from Michael Stanton to Glen Littleton - Fwd:                Littleton/Foundation                                                                F, H, K, R     Party opponent
  933                                             Assignment for Wednesday 05/30/18                                                                                                                                       statement
               6/21/2018    LITTLETON_00001921-   Email from Michael Stanton to Glen Littleton - RE: FW:             Littleton/Foundation                                                                F, H, K, R     Party opponent
  934                                22           Assignments for Thursday 06/21/18                                                                                                                                       statement
               6/11/2018    LITTLETON_00002002-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  935                                03           Assignments for Monday 06/11/18                                                                                                                                         statement
               6/20/2018    LITTLETON_00002169-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  936                                70           Assignments for Wednesday 06/20/18                                                                                                                                      statement
               2/20/2018    LITTLETON_00002251    Email from Pete Schulte to Glen Littleton - Congratulations on     Littleton/Foundation                                                                F, H, K, R     Party opponent
  937                                             your Model 3!                                                                                                                                                           statement
               12/17/2018   LITTLETON_00002448-   Email from Michael Stanton to Glen Littleton - RE: FW: 879         Littleton/Foundation                                                                F, H, K, R     Party opponent
  938                                49           Margin Calls & Debits                                                                                                                                                   statement
               6/19/2018    LITTLETON_00002456-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  939                                58           Assignments for Tuesday 06/19/18                                                                                                                                        statement
                3/2/2018    LITTLETON_00002968-   Email from Michael Stanton to Glen Littleton - RE: FW:             Littleton/Foundation                                                                F, H, K, R     Party opponent
  940                                69           assignment                                                                                                                                                              statement
               11/5/2017    LITTLETON_00002983-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  941                                84           assignment                                                                                                                                                              statement
               2/13/2018    LITTLETON_00003022-   Email from Michaella Woo to Glen Littleton - RE: Your Model        Littleton/Foundation                                                                F, H, K, R     Party opponent
  942                                26           3 Delivery RN107927714                                                                                                                                                  statement
               10/25/2017   LITTLETON_00003043-   Email from Michael Stanton to Glen Littleton - RE:                 Littleton/Foundation                                                                F, H, K, R     Party opponent
  943                                45           assignments                                                                                                                                                             statement
               9/13/2018    LITTLETON_00003085-   Email from Glen Littleton to Michael Stanton - Re:                 Littleton/Foundation                                                                 F, H, R       Party opponent
  944                                86           Assignment for Thursday 09/13/18                                                                                                                                        statement
               10/12/2017   LITTLETON_00003090    Email from Michael Stanton to Glen Littleton - Fwd:                Littleton/Foundation                                                                F, H, K, R     Party opponent
  945                                             Assignment for Thursday 10/12/17                                                                                                                                        statement
               10/16/2017   LITTLETON_00003128-   Email from Michael Stanton to Glen Littleton - FW:                 Littleton/Foundation                                                                F, H, K, R     Party opponent
  946                                29           Assignments for Monday 10/16/17                                                                                                                                         statement
               10/12/2018   LITTLETON_00003243-   Email from Glen Littleton to Michael Stanton - Re: FW: 879         Littleton/Foundation                                                                 F, H, R       Party opponent
  947                                45           Margin Calls & Debits                                                                                                                                                   statement
                9/8/2017    LITTLETON_00003312-   Email from Michael Stanton to Glen Littleton - RE: FW:             Littleton/Foundation                                                                F, H, K, R     Party opponent
  948                                14           assignment                                                                                                                                                              statement
               9/20/2017    LITTLETON_00003400-   Email from Michael Stanton to Glen Littleton - RE: FW:             Littleton/Foundation                                                                F, H, K, R     Party opponent
  949                                03           Assignments for Wednesday 09/20/17                                                                                                                                      statement
               6/13/2017    LITTLETON_00003595-   Email from Michael Stanton to Glen Littleton - RE: FW:             Littleton/Foundation                                                                F, H, K, R     Party opponent
  950                                97           morning assignment                                                                                                                                                      statement



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               3/22/2017    LITTLETON_00003982-   Email from Michael Stanton to Glen Littleton - Fwd: Contract       Littleton/Foundation                                                                F, H, K, R     Party opponent
  951                                83           Limits                                                                                                                                                                   statement
               3/15/2017    LITTLETON_00003991-   Email from Glen Littleton to Michael Stanton - Re: Position        Littleton/Foundation                                                                 F, H, R       Party opponent
  952                                96           Transfer                                                                                                                                                                 statement
                3/8/2017    LITTLETON_00004075-   Email from Glen Littleton to Michael Stanton - Re: Products        Littleton/Foundation                                                                 F, H, R       Party opponent
  953                                78                                                                                                                                                                                    statement
               8/15/2018            None          Business Insider Article - Elon Musk Could Take Tesla...          Fischel/ Falsity, Expert                                                             F, H, K, R     Not offered for
  954                                                                                                                      Reliance                                                                                     truth/effect on
                                                                                                                                                                                                                             listener
                8/7/2020             N/A          TSLA Response to Defendants' First RFP                            Littleton/ Foundation                                                                F, H, K, R     Party opponent
  955                                                                                                                                                                                                                      statement
                8/4/2018            None          Bloomberg Article - How Saudi s Stake in Tesla Could Help           Littleton/ Reliance                                                                F, H, K, R     Not offered for
  956                                             Musk Go Private QuickTake 31.pdf                                                                                                                                      truth/effect on
                                                                                                                                                                                                                             listener
                8/7/2018            None          Bloomberg Article - How Fidelity s Ownership in SpaceX              Littleton/ Reliance                                                                F, H, K, R     Not offered for
  957                                             Could Be a Model for Tesla 10.pdf                                                                                                                                     truth/effect on
                                                                                                                                                                                                                             listener
                8/7/2018            None          Bloomberg Article - Tesla Jumps on Report of Saudis Building        Littleton/ Reliance                                                                F, H, K, R     Not offered for
  958                                             About 2 Billion Stake 9.pdf                                                                                                                                           truth/effect on
                                                                                                                                                                                                                             listener
                8/8/2018            None          Bloomberg Article - Any Tesla Buyout Unlikely to Be                 Littleton/ Reliance                                                                F, H, K, R     Not offered for
  959                                             Leveraged Says GSO s Scott 37.pdf                                                                                                                                     truth/effect on
                                                                                                                                                                                                                             listener
                8/9/2018            None          Bloomberg Article - How Elon Musk s SpaceX May Be Model             Littleton/ Reliance                                                                F, H, K, R     Not offered for
  960                                             for Tesla Going Private 1 28.pdf                                                                                                                                      truth/effect on
                                                                                                                                                                                                                             listener
               8/14/2018            None          Bloomberg Article - Exiting Tesla Now May Beat Risking a            Littleton/ Reliance                                                                F, H, K, R     Not offered for
  961                                             Failed Deal Barclays Says 24.pdf                                                                                                                                      truth/effect on
                                                                                                                                                                                                                             listener
               8/15/2018            None          Bloomberg Article - Asian Hedge Fund Sticks Up for Musk s           Littleton/ Reliance                                                                F, H, K, R     Not offered for
  962                                             Plan to Take Tesla Private 9.pdf                                                                                                                                      truth/effect on
                                                                                                                                                                                                                             listener
               8/23/2018            None          Bloomberg Article - Backing Elon Musk s Dream Option                Littleton/ Reliance                                                                F, H, K, R     Not offered for
  963                                             Traders Bet on Tesla at 430 20.pdf                                                                                                                                    truth/effect on
                                                                                                                                                                                                                             listener
                8/7/2018            None          Tweet - Gali on Twitter: "@elonmusk Noooooo!!!! Still            Musk, Littleton/ Falsity,                                                             F, H, K, R     Not offered for
                                                  processing what this means, but would                              Scienter, Reliance                                                                                 truth/effect on
                                                  be sad to see all the investors who've been w/ $TSLA miss                                                                                                                  listener
  964                                             out on the upside over
                                                  the next few years. Although if this helps the mission & Elon
                                                  thinks it's smart, I
                                                  understand and fully support" / Twitter
                8/7/2018            None          Tweet - DMetaverse on Twitter: "@elonmusk                        Musk, Littleton/ Falsity,                                                             F, H, K, R     Not offered for
                                                  @MindFieldMusic How is it possible for                             Scienter, Reliance                                                                                 truth/effect on
                                                  everyone to NOT offer their shares for sale and you still take                                                                                                            listener
  965                                             company private?
                                                  Contradiction here. I mean how do you still hold shares and
                                                  take company private
                                                  both same time ?!" / Twitter
                8/8/2018            None          Tweet - Pablo I. on Twitter: "@elonmusk @MindFieldMusic          Musk, Littleton/ Falsity,                                                             F, H, K, R     Not offered for
                                                  I’m investor from Spain. How is                                    Scienter, Reliance                                                                                 truth/effect on
  966                                             possible to keep my position after going private (if finally                                                                                                              listener
                                                  happens)?" / Twitter
                8/8/2018            None          Greeksooner on Twitter: "@elonmusk @MindFieldMusic               Musk, Littleton/ Falsity,                                                             F, H, K, R     Question not a
                                                  How does company losing                                            Scienter, Reliance                                                                                 statement; not
  967                                             billions, find investors to go private. When was last time you                                                                                                          offered for
                                                  made a profit." / Twitter                                                                                                                                             truth/effect on
                                                                                                                                                                                                                            listener
                 Aug-18     TESLA_LITTLETON_0000 Spreadsheet of Text Messages - Elon Musk                          E. Musk/ Falsity, Scienter                                                             F, H, R         FRE 803(3)
  968                                0323
                 Aug-18     TESLA_LITTLETON_0000 Spreadsheet of Voice Calls - Deepak Ahuja                          Ahuja/ Falsity, Scienter                                                              F, H, R        No out of court
                                     3841                                                                                                                                                                             statement; business
  969                                                                                                                                                                                                                  records exception

                 Aug-18     TESLA_LITTLETON_0000 Spreadsheet of Text Messages - Deepak Ahuja - Phone 2              Ahuja/ Falsity, Scienter                                                              F, H, R         FRE 803(3)
  970                                3843



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Trial Ex.                                                                                                     Witness(es) and Purpose Witness(es) and       Defendants      to Objections        Plaintiffs      Response to
  No.                                                                                                         at Trial                Purpose at Trial                                                           Objections

                 Aug-18     TESLA_LITTLETON_0002   Spreadsheet of Text Messages - Dave Arnold                 Arnold/ Falsity, Scienter                                                              F, H, R         FRE 803(3)
  971                                0194
                 Aug-18     TESLA_LITTLETON_0002   Spreadsheet of Text Messages - Robyn Denholm                  Denholm/ Falsity,                                                                   F, H, R         FRE 803(3)
  972                                0195                                                                              Scienter
                 Aug-18     TESLA_LITTLETON_0002   Spreadsheet of Text Messages - Sam Teller                   Teller/ Falsity, Scienter                                                             F, H, R         FRE 803(3)
  973                                0196
                 Aug-18     TESLA_LITTLETON_0002   Spreadsheet of Text Messages - Elon Musk                   E. Musk/ Falsity, Scienter                                                             F, H, R         FRE 803(3)
  974                                0198
                 Aug-18     TESLA_LITTLETON_0002   Spreadsheet of Text Messages - Martin Viecha               Viecha/ Falsity, Scienter                                                              F, H, R         FRE 803(3)
  975                                0199
                  N/A               None           Photo Identification - Yasir Al Rumayyan 1                 Musk, Teller/ Foundation                                                              F, H, K, R   Not an out-of-court
  976                                                                                                                                                                                                                statement
                  N/A              None            Photo Identification - Yasir Al Rumayyan 2                 Musk, Teller/ Foundation                                                              F, H, K, R   Not an out-of-court
  977                                                                                                                                                                                                                statement
                  N/A              None            Photo Identification - Crown Prince Mohammed Bin Salman    Musk, Teller/ Foundation                                                              F, H, K, R   Not an out-of-court
  978                                                                                                                                                                                                                statement
                8/8/2018           None            Tweet from Elon Musk dated August 8, 2018 at 6:12 p.m.          All witnesses/                                                                    F, H, R         FRE 803(3)
  979                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
                8/8/2018           None            Tweet from Elon Musk dated August 8, 2018 at 6:09 p.m           All witnesses/                                                                    F, H, R         FRE 803(3)
  980                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/10/2018           None            Tweet from Elon Musk dated August 10, 2018 at 1:09 a.m.         All witnesses/                                                                    F, H, R         FRE 803(3)
  981                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/10/2018           None            Tweet from Elon Musk dated August 10, 2018 at 2:08 a.m.         All witnesses/                                                                    F, H, R         FRE 803(3)
  982                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/10/2018           None            Tweet from Elon Musk dated August 10, 2018 at 4:34 p.m.         All witnesses/                                                                    F, H, R         FRE 803(3)
  983                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/11/2018           None            Tweets from Elon Musk dated August 11, 2018                     All witnesses/                                                                    F, H, R         FRE 803(3)
  984                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/11/2018           None            Tweets from Elon Musk dated August 11, 2018                     All witnesses/                                                                    F, H, R         FRE 803(3)
  985                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/11/2018           None            Tweet from Elon Musk dated August 11, 2018 at 12:43 a.m.        All witnesses/                                                                    F, H, R         FRE 803(3)
  986                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/11/2018           None            Tweet from Elon Musk dated August 11, 2018 at 12:14 a.m.        All witnesses/                                                                    F, H, R         FRE 803(3)
  987                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/11/2018           None            Tweet from Elon Musk dated August 11, 2018 at 12:51 a.m.        All witnesses/                                                                    F, H, R         FRE 803(3)
  988                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/10/2018           None            Tweet from Elon Musk dated August 10, 2018 at 11:21 p.m.        All witnesses/                                                                    F, H, R         FRE 803(3)
  989                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/11/2018           None            Tweet from Elon Musk dated August 11, 2018 at 1:42 p.m.         All witnesses/                                                                    F, H, R         FRE 803(3)
  990                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/11/2018           None            Tweets from Elon Musk dated August 11, 2018                     All witnesses/                                                                    F, H, R         FRE 803(3)
  991                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/12/2018           None            Tweet from Elon Musk dated August 12. 2018                      All witnesses/                                                                    F, H, R         FRE 803(3)
  992                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/13/2018           None            Tweet from Elon Musk dated August 13, 2018 at 8:36 a.m.         All witnesses/                                                                    F, H, R         FRE 803(3)
  993                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/13/2018           None            Tweet from Elon Musk dated August 13, 2018 at 10:47 a.m.        All witnesses/                                                                    F, H, R         FRE 803(3)
  994                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality
               8/13/2018           None            Tweet from Elon Musk dated August 13, 2018 at 8:44 a.m.         All witnesses/                                                                    F, H, R         FRE 803(3)
  995                                                                                                           Foundation, Falsity,
                                                                                                                Scienter, Materiality

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            Document Date   Bates Number            Description                                                      Defendants Sponsoring Plaintiffs Sponsoring   Objections by   Plaintiffs' Response Objections by   Defendants'      Date Admitted   Court Comments
Trial Ex.                                                                                                            Witness(es) and Purpose Witness(es) and       Defendants      to Objections        Plaintiffs      Response to
  No.                                                                                                                at Trial                Purpose at Trial                                                           Objections

                8/14/2018           None            Tweet from Elon Musk dated August 14, 2018 at 1:17 a.m.                All witnesses/                                                                   F, H, R         FRE 803(3)
  996                                                                                                                   Foundation, Falsity,
                                                                                                                       Scienter, Materiality
                8/14/2018           None            Tweet from Elon Musk dated August 14, 2018 at 1:30 a.m.                All witnesses/                                                                   F, H, R         FRE 803(3)
  997                                                                                                                   Foundation, Falsity,
                                                                                                                       Scienter, Materiality
                8/15/2018           None            Tweet from Elon Musk dated August 15, 2018 at 11:54 p.m.               All witnesses/                                                                   F, H, R         FRE 803(3)
  998                                                                                                                   Foundation, Falsity,
                                                                                                                       Scienter, Materiality
                8/16/2018           None            Tweet from Elon Musk dated August 16, 2018                             All witnesses/                                                                   F, H, R         FRE 803(3)
  999                                                                                                                   Foundation, Falsity,
                                                                                                                       Scienter, Materiality
                8/16/2018           None            Tweet from Elon Musk dated August 16, 2018                             All witnesses/                                                                   F, H, R         FRE 803(3)
 1,000                                                                                                                  Foundation, Falsity,
                                                                                                                       Scienter, Materiality
                8/7/2018    TESLA_LITTLETON_0000 Email from Ron Baron to Elon Musk - Tesla +$11                          Elon Musk/Falsity,
 1,001                               5368                                                                              Scienter, Materiality
                8/8/2018            None         Article "Tesla: Is $420 a Share Too Low for a Deal?"                 Hartzmark/ Materiality,
 1,002                                                                                                               Loss Causation, Damages

                8/17/2018           None            Article "Jim Cramer: Elon Musk should take medical leave          Hartzmark/ Materiality,
 1,003                                              from Tesla"                                                      Loss Causation, Damages

                8/17/2018           None            Article "Tesla shares slide after emotional Musk interview"       Hartzmark/ Materiality,
 1,004                                                                                                               Loss Causation, Damages

                8/17/2018           None            Article "Tesla stock sinks after Musk gives tearful NYT           Hartzmark/ Materiality,
 1,005                                              interview"                                                       Loss Causation, Damages

                8/9/2018            None            Bloomberg News - Agency was said to be looking at Tesla           Hartzmark/ Materiality,
 1,006                                              before takeover tweets                                           Loss Causation, Damages

            8/8/2018        None                    Seeing Alpha Article - "Tesla 'Going Private' Story Does Not     Hartzmark, Mitts/
 1,007                                              Make Sense"                                                       Materiality, Loss
                                                                                                                    Causation, Damages
            8/15/2018       None                    New York Times Article titled "Tesla Is Said to Be Subpoenaed Hartzmark/ Materiality,
 1,008                                              by S.E.C. Over Elon Musk Tweet"                               Loss Causation, Damages

            8/7/2018        None                    Tesla stock report                                                Hartzmark/ Materiality,
 1,009                                                                                                               Loss Causation, Damages

            8/17/2018       None                    Barclays report titled "Potential for a COO: Good for the         Hartzmark/ Materiality,
 1,010                                              company, but won't help the stock"                               Loss Causation, Damages

            8/26/2018       None                    Morningstar report titled "Musk Decides to Focus on the           Hartzmark/ Materiality,
 1,011                                              Model 3 and Ceases Plans to Take Tesla Private"                  Loss Causation, Damages

            8/23/2018       None                    Hong Kong Economic Journal article titled "Should we factor       Hartzmark/ Materiality,
 1,012                                              in company head's health when investing?"                        Loss Causation, Damages

            8/18/2018       None                    New York Post article titled "Musk remarks zap Tesla stock"       Hartzmark/ Materiality,
 1,013                                                                                                               Loss Causation, Damages

            8/21/2018       None                    New York Times article titled "Deal Book Briefing: Who Isn't      Hartzmark/ Materiality,
 1,014                                              Worried About Elon Musk?"                                        Loss Causation, Damages

            8/17/2018       None                    Associated Press article titled "The Latest: Tesla shares drop    Hartzmark/ Materiality,
 1,015                                              9 percent after Musk interview"                                  Loss Causation, Damages

 1,023      7/11/2018       None                    Perry Ellis International, Inc - Form Prem14A                                                                                                                                        1/20/2023 (D)




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